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 8                                UNITED STATES DISTRICT COURT

 9                       FOR THE WESTERN DISTRICT OF WASHINGTON

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                                                Case No. 2:22-cv-00910-RAJ
11   MARK DALY, ELENA NACARINO,
     SUSAN SYLVESTER, and MICHAEL               CLASS ACTION
12   SONNENSCHEIN, individually and on          FIRST AMENDED COMPLAINT
13   behalf of all others similarly situated,
                                                DEMAND FOR JURY TRIAL
14                       Plaintiffs,
                    v.
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16   AMAZON.COM, INC. and
     AMAZON.COM SERVICES LLC,
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                         Defendants.
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     FIRST AMENDED CLASS ACTION COMPLAINT                               BURSOR & FISHER, P.A.
     CASE NO. 2:22-CV-00910-RAJ                                          888 SEVENTH AVENUE
                                                                         NEW YORK, NY 10019
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 1              Plaintiffs Mark Daly, Elena Nacarino, Susan Sylvester, and Michael Sonnenschein
 2   (collectively, “Plaintiffs”) bring this action on behalf of themselves and all others similarly situated
 3   against Defendants Amazon.com, Inc. and Amazon.com Services LLC (collectively, “Amazon” or
 4   “Defendants”). Plaintiffs make the following allegations pursuant to the investigation of their
 5   counsel and based upon information and belief, except as to allegations specifically pertaining to
 6   themselves and their counsel, which are based on personal knowledge.
 7                                                   INTRODUCTION
 8              1.      This is a putative class action lawsuit against Defendants for engaging in an illegal
 9   “automatic renewal” scheme with respect to their subscription plans for Amazon-branded products
10   and services that are available exclusively to consumers who enroll in Defendants’ auto-renewal
11   membership programs (collectively, the “Amazon Subscriptions,” enumerated below) through
12   their website at https://www.amazon.com/ (the “Amazon Website”) and/or their mobile
13   application(s) and/or set-top device(s) (collectively, the “Amazon Apps”) (together with Amazon
14   Website, the “Amazon Platform”). Relevant to Plaintiffs’ allegations, when consumers sign up for
15   the Amazon Subscriptions, Defendants actually enroll consumers in a program that automatically
16   renews the Amazon Subscriptions from month-to-month or year-to-year and results in monthly or
17   annual charges to the consumer’s credit card, debit card, or third-party payment account (“Payment
18   Method”). In doing so, Defendants fail to provide the requisite disclosures and authorizations
19   required to be made: to California consumers under California’s Automatic Renewal Law (the
20   “California ARL”), Cal. Bus. Prof. Code §§ 17600, et seq., in violation of California’s Unfair
21   Competition Law (“UCL”), Cal. Bus. & Prof. Code §§ 17200, et seq. (among other statutes and
22   common laws); and to Oregon consumers under Oregon’s Automatic Renewal Law (the “Oregon
23   ARL”), ORS 646A.295, in violation of Oregon’s Unlawful Trade Practices Act (“UTPA”), ORS
24   646.608(1)(ttt), and under Oregon’s Free Offer Law (“FOL”), ORS 646.644, in violation of the
25   UTPA, ORS 646.608(1)(sss).
26              2.      Amazon is the world’s largest online retailer and a prominent provider of cloud and
27   web-based products and services, including the Amazon Subscriptions. 1 Defendants are thus
28   1
         See ZD Net, Amazon AWS: The complete business guide to the world’s leading cloud service provider (Mar. 29,
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 1   considered “one of the most influential economic and cultural forces in the world,” 2 and Amazon
 2   is regarded as one of the world’s most valuable brands. 3 Relevant here, Defendants own and
 3   operate the Amazon Subscriptions. Defendants also own and operate the Amazon Platform, which
 4   is accessible via the Amazon Website or the Amazon Apps.
 5           3.       Through the Amazon Platform, Defendants market, advertise, and sell to consumers
 6   in California, Oregon, and throughout the United States paid memberships to the Amazon
 7   Subscriptions, among other things, including without limitation, the following automatic renewal
 8   programs: Amazon Prime 4, Amazon Prime Video 5, Amazon Prime Video Channels 6, Amazon
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     2021), https://www.zdnet.com/article/amazon-aws-everything-you-should-know-about-the-largest-cloud-provider/
12   (“Amazon is the company most associated with ‘the cloud,’ in the minds of the general public. It also happens to be
     the world’s largest e-retailer. Today, Amazon Web Services (AWS) is the world’s largest provider of computing
13   services accessible through the Web, from globally distributed servers in highly automated data centers. … Amazon
     Web Services, as was evident from the division's original name, enables Web sites to be hosted remotely. Since its
14   inception, though, AWS has grown into the world’s principal provider of virtual infrastructure — the operating
     systems, hypervisors, service orchestrators, monitoring functions, and support systems upon which the economy of the
15   public cloud is based.”) (emphasis added).
     2
      PBS, Amazon Empire: The Rise and Reign of Jeff Bezos (Feb. 18, 2020),
16   https://www.pbs.org/wgbh/frontline/film/amazon-empire/.

17   3
      See Cision PR Newswire, Accelerated Growth Sees Amazon Crowned 2019’s BrandZ™ Top 100 Most Valuable
     Global Brand (Jun. 11, 2019), https://www.prnewswire.com/news-releases/accelerated-growth-sees-amazon-crowned-
18   2019s-brandz-top-100-most-valuable-global-brand-300863486.html.
     4
       Amazon Prime (or “Prime”) is a subscription-based automatic renewal program that provides paying subscribers in
19   the United States with benefits otherwise unavailable to other Amazon customers without a paid Prime subscription,
     including Amazon Prime Video. Currently, a standard Prime subscription costs $14.99 per month or $139 per year.
20   See https://www.amazon.com/gp/help/customer/display.html?nodeId=G34EUPKVMYFW8N2U. Additionally,
     Defendants offer a discounted Amazon Prime Student membership, which currently costs $7.49 per month or $69 per
21   year. See id.; see also https://www.amazon.com/amazonprime?ref_=nav_cs_primelink_nonmember.

22   5
       Amazon Prime Video (or “Prime Video”), which is offered as a standalone subscription or as part of the Prime
     subscription, primarily distributes films and television series produced by Amazon Studios or licensed to Amazon, as
23   Amazon Originals, with the service also hosting content from other providers, content add-ons, live sporting events,
     and video rental and purchasing services. As a standalone subscription, Prime Video automatically renews at a
24   standard rate of $8.99 per month.
     6
      Amazon Prime Video Channels (or “Prime Video Channels”) are optional content add-on subscriptions available, for
25   an additional monthly fee, to consumers with a pre-existing Prime or Prime Video subscription. Prime Video Channels
     subscriptions provide on-demand or live streaming access to TV shows, movies, and other video content from over 100
26   premium third-party networks and other streaming entertainment channels, such as Epix, Starz, Discovery+, Cinemax,
     Curiosity Stream, Tastemade, Showtime, BET+, Paramount+, CBS All Access, Cinemax, and more. Prime Video
27   Channel subscriptions renew on a monthly basis at various rates ranging from $3 to $29 per month, depending on the
     channel.
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 1   Music Unlimited 7, Amazon Prime Book Box 8, Amazon Kids+ 9, Kindle Unlimited 10, Audible 11,
 2   ComiXology Unlimited 12, Amazon Subscription Boxes 13, Blink for Home 14, and Amazon Photos 15
 3   (collectively, the “Amazon Subscriptions”).
 4   7
      Amazon Music Unlimited (or “Music Unlimited”) is a premium music subscription service featuring “75 million
     songs and thousands of expert-programmed playlists and stations.” Amazon Music FAQs,
 5   https://www.amazon.com/b?ie=UTF8&node=15730321011#amu (last accessed Jun. 13, 2022); see also
     https://www.amazon.com/music/unlimited/?_encoding=UTF8&ref_=sv_dmusic_1. Prime members can enroll in a
 6   Music Unlimited subscription at the renewal rate of $7.99 per month or $79 per year. Id. Non-Prime customers pay
     $9.99 per month. Id.
 7   8
      Amazon Prime Book Box (or “Prime Book Box”) is an automatically renewing subscription program available, for an
 8   additional monthly fee, exclusively to Amazon Prime members, which delivers a box of children’s books to customers
     on monthly intervals. With Prime Book Box, subscribers receive a delivery of curated children’s books every 1, 2, or 3
 9   months, depending on the user’s selection. See
     https://www.amazon.com/dp/B072J4QS9F/ref=insider_ar_reading_prbookboxlaunch. Each Prime Book Box costs
10   $22.99 per box (plus tax), and contains four board books or beautiful hardcover books. See id.; Introducing Amazon
     Prime Book Box, https://www.amazon.com/primeinsider/reading/prime-book-box-launch.html.
11   9
       Amazon Kids+ (formerly “FreeTime Unlimited”) is a paid subscription that provides kids aged 3 to 12 years access to
     age-appropriate books, movies, and TV shows. Prime members can enroll in a Music Unlimited subscription at the
12   renewal rate of $4.99 per month or $48 per year, plus applicable taxes. See https://www.amazon.com/ftu/home. Non-
     Prime customers pay $7.99 per month plus tax. Id.
13   10
       Kindle Unlimited is an automatically renewing subscription program that provides paying subscribers access to an
14   unlimited quantity of eBooks and audiobooks, and up to three magazine subscriptions, which the subscriber may
     download and retain. Kindle Unlimited costs $9.99 per month, plus applicable taxes. See
15   https://www.amazon.com/Kindle-eBooks/b?ie=UTF8&node=18473854011.
     11
       Audible is a subscription-based automatic renewal program that allows paid subscribers to access and stream
16   audiobooks or other forms of spoken word content from Defendants’ expansive “Plus Catalog” (i.e., the library of
     content available to paid Audible subscribers). Audible is offered in three different tiers: Audible Plus, Audible
17   Premium Plus, and Audible Premium Plus Annual. Currently, Audible Plus costs $7.95 per month, Audible Premium
     Plus costs $14.95 per month, and Audible Premium Plus Annual costs $149.50 per year. See
18   https://www.amazon.com/hz/audible/mlp/compare;
     https://www.amazon.com/hz/audible/mlp/membership/premiumplus/prime.
19   12
       ComiXology Unlimited is an automatically renewing subscription program that provides paying subscribers access
20   to a growing selection of thousands of titles, including comic books, graphic novels, and manga. See Learn About
     ComiXology Unlimited, https://www.amazon.com/gp/help/customer/display.html?nodeId=GMQTKN5RM78V9393.
21   Currently, a Comixology Unlimited costs $5.99 per month, plus applicable tax. See id.; see also
     https://www.amazon.com/kindle-dbs/cu/signup/?_encoding=UTF8&ref_=sv_kstore_cmx_3.
22   13
       Amazon Subscription Boxes are automatically renewing subscription programs that provide paying subscribers
     monthly deliveries of curated products within themed product categories such as beauty, grocery & snacks, lifestyle,
23   toys, and more. Amazon offers more than 200 different monthly subscription boxes, including those from qualified
     third-party sellers. See https://www.amazon.com/gp/browse.html?node=14498690011&ref_=amzn_nav_ftr_swa.
24   14
       Blink for Home (or “Blink”) is an automatically renewing subscription program that provides paying subscribers
25   with extra features and benefits to be used with Blink-branded smart home security devices. See
     https://www.amazon.com/b?ie=UTF8&node=21154643011. Blink subscription plans are only sold and managed on
26   Amazon.com, see https://support.blinkforhome.com/en_US/subscriptions/purchasing-a-blink-subscription-plan-
     through-amazon, and are offered in two different tiers: Blink Subscription Basic and Blink Subscription Plus. See
27   https://www.amazon.com/b?ie=UTF8&node=21154643011. Blink Subscription Basic covers currently costs $3 per
     month or $30 per year and includes 90 minutes continuous, motion detection video recording, live view recording, 60-
28   day unlimited video history, rapid video access (whereby paying subscribers may instantly watch videos as soon as
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 1            4.       To sign up for any of Defendants’ Amazon Subscriptions through the Amazon
 2   Platform, customers provide Defendants with their billing information and Defendants then
 3   automatically charge customers’ Payment Method as payments are due, typically on a monthly or
 4   annual basis. Defendants are able to unilaterally charge their customers renewal fees without their
 5   consent, as Defendants are in possession of their customers’ billing information. Thus, Defendants
 6   have made the deliberate decision to charge Plaintiffs and other similarly situated customers on a
 7   monthly or yearly basis, absent their consent under the ARL, relying on consumer confusion and
 8   inertia to retain customers, combat consumer churn, and bolster their revenues.
 9            5.       Pursuant to both the California and Oregon ARL, online retailers who offer
10   automatically renewing subscriptions to California and Oregon consumers must: (a) provide the
11   complete automatic renewal offer terms in a clear and conspicuous manner and in visual proximity
12   to the request for consent prior to the purchase, see Cal. Bus. & Prof. Code § 17602(a)(1); ORS
13   646A.295(1)(a); see also Cal. Bus. & Prof. Code § 17601(b)(1)-(5) (setting forth definition of
14   “Automatic renewal offer terms” as used in Cal. Bus. & Prof. Code § 17602); ORS
15   646A.293(5)(a)-(e) (setting forth definition of “offer terms” as used in ORS 646A.295); (b) obtain
16   consumers’ affirmative consent to the purchase prior to charging their Payment Methods in
17   connection with the subscriptions, see Cal. Bus. & Prof. Code § 17602(a)(2); ORS
18   646A.295(1)(b); and (c) provide an acknowledgment that includes clear and conspicuous
19   disclosures regarding the required offer terms and identifies a cost-effective, timely, and easy-to-
20   use mechanism for consumers to cancel their subscriptions, see Cal. Bus. & Prof. Code §§
21   17602(a)(3), 17602(b); ORS 646A.295(1)(c), ORS 646A.295(2).
22

23   they are recorded), and video sharing. Id. Additionally, for paying subscribers with Blink Indoor and Outdoor cameras
     and/or the new Blink Video Doorbell, the Blink Subscription Basic provides photo capture, whereby images are
24   captured periodically for more coverage. Id. Blink Subscription Plus currently costs $10 per month or $100 per year
     and includes all the benefits of the Basic plan, in addition to the ability to activate video recording for an unlimited
25   number of devices per account (whereas the Basic subscription plan only covers 1 supported Blink device, an extra
     10% off Blink devices at Amazon.com, and extended warranty coverage. Id.
26   15
        Amazon Photos is a secure online subscription storage service for photos and videos. While all Amazon customers
     get 5GB of storage, and Prime subscribers get unlimited photo storage and 5GB of video storage, Defendants also offer
27   a range of extra storage plans at an additional monthly or annual fee to Prime subscribers who want an Amazon Photos
     membership with the capacity to store more than 5GB of video.
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 1          6.      Consumers purchasing the Amazon Subscriptions do so either by choosing a free
 2   trial that automatically renews with a paid subscription at the end of the trial period, or a paid
 3   monthly or annual subscription (at either the full standard recurring rate that Defendants ordinarily
 4   charge, or at a promotional or discounted rate that remains static for a limited period of time, after
 5   which period the subscription then automatically renews at the full standard rate). As will be
 6   discussed in detail below, the enrollment process for an Amazon Subscription on the Amazon
 7   Platform uniformly violates each of the core requirements of the California and Oregon ARL.
 8          7.      Specifically, Defendants systematically violate the California and Oregon ARL by:
 9   (i) failing to present the automatic renewal offer terms in a clear and conspicuous manner before a
10   subscription or purchasing agreement is fulfilled and in visual proximity to the request for consent
11   to the offer, in violation of California’s ARL under Section 17602(a)(1) and Oregon’s ARL under
12   Section 646A.295(1)(a); (ii) charging consumers’ Payment Methods without first obtaining their
13   affirmative consent to the agreement containing the automatic renewal offer terms, in violation of
14   California’s ARL under Section 17602(a)(2) and Oregon’s ARL under Section 646A.295(1)(b);
15   and (iii) failing to provide an acknowledgment that includes the automatic renewal offer terms and
16   information regarding how to cancel in a manner that is capable of being retained by the consumer,
17   in violation of California’s ARL under Section 17602(a)(3) and Oregon’s ARL under Section
18   646A.295(1)(c). The acknowledgment also fails to disclose a toll-free telephone number or
19   describe another cost-effective, timely, and easy-to-use mechanism for cancellation, and in fact
20   Defendants make it exceedingly difficult and unnecessarily confusing for consumers to cancel
21   their Amazon Subscriptions, in violation of California’s ARL under Section 17602(b) and
22   Oregon’s ARL under Section 646A.295(2).
23          8.      As a result, all goods, wares, merchandise, or products sent to Plaintiffs and the
24   Class under the automatic renewal or continuous service agreements are deemed to be
25   “unconditional gifts” under both the California and Oregon ARL. Cal. Bus. & Prof. Code §
26   17603; ORS 646A.295(5).
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 1            9.       For the foregoing reasons, Plaintiffs bring this action individually and on behalf of
 2   all similarly situated purchasers of any of Defendants’ Amazon Subscriptions from the Amazon
 3   Platform who, within the applicable statute of limitations periods, up to and including the date of
 4   judgment in this action, incurred unauthorized fees for the renewal of their Amazon Subscriptions.
 5   Based on Defendants’ unlawful conduct, Plaintiffs seek damages, restitution, declaratory relief,
 6   injunctive relief, and reasonable attorneys’ fees and costs, for: (i) violation of Oregon’s Unlawful
 7   Trade Practices Act (the “UTPA”), ORS 646.608(1)(ttt); (ii) violation of Oregon’s UTPA, ORS
 8   646.608(1)(sss); (iii) violation of California’s Unfair Competition Law (“UCL”), Cal. Bus. & Prof.
 9   Code §§ 17200, et seq.; (iv) violation of California’s False Advertising Law (“FAL”), Cal. Bus. &
10   Prof. Code §§ 17500, et seq.; (v) violation of California’s Consumers Legal Remedies Act
11   (“CLRA”), Cal. Civ. Code §§ 1750, et seq.; (vi) conversion; (vii) unjust enrichment / restitution;
12   (viii) negligent misrepresentation; and (ix) fraud. 16
13                                                     THE PARTIES
14            10.      Plaintiff Mark Daly is a citizen of Oregon, residing in Linn County, Oregon. In or
15   about March 2022, Mr. Daly signed up for a free trial of Defendants’ monthly Amazon Prime
16   subscription from Defendants’ website while in Oregon. During the enrollment process but before
17   finally consenting to Defendants’ subscription offering, thereby completing the checkout process,
18   Mr. Daly provided his debit card information directly to Defendants. At the time Mr. Daly
19   enrolled in his Amazon Subscription program, Defendants did not disclose to Mr. Daly all required
20   automatic renewal offer terms associated with the subscription program or obtain Mr. Daly’s
21   affirmative consent to those terms. For instance, at the time of enrollment, Mr. Daly was not
22
     16
       As is set forth below, Plaintiffs bring these claims on behalf of an Oregon Class and Subclass, a California Class, and
23   a Nationwide Class of similarly situated consumers. See infra ¶ 177 (setting forth class definitions). Specifically,
     Plaintiff Daly seeks to represent a class of all Oregon consumers who enrolled in any of the Amazon Subscriptions –
24   and a subclass of Oregon class members who initially enrolled in a free trial to any of the Amazon Subscriptions – and
     who incurred fees within the one-year statutory period of limitations applicable to his Claims pursuant to the UTPA,
25   ORS 646.608(1)(ttt) and 646.608(1)(sss). Id. at Counts I-II. Additionally, Plaintiffs Nacarino, Sylvester, and
     Sonnenschein seek to represent a class of all California purchasers of the Amazon Subscriptions who incurred fees
26   within the applicable statute of limitations periods under the UCL, FAL, and CLRA. Id. at Counts III-V. Finally, all
     named Plaintiffs, collectively, seek to represent a nationwide class of all United States purchasers of any of the
27   Amazon Subscriptions who incurred fees within the limitations periods applicable to Plaintiffs’ common law claims for
     conversion, unjust enrichment / restitution, negligent misrepresentation, and fraud. Id. at Counts VI-IX.
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 1   aware that, upon the expiration of Mr. Daly’s free trial subscription, Defendants would
 2   automatically convert his free trial into a paid, automatically renewing subscription. Nor did
 3   Defendants adequately disclose the length of Mr. Daly’s free trial or when the first charge would
 4   occur. Further, after Mr. Daly completed his initial order, Defendants sent Mr. Daly an email
 5   confirmation and receipt for his purchase of and enrollment in an Amazon Subscription (the
 6   “Acknowledgment Email”). However, the Acknowledgment Email, too, failed to provide Mr.
 7   Daly with the complete automatic renewal terms that applied to Defendants’ offer, a description of
 8   Defendants’ full cancellation policy, or information regarding how to cancel Mr. Daly’s Amazon
 9   Subscription in a manner capable of being retained by him. Mr. Daly did not receive any other
10   acknowledgement that contained the required information. As a result, Mr. Daly was not placed
11   on notice of several material terms associated with his Amazon Subscription. In particular, Mr.
12   Daly was not made aware of the fact that his Amazon Subscription would automatically renew
13   after the initial free trial period, the length of the free trial period, or when the first charge would
14   occur, and nor was he apprised of the complete cancellation policy associated with his Amazon
15   Subscription, the most crucial aspects of which were missing from the Checkout Page and
16   Acknowledgment Email. Nevertheless, in or around April 2022, approximately one month after
17   Mr. Daly first signed up for his free trial to Amazon Prime, Defendants automatically converted
18   Mr. Daly’s free trial to a paid Amazon Subscription and charged Mr. Daly’s Payment Method
19   approximately $14.99, the full monthly standard rate then associated with Defendants’ paid
20   monthly Amazon Prime subscription. Thereafter, Defendants again automatically renewed Mr.
21   Daly’s Amazon Subscription the subsequent month, charging him another $14.99 in May of 2022,
22   for a total of two unauthorized charges amounting to approximately $30.00 to Mr. Daly’s Payment
23   Method. Additionally, because these charges came as a total surprise to Mr. Daly, his Payment
24   Method did not contain sufficient funds to cover the monthly cost of Prime at the time Defendants
25   posted the renewal fees to Mr. Daly’s bank account, which, in turn, caused Mr. Daly to incur
26   overdraft fees from his bank. Promptly after learning of these subscription charges – which
27   signaled to Mr. Daly that he had enrolled been in a Prime subscription in the first place – Mr. Daly
28
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 1   attempted to cancel his Amazon Subscription in order to avoid incurring any future charges in
 2   connection with Amazon Prime. However, Mr. Daly struggled to do so due to Defendants’
 3   obscure, confusing, and time-consuming cancellation policy, the terms related to which were
 4   entirely missing from the Checkout Page and Acknowledgment Email. For instance, Mr. Daly
 5   called Defendants to notify them that he did not authorize – and to request a refund of – the
 6   monthly charges he incurred in April and May of 2022. However, Defendants, through a customer
 7   service representative, told Mr. Daly that they were unable to cancel his Prime subscription for
 8   him, and denied Mr. Daly’s refund request. Ultimately, Mr. Daly was only able to cancel his
 9   Prime subscription and avoid incurring further renewal charges by circumventing Amazon
10   altogether and going through his financial institution to cancel the Payment Method associated
11   with his Amazon Subscription. But, by that point, Defendants had already charged approximately
12   $30.00 to Mr. Daly’s Payment Method in monthly renewal fees, which Defendants refused to
13   refund, and Defendants’ unauthorized and unexpected charges also caused Mr. Daly to incur
14   overdraft fees with his financial institution, for which he was not reimbursed. Defendants’ missing
15   and/or incomplete disclosures on the Checkout Page and in the Acknowledgment Email for the
16   Amazon Subscriptions, their failure to obtain Mr. Daly’s affirmative consent to the offer terms
17   associated with the Amazon Subscriptions before charging his Payment Method on a recurring
18   basis, and their subsequent failure to issue a refund of those unauthorized charges, are contrary to
19   the ARL, which deems products provided in violation of the statute to be a gift to consumers. See
20   ORS 646A.295; see also ORS 646.608(1)(ttt). Further, Defendants’ missing and/or incomplete
21   disclosures on the Checkout Page and their failure to obtain Mr. Daly’s affirmative consent to the
22   free trial offer terms associated with the Amazon Subscriptions before charging his Payment
23   Method on a recurring basis are contrary to the FOL, which is an “unlawful practice subject to
24   enforcement and penalty under” the UTPA. See ORS 646.644(6); see also ORS 646.608(1)(sss).
25   Had Defendants complied with the ARL and FOL, Mr. Daly would have been able to read and
26   review the auto renewal terms prior to purchase, and he would have not subscribed to Amazon
27   Prime at all or on the same terms, or he would have cancelled his Amazon Subscription earlier,
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 1   i.e., prior to the expiration of the initial subscription period and/or any subsequent renewal term.
 2   Additionally, had Defendants complied with the ARL and FOL, Mr. Daly would have expected to
 3   incur automatic charges in connection with Amazon Prime in April and May of 2022 – and,
 4   moreover, he would have been aware of the recurring price to be charged and of the specific date
 5   that such charges would occur – and he would have made certain to transfer sufficient funds to the
 6   bank account associated with his Payment Method in advance of the payment date, in which case
 7   Mr. Daly would have avoided incurring overdraft fees with his financial institution. Thus, as a
 8   direct result of Defendants’ violations of the ARL and FOL, Mr. Daly suffered economic injury.
 9          11.     Plaintiff Elena Nacarino is a citizen of California, residing in San Francisco,
10   California. Ms. Nacarino signed up for a free trial of Defendants’ monthly Amazon Prime
11   subscription from Defendants’ website while in California in or around approximately late 2019 or
12   early 2020. During the enrollment process but before finally consenting to Defendants’
13   subscription offering, thereby completing the checkout process, Ms. Nacarino provided her credit
14   card billing information (her “Payment Method”) directly to Defendants. At the time Ms.
15   Nacarino enrolled in her Amazon Subscription program, Defendants did not disclose to Ms.
16   Nacarino all required automatic renewal offer terms associated with the subscription program or
17   obtain Ms. Nacarino’s affirmative consent to those terms. For instance, at the time of enrollment,
18   Ms. Nacarino was not aware that, upon the expiration of Ms. Nacarino’s free trial subscription,
19   Defendants would automatically convert her free trial into a paid, automatically renewing
20   subscription. Nor did Defendants adequately disclose the length of Ms. Nacarino’s free trial or
21   when the first charge would occur. Further, after Ms. Nacarino completed her initial order,
22   Defendants sent Ms. Nacarino an email receipt for her purchase of an Amazon Subscription (the
23   “Acknowledgment Email”). However, the Acknowledgment Email, too, failed to provide Ms.
24   Nacarino with the complete automatic renewal terms that applied to Defendants’ offer, a
25   description of Defendants’ full cancellation policy, or information regarding how to cancel Ms.
26   Nacarino’s Amazon Subscription in a manner capable of being retained by her. Ms. Nacarino did
27   not receive any other acknowledgment that contained the required information. As a result, Ms.
28
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 1   Nacarino was not placed on notice of several material terms associated with her Amazon
 2   Subscription. In particular, Ms. Nacarino was not made aware of the fact that her Amazon
 3   Subscription would automatically renew after the initial free trial period, of the length of the free
 4   trial period, or of when the first charge would occur, and nor was she apprised of the cancellation
 5   policy associated with her Amazon Subscription, the most crucial aspects of which were missing
 6   from the Checkout Page and Acknowledgment Email. In any case, shortly after Ms. Nacarino first
 7   signed up for her free trial Amazon Subscription, but prior to the end of the free trial period, Ms.
 8   Nacarino attempted to cancel her Amazon Subscription through the Amazon Website in order to
 9   avoid incurring any future charges in connection with Amazon Prime. However, approximately
10   one month later, Ms. Nacarino learned upon review of her billing statements and banking history
11   that, notwithstanding her attempt to cancel her free trial Amazon Subscription the previous month,
12   Defendants automatically renewed Ms. Nacarino’s Amazon Subscription upon the end expiration
13   of the free trial period and, without Ms. Nacarino’s affirmative consent, charged Ms. Nacarino’s
14   Payment Method in the full standard monthly rate associated with her Amazon Subscription.
15   Thus, Ms. Nacarino’s attempt at cancellation one month earlier was utterly ineffective.
16   Immediately after seeing Defendants’ charge to her Payment Method, Ms. Nacarino again
17   attempted to cancel her Amazon Subscription, which she struggled to do due to Defendants’
18   obscured, confusing, and time consuming cancellation policy. Specifically, Ms. Nacarino called to
19   notify Defendants that she did not authorize – and to request a refund of – the subscription renewal
20   charges. However, Defendants denied Ms. Nacarino’s refund request and refused to cancel her
21   Amazon Subscription. Ultimately, Ms. Nacarino was only able to affect cancellation, and thereby
22   stop Defendants from automatically charging her Payment Method, by cancelling her credit card
23   through her bank. Defendants’ missing and/or incomplete disclosures on the Checkout Page and
24   in the Acknowledgment Email, their failure to obtain Ms. Nacarino’s affirmative consent before
25   charging her Payment Method on a recurring basis, and their subsequent refusal to issue a refund
26   of those unauthorized charges, are contrary to the ARL, which deems products provided in
27   violation of the statute to be a gift to consumers. See Cal. Bus. & Prof. Code § 17603. Had
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 1   Defendants complied with the ARL, Ms. Nacarino would have been able to read and review the
 2   auto renewal terms prior to purchase, and she would have not subscribed to Amazon Prime or she
 3   would have cancelled her Amazon Subscription earlier, i.e., prior to the expiration of the initial
 4   subscription period and/or any subsequent renewal term. As a direct result of Defendants’
 5   violations of the ARL, Ms. Nacarino suffered economic injury.
 6          12.     Plaintiff Susan Sylvester is a citizen of California, residing in Elk Grove,
 7   California. In or around 2019, Ms. Sylvester purchased an Amazon Kindle Paperwhite Reader
 8   (the “Kindle Device”), which included a three-month free trial to Defendants’ Kindle Unlimited
 9   subscription as a gift with purchase, from Defendants’ website while in California. During the
10   process of purchasing her Kindle Device and/or enrolling in her Kindle Unlimited subscription, but
11   before finally unwittingly consenting to Defendants’ subscription offering and thereby completing
12   the checkout process, Ms. Sylvester provided her credit card billing information (her “Payment
13   Method”) directly to Defendants. At the time Ms. Sylvester purchased her Kindle device and
14   thereby enrolled in her Amazon Subscription program, Defendants did not disclose to Ms.
15   Sylvester all required automatic renewal offer terms associated with the subscription program or
16   obtain Ms. Sylvester’s affirmative consent to those terms. For instance, at the time of enrollment,
17   Ms. Sylvester was not aware that, upon the expiration of Ms. Sylvester’s free trial subscription,
18   Defendants would automatically convert her free trial into a paid, automatically renewing
19   subscription. Nor did Defendants adequately disclose the length of Ms. Sylvester’s free trial or
20   when the first charge would occur. Further, after Ms. Sylvester completed her initial order,
21   Defendants sent Ms. Sylvester an email receipt for her purchase of an Amazon Subscription (the
22   “Acknowledgment Email”). However, the Acknowledgment Email, too, failed to provide Ms.
23   Sylvester with the complete automatic renewal terms that applied to Defendants’ offer, a
24   description of Defendants’ full cancellation policy, or information regarding how to cancel Ms.
25   Sylvester’s Amazon Subscription in a manner capable of being retained by her. Ms. Sylvester did
26   not receive any other acknowledgment that contained the required information. As a result, Ms.
27   Sylvester was not placed on notice of several material terms associated with her Amazon
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 1   Subscription. In particular, Ms. Sylvester was not made aware of the fact that her Amazon
 2   Subscription would automatically renew after the initial free trial period, of the length of the free
 3   trial period, or of when the first charge would occur, and nor was she apprised of the cancellation
 4   policy associated with her Amazon Subscription, the most crucial aspects of which were missing
 5   from the Checkout Page and Acknowledgment Email. In any case, shortly after Ms. Sylvester first
 6   noticed that her supposed free trial Amazon Subscription was not, in fact, free, Ms. Sylvester
 7   attempted to cancel her Amazon Subscription by calling Amazon’s Customer Service phone line in
 8   order to avoid incurring any future charges in connection with Amazon Prime. However,
 9   approximately one year later, Ms. Sylvester learned upon review of her billing statements and
10   banking history that, notwithstanding her attempt to cancel her free trial Amazon Subscription the
11   previous year, Defendants automatically renewed Ms. Sylvester’s Amazon Subscription upon the
12   end expiration of the free trial period and, without Ms. Sylvester’s affirmative consent, charged
13   Ms. Sylvester’s Payment Method in the full standard monthly rate associated with her Amazon
14   Subscription. Thus, Ms. Sylvester’s attempt at cancellation one year earlier was utterly
15   ineffective. Immediately after seeing Defendants’ charges to her Payment Method, Ms. Sylvester
16   again attempted to cancel her Amazon Subscription in August 2020, which she struggled to do due
17   to Defendants’ obscured, confusing, and time-consuming cancellation policy. Specifically, Ms.
18   Sylvester again called to notify Defendants that she did not authorize the continued subscription
19   renewal charges. Yet again, Ms. Sylvester’s call with Defendants’ Customer Service team was
20   ineffective. Ms. Sylvester continued to be charged until January 2022, at which point she called
21   Defendants again to request cancellation and a refund of the 25 months of unauthorized charges to
22   her Payment Method. Ultimately, Ms. Sylvester was only able to affect cancellation, and thereby
23   stop Defendants from automatically charging her Payment Method, by calling to cancel her
24   subscription this third time, after she had been charged 25 times without her consent. Defendants’
25   missing and/or incomplete disclosures on the Checkout Page and in the Acknowledgment Email,
26   their failure to obtain Ms. Sylvester’s affirmative consent before charging her Payment Method on
27   a recurring basis, and their subsequent refusal to issue an adequate refund of those unauthorized
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 1   charges, are contrary to the ARL, which deems products provided in violation of the statute to be a
 2   gift to consumers. See Cal. Bus. & Prof. Code § 17603. Had Defendants complied with the ARL,
 3   Ms. Sylvester would have been able to read and review the auto renewal terms prior to purchase,
 4   and she would have not unintentionally subscribed to Kindle Unlimited or she would have
 5   cancelled her Amazon Subscription earlier, i.e., prior to the expiration of the initial subscription
 6   period and/or any subsequent renewal term. As a direct result of Defendants’ violations of the
 7   ARL, Ms. Sylvester suffered economic injury.
 8          13.     Plaintiff Michael Sonnenschein is a citizen of California, residing in Los Angeles,
 9   California. At some point in 2017, Mr. Sonnenschein signed up for free trials of Defendants’ add-
10   on monthly Music Unlimited and Prime Video Channels subscriptions (collectively, the “Amazon
11   Add-On Subscriptions”) from Defendants’ website while in California. During the enrollment
12   process but before finally consenting to Defendants’ subscription offerings, thereby completing the
13   checkout process, Mr. Sonnenschein provided his credit card billing information (his “Payment
14   Method”) directly to Defendants. At the time Mr. Sonnenschein enrolled in his Amazon Add-On
15   Subscriptions programs, Defendants did not disclose to Mr. Sonnenschein all required automatic
16   renewal offer terms associated with the subscription programs or obtain Mr. Sonnenschein’s
17   affirmative consent to those terms. For instance, at the time of enrollment, Mr. Sonnenschein was
18   not aware that, upon the expiration of Mr. Sonnenschein’s free trial subscriptions, Defendants
19   would automatically convert his free trials into paid, automatically renewing subscriptions. Nor
20   did Defendants adequately disclose the length of Mr. Sonnenschein’s free trials or when the first
21   charges would occur. Further, after Mr. Sonnenschein completed his initial orders, Defendants
22   sent Mr. Sonnenschein email receipts for his purchase of the Amazon Subscriptions (the
23   “Acknowledgment Emails”). However, the Acknowledgment Emails, too, failed to provide Mr.
24   Sonnenschein with the complete automatic renewal terms that applied to Defendants’ offers, a
25   description of Defendants’ full cancellation policies, or information regarding how to cancel Mr.
26   Sonnenschein’s Amazon Add-On Subscriptions in a manner capable of being retained by him. Mr.
27   Sonnenschein did not receive any other acknowledgment that contained the required information.
28
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 1   As a result, Mr. Sonnenschein was not placed on notice of several material terms associated with
 2   his Amazon Add-On Subscriptions. In particular, Mr. Sonnenschein was not made aware of the
 3   fact that his Amazon Add-On Subscriptions would automatically renew after the initial free trial
 4   periods, of the length of the free trial periods, or of when the first charges would occur, and nor
 5   was he apprised of the cancellation policies associated with his Amazon Add-On Subscriptions,
 6   the most crucial aspects of which were missing from the Checkout Pages and Acknowledgment
 7   Emails. In any case, shortly after Mr. Sonnenschein first signed up for his free trial Amazon Add-
 8   On Subscriptions, Mr. Sonnenschein learned upon reviewing his billing statements and banking
 9   history that, notwithstanding the confusing terms of his Amazon Add-On Subscriptions,
10   Defendants automatically renewed Mr. Sonnenschein’s Amazon Add-On Subscriptions upon the
11   end expiration of the free trial periods and, without Mr. Sonnenschein’s affirmative consent,
12   charged Mr. Sonnenschein’s Payment Method in the full standard monthly rates associated with
13   his Amazon Subscriptions. After this discovery, Mr. Sonnenschein cancelled his Amazon Add-On
14   Subscriptions through the Amazon Website in order to avoid incurring any future charges in
15   connection with Music Unlimited and Prime Video Channels. Further, Mr. Sonnenschein notified
16   Defendants that he did not authorize – and to request a refund of – the subscription renewal
17   charges. However, Defendants denied Mr. Sonnenschein’s refund request. Defendants’ missing
18   and/or incomplete disclosures on the Checkout Pages and in the Acknowledgment Emails, their
19   failure to obtain Mr. Sonnenschein’s affirmative consent before charging his Payment Method on a
20   recurring basis, and their subsequent refusal to issue a refund of those unauthorized charges, are
21   contrary to the ARL, which deems products provided in violation of the statute to be a gift to
22   consumers. See Cal. Bus. & Prof. Code § 17603. Had Defendants complied with the ARL, Mr.
23   Sonnenschein would have been able to read and review the auto renewal terms prior to purchase,
24   and he would have not subscribed to Music Unlimited or Prime Video Channels, or he would have
25   cancelled his Amazon Add-On Subscriptions earlier, i.e., prior to the expiration of the initial
26   subscription periods and/or any subsequent renewal terms. As a direct result of Defendants’
27   violations of the ARL, Mr. Sonnenschein suffered economic injury.
28
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 1              14.      Defendant Amazon.com, Inc. (“Amazon, Inc.” or “Parent Defendant”) (together
 2   with Subsidiary Defendant, see infra, “Amazon” or “Defendants”) is a Delaware corporation with
 3   its corporate headquarters and principal place of business at 410 Terry Avenue North, Seattle,
 4   Washington 98109. Amazon, Inc., has done business throughout Oregon, California, and the
 5   United States at all times during the applicable Class Periods. At all relevant times, acting alone or
 6   in concert with others, Amazon, Inc. has advertised, marketed, sold, and distributed the Amazon
 7   Subscriptions and all products and services pertaining thereto, to consumers in California and
 8   Oregon, and throughout the United States. At all relevant times, acting alone or in concert with
 9   others, Amazon, Inc. formulated, directed, controlled, had the authority to control, and/or
10   participated in the acts and practices set forth in this Complaint.
11              15.      Defendant Amazon.com Services LLC (“Amazon LLC” or “Subsidiary
12   Defendant”) (together with Parent Defendant, “Amazon” or “Defendants”) is a Delaware limited
13   liability company with its principal place of business located in Seattle, Washington. Amazon
14   LLC is a wholly owned subsidiary of Defendant Amazon, Inc. 17 Acting alone or in concert with
15   others, Amazon LLC has done business in and throughout Oregon, California, and the United
16   States at all times during the relevant class periods. Relevant here, Amazon LLC owns and
17   operates many of the web service programs and products offered on the Amazon Platform 18,
18   including the Amazon Subscriptions. 19 At all relevant times, acting alone or in concert with
19   Defendant Amazon, Inc., Amazon LLC advertised, marketed, sold, and distributed the Amazon
20   Subscriptions and all products and services pertaining thereto, to consumers in Oregon and
21   California and throughout the United States. At all relevant times, acting alone or in concert with
22   Defendant Amazon, Inc., Amazon LLC formulated, directed, controlled, had the authority to
23   control, and/or participated in the acts and practices set forth herein.
24   17
          See eBusiness Boss, What Is Amazon LLC? (Jul. 8, 2021), https://ebusinessboss.com/what-is-amazon-llc/.

25   18
          See Bloomberg, Amazon Services LLC, https://www.bloomberg.com/profile/company/0817477D:US#xj4y7vzkg.
     19
       See Amazon Website, Conditions of Use (updated Sep. 14, 2022), available at
26   https://www.amazon.com/gp/help/customer/display.html?nodeId=GLSBYFE9MGKKQXXM (“Amazon.com Services
     LLC and/or its affiliates (‘Amazon’) provide website features and other products and services to you when you visit or
27   shop at Amazon.com, use Amazon products or services, use Amazon applications for mobile, or use software provided
     by Amazon in connection with any of the foregoing (collectively, ‘Amazon Services’).”).
28
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 1            16.     Amazon is the world’s largest online retailer and a prominent provide of cloud and
 2   web-based products and services. In fact, Defendants “dominate e-commerce sales” and “receive
 3   more than one-quarter of U.S. e-commerce sales dollars for every category other than
 4   auto/parts.” 20 Relevant here, Defendants offer access to certain exclusive Amazon-branded
 5   content, products, and/or services on a contract or fee basis to customers who enroll in the
 6   automatically renewing Amazon Subscriptions. Defendants wholly own and operate the Amazon
 7   Subscriptions, which they market to consumers through the Amazon Website and App(s)
 8   (collectively, the “Amazon Platform”). Defendants are also responsible for the promotion,
 9   advertisement, and/or marketing of the Amazon Subscriptions, and they own and operate the
10   Amazon Platform. Defendants sell – and, at all times during the applicable Class Periods, have
11   sold – the Amazon Subscriptions to, and have done business with, consumers in Oregon and
12   California and throughout the United States. In connection with the Amazon Subscriptions,
13   Defendants made automatic renewal offers to consumers in Oregon and California and throughout
14   the United States via the Amazon Platform at all relevant times during the applicable Class
15   Periods.
16            17.     Plaintiffs reserve the right to amend this Complaint to add different or additional
17   defendants, including without limitation any officer, director, employee, supplier, or distributor of
18   Defendants who has knowingly and willfully aided, abetted, and/or conspired in the false and
19   deceptive conduct alleged herein.
20                                        JURISDICTION AND VENUE
21            18.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(d)(2)(A), as
22   amended by the Class Action Fairness Act of 2005 (“CAFA”), because this case is a class action
23   where the aggregate claims of all members of the proposed class are in excess of $5,000,000.00,
24   exclusive of interest and costs, there are over 100 members of the putative class, and Plaintiffs, as
25   well as most members of the proposed Classes and Subclass, are citizens of a state different from
26   Defendants.
27   20
       Chain Store Age, The top 10 U.S. retail e-commerce companies are… (May 3, 2021), https://chainstoreage.com/top-
     10-us-retail-e-commerce-companies-are.
28
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 1            19.      This Court has personal jurisdiction over the parties because Defendants maintain
 2   their principal place of business in Washington. Additionally, Plaintiffs submit to the jurisdiction
 3   of the Court.
 4            20.      Pursuant to 28 U.S.C. § 1391, this Court is the proper venue for this action because
 5   a substantial part of the events, omissions, and acts giving rise to the claims herein occurred in this
 6   District. Also, Defendants’ principal place of business is located in this District, and they
 7   distributed, advertised, and sold the Amazon Subscriptions to Plaintiffs and Class and Subclass
 8   Members in California and Oregon from this State and District.
 9                                            FACTUAL BACKGROUND
10            A.       Background On The Subscription e-Commerce Industry
11            21.      The e-commerce subscription model is a business model in which retailers provide
12   ongoing goods or services “in exchange for regular payments from the customer.” 21 Subscription
13   e-commerce services target a wide range of customers and cater to a variety of specific interests.
14   According to an October 2020 report by Juniper Research, “multiservice subscriptions, that
15   provide several services for a single cost, … will be led by offerings from tech conglomerates, like
16   Amazon’s Prime service[.]” 22 Given the prevalence of online and e-commerce retailers,
17   subscription e-commerce has grown rapidly in popularity in recent years. Indeed, the
18   “subscription economy has grown more than 400% over the last 8.5 years as consumers have
19   demonstrated a growing preference for access to subscription services[.]” 23 Analysts at UBS
20   predict that the subscription economy will expand into a $1.5 trillion market by 2025, up from
21   21
       Core DNA, How to Run an eCommerce Subscription Service: The Ultimate Guide (May 19, 2020),
22   https://www.coredna.com/blogs/ecommerce-subscription-services.
     22
       Juniper Research, Subscriptions for Physical Goods to Overtake Digital Subscriptions by 2025; Growing to Over
23   $263Bn Globally (Oct. 12, 2020), https://www.juniperresearch.com/press/subscriptions-for-physical-goods-to-overtake
     (emphasis added).
24
         Juniper Research, one of the leading analyst firms in the mobile and digital tech sector, specializes in identifying
25   and appraising new high growth market sectors within the digital ecosystem and provides research and analytical
     services to the global hi-tech communications sector, as well as consultancy, analyst reports, and industry commentary.
26   See https://www.juniperresearch.com/about-us.
     23
       Business Insider, Taco Bell’s taco subscription is rolling out nationwide — here’s how to get it (Jan. 6, 2022),
27   https://www.businessinsider.com/taco-bell-subscription-launching-across-the-country-2022-1 (internal quotation marks
     omitted).
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 1   $650 billion in 2020.24 That constitutes an average annual growth rate of 18%, which makes the
 2   subscription economy “one of the fastest-growing industries globally.” 25 And, by all accounts,
 3   Defendants played a major role in spurning this rapid growth. According to Richard Meyer,
 4   marketing expert and author of the blog, New Media and Marketing, “[s]ubscription marketing
 5   [has been] gaining steam ever since Amazon exceeded expectations with Amazon Prime[.]” 26
 6            22.      Defendants launched Amazon Prime in or around February 2005. Through
 7   Amazon Prime, Defendants provides subscribers with access to, among other things, delivery
 8   benefits such as faster and free deliveries, streaming and digital benefits, shopping benefits, and
 9   reading benefits. Additionally, Defendants debuted Amazon Prime Video in September 2006, as
10   “Amazon Unbox.” Since then, Prime Video has been re-branded twice: in 2011, as “Amazon
11   Instant Video,” and then again in September 2015, when the word “Instant” was dropped from its
12   title in the U.S. Prime Video is offered as a benefit of the basic Prime subscription and as a
13   standalone subscription to non-Prime members, and it provides consumers with access to
14   unlimited, commercial-free instant streaming of thousands of movies and TV shows. Also in
15   2015, Amazon launched Amazon Prime Video Channels (originally called “Streaming Partners
16   Program”), which collectively refers to a variety of subscription offerings for third-party channels
17   and streaming services offered to Prime and Prime Video subscribers through the Amazon
18   Platform. These services are offered separate from the Prime and Prime Video offerings, and must
19

20   24
       See UBS, Investing in digital subscriptions (Mar. 10, 2021), https://www.ubs.com/global/en/wealth-
     management/our-approach/marketnews/article.1525238.html (“[A]t close to USD 650 billion in 2020, we expect the
21   subscription economy to expand into a USD 1.5 trillion market by 2025, implying an average annual growth rate of
     18%.”).
22       See also Subscribed, UBS Declares: It’s Worth Investing in the Subscription Economy (Apr. 17, 2021),
     https://www.subscribed.com/read/news-and-editorial/ubs-declares-its-worth-investing-in-the-subscription-economy;
23   Business 2 Community, The Subscription Economy Is Booming Right Now. But Are You Reaping the Full Benefits?
     (Oct. 7, 2021), https://www.business2community.com/ecommerce/the-subscription-economy-is-booming-right-now-
24   but-are-you-reaping-the-full-benefits-02434851.

25   25
       UBS, Investing in digital subscriptions (Mar. 10, 2021), supra note 21 (“[Growth] was seen across many areas,
     including e-commerce, video streaming, gaming, cloud-based applications, etc.”); see also Juniper Research,
26   Subscriptions For Physical Goods To Overtake Digital Subscriptions By 2025 (Oct. 12, 2020), supra note 19
     (acknowledging “the significant lead the digital sector has had in th[e] area[ of digital service subscriptions]”).
27   26
       New Media and Marketing, The problem with subscription marketing (Mar. 17, 2019),
     https://www.newmediaandmarketing.com/the-problem-with-subscription-marketing/.
28
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 1   be purchased separately (i.e., as an add-on subscription). The original launch in the U.S. included
 2   channels such as Curiosity Stream, Lifetime Movie Club, AMC’s Shudder, Showtime, Starz, and
 3   others. The service subsequently added other partners, such as HBO, Cinemax, Discovery+,
 4   Noggin, and PBS Kids, among others. Additionally, Amazon announced the launch of the
 5   Subscribe & Save program in May of 2007. 27 Defendants have also offered Audible subscription
 6   plans for access to audiobooks and podcasts since 2008, when Amazon acquired the company of
 7   the same name. In July 2014, Defendants introduced Kindle Unlimited, a subscription offering
 8   that provides consumers with access to a library of over two million book titles, thousands of
 9   audiobooks, and up to three magazine subscriptions. These benefits are accessible via the
10   “Amazon Kindle” devices, a series of e-readers designed and marketed by Amazon, which is sold
11   separately from Kindle Unlimited. Later the same year, in November of 2014, Defendants
12   launched Amazon Photos, a secure online storage subscription for photos and videos, which is
13   available as a standalone subscription for consumers who enroll in Defendants’ monthly storage
14   plan offerings for increased data storage (i.e., beyond the limited amount provided by default to
15   Prime subscribers and other Amazon customers without Prime). Then, in May 2016, Defendants
16   launched ComiXology Unlimited, a subscription service offering access to thousands of comics
17   from independent publishers for $5.99 per month. 28 Later that same year, Defendants launched
18   Amazon Music Unlimited, a subscription program that provides paying subscribers with unlimited
19   access to Defendants’ full music streaming catalog. Music Unlimited is available as a paid,
20   premium version of Music Prime (which is a limited version included with the Prime subscription
21   and is available to Prime subscribers at no additional cost beyond the renewal rate associated with
22   the basic Prime subscription) or as a standalone subscription. Next, Amazon’s subscription box
23   marketplace first went online in July 2018, at which point Defendants began selling the
24

25   27
       See Amazon Press Release, Amazon.com’s Grocery Store Launches New Subscribe & Save Feature Allowing
     Automatic Fulfillment of Most Popular Items (May 15, 2007), https://press.aboutamazon.com/news-releases/news-
26   release-details/amazoncoms-grocery-store-launches-new-subscribe-save-feature.
     28
       Publisher’s Weekly, Comixology Launches Comics Subscription Service (May 24, 2016),
27   https://www.publishersweekly.com/pw/by-topic/industry-news/comics/article/70472-comixology-launches-comics-
     subscription-service.html.
28
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 1   automatically renewing Amazon Subscription Boxes to paying subscribers from the Amazon
 2   Platform. 29 Defendants launched Amazon Prime Book Box in or around September 2018 as a
 3   standalone subscription offering for recurring deliveries of a curated selection of children’s books.
 4   And, Amazon Kids+ (formerly FreeTime Unlimited), which was launched in or around September
 5   2020, provides paid subscribers with access to thousands of kid-friendly books, movies, TV shows,
 6   educational apps, games, and more. Finally, the Blink Basic and Plus Subscription Plans
 7   launched in March 2021, and have been sold by Defendants on the Amazon Platform at all times
 8   since their 2021 debut. 30
 9              23.      As noted above, the production, sale, and distribution of subscription-based
10   products and services is a booming industry that has exploded in popularity over the past few
11   years. According to Forbes, “[t]he subscription e-commerce market has grown by more than
12   100% percent a year over the past five years, with the largest retailers generating more than $2.6B
13   in sales in 2016, up from $57.0M in 2011.” 31 Following 2016, market growth within the industry
14   increased exponentially, reaching $650 billion in 2020. 32 “As such, the financials of companies
15   with subscription business models[] … improved dramatically in 2020 thanks to limited revenue
16   volatility and strong cash flow generation.” 33 Thus, “[t]he share prices of most subscription
17   companies have performed well in recent years.” 34
18              24.      The expansion of the subscription e-commerce market shows no signs of slowing.
19   “We’re now in the subscriptions era, and the pandemic is accelerating its takeover. During the
20

21   29
       See Pymnts, Is Amazon On The Way To Becoming Subscription Commerce’s New Hub? (Jun. 11, 2019),
     https://www.pymnts.com/amazon/2019/subscription-commerce-retail-marketplace/; Modern Retail, Why Amazon is
22   turning to small brands to grow its subscription box program (Nov. 5, 2020),
     https://www.modernretail.co/platforms/why-amazon-is-turning-to-small-retailers-to-grow-its-subscription-box-
23   program/.
     30
       See Digital Trends, Free local storage is still an option as Blink launches new subscription fee (Mar. 18, 2021),
24   https://www.digitaltrends.com/home/blink-launches-new-paid-subscription-plan/.

25   31
       Forbes, The State Of The Subscription Economy, 2018 (Mar. 4, 2018), available at
     https://www.forbes.com/sites/louiscolumbus/2018/03/04/the-state-of-the-subscription-economy-2018/#6ad8251a53ef.
26   32
          See UBS, Investing in digital subscriptions (Mar. 10, 2021), supra note 21.
     33
27        Id.
     34
          Id.
28
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 1   COVID-19 lockdowns, many digital-based subscription business models fared well due to their
 2   promise of convenience and strong business continuity.” 35 According to The Washington Post,
 3   “[s]ubscriptions boomed during the coronavirus pandemic as Americans largely stuck in shutdown
 4   mode flocked to digital entertainment[.] … The subscription economy was on the rise before the
 5   pandemic, but its wider and deeper reach in nearly every industry is expected to last, even after the
 6   pandemic subsides in the United States.” 36
 7              25.      However, as The Washington Post has noted, there are downsides associated with
 8   the subscription-based business model. 37 While the subscription e-commerce market has low
 9   barriers and is thus easy to enter, it is considerably more difficult for retailers to dominate the
10   market due to the “highly competitive prices and broad similarities among the leading players.” 38
11   In particular, retailers struggle with the fact that “[c]hurn rates are high, [] and consumers quickly
12   cancel services that don’t deliver superior end-to-end experiences.” 39 Yet, retailers have also
13   recognized that, where the recurring nature of the service, billing practices, or cancellation process
14   is unclear or complicated, “consumers may lose interest but be too harried to take the extra step of
15   canceling their membership[s].” 40 As these companies have realized, “[t]he real money is in the
16   inertia.” 41 As a result, “[m]any e-commerce sites work with third-party vendors to implement
17

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     35
          Id.
20   36
       The Washington Post, Everything’s becoming a subscription, and the pandemic is partly to blame (June 1, 2021),
21   https://www.washingtonpost.com/business/2021/06/01/subscription-boom-pandemic/ (noting that “e-commerce and
     entertainment subscriptions to sites such as Netflix, Hulu and Disney Plus made headlines during the pandemic for
22   soaring growth”).
     37
       The Washington Post, Little-box retailing: Subscription services offer new possibilities to consumers, major outlets
23   (Apr. 7, 2014), available at https://www.washingtonpost.com/business/economy/tktktktk/2014/04/07/f68135b6-a92b-
     11e3-8d62-419db477a0e6_story.html.
24   38
       McKinsey & Company, Thinking inside the subscription box: New research on e-commerce consumers (Feb. 2018),
25   https://www.mckinsey.com/industries/technology-media-and-telecommunications/our-insights/thinking-inside-the-
     subscription-box-new-research-on-ecommerce-consumers#0.
26   39
          Id.

27   40
          The Washington Post, Little-box retailing (Apr. 7, 2014), supra note 34.
     41
          Id.
28
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 1   more manipulative designs.” 42 That is, to facilitate consumer inertia, a number of subscription e-
 2   commerce companies, including Defendants, “are now taking advantage of subscriptions in order
 3   to trick users into signing up for expensive and recurring plans. They do this by intentionally
 4   confusing users with their app’s design and flow, by making promises of ‘free trials’ that convert
 5   after only a matter of days, and other misleading tactics.” 43
 6              26.   To make matters worse, once enrolled in the subscription, “[o]ne of the biggest
 7   complaints consumers have about brand/retailers is that it’s often difficult to discontinue a
 8   subscription marketing plan.” 44 Moreover, “the rapid growth of subscriptions has created a host of
 9   challenges for the economy, far outpacing the government’s ability to scrutinize aggressive
10   marketing practices and ensure that consumers are being treated fairly, consumer advocates say.” 45
11   Thus, although “Federal Trade Commission regulators are looking at ways to make it harder for
12   companies to trap consumers into monthly subscriptions that drain their bank accounts[ and]
13   attempting to respond to a proliferation of abuses by some companies over the past few years[,]” 46
14   widespread utilization of these misleading dark patterns and deliberate omissions persist.
15              27.   Defendants have successfully implemented these tactics. As of 2020, Defendants
16   had “raised the global number of Prime members to 200 million,” with an estimated United States
17   “subscriber count of 147 million in 2021.”47 In 2019, “roughly 65 percent of all Amazon shoppers
18

19   42
       Business Insider, A new study from Princeton reveals how shopping websites use 'dark patterns' to trick you into
20   buying things you didn't actually want (Jun. 25, 2019), https://www.businessinsider.com/dark-patterns-online-
     shopping-princeton-2019-6.
21   43
       TechCrunch, Sneaky subscriptions are plaguing the App Store (Oct. 15, 2018),
     https://techcrunch.com/2018/10/15/sneaky-subscriptions-are-plaguing-the-app-store/.
22   44
       The Washington Post, Everything’s becoming a subscription, and the pandemic is partly to blame (June 1, 2021),
23   https://www.washingtonpost.com/business/2021/06/01/subscription-boom-pandemic/ (“‘Subscription services are a
     sneaky wallet drain,’ said Angela Myers, 29, of Pittsburgh. ‘You keep signing up for things and they make it really
24   hard to cancel.’”); see also New Media and Marketing, The problem with subscription marketing (Mar. 17, 2019),
     https://www.newmediaandmarketing.com/the-problem-with-subscription-marketing/.
25   45
          Id.
     46
26        Id.
     47
       Statista, Amazon Prime - Statistics & Facts (Jul. 5, 2021), https://www.statista.com/topics/4076/amazon-
27   prime/#:~:text=Since%20the%20service%20was%20first,of%20147%20million%20in%202021 (last accessed Oct. 8,
     2021).
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 1   were Prime members.” 48 Significantly, in 2020, “Amazon’s net revenue from subscription
 2   services … amounted to 25.21 billion U.S. dollars.” 49 Based on this growth, Amazon CFO Brian
 3   Olsavsky noted in Amazon’s second quarter earnings conference call held on July 29, 2021, that
 4   Amazon has “been fortunate to welcome more than 50 million new members in the past 18
 5   months” and that he was “very pleased with the Prime member growth and engagement
 6   [Defendants are] seeing.” 50 Moreover, in recent months Defendants have enjoyed rapid growth to
 7   their Amazon Subscriptions user-base in light of the fact that “[o]verall time spent streaming has
 8   more than doubled since March[ 2020], when the U.S. and other countries largely shut down due
 9   to COVID-19.” 51 In fact, in 2020, “Prime Video had over 100 million subscribers … trailing only
10   after Netflix[.] … The platform has seen particularly high audience growth … as a result of the
11   coronavirus (COVID-19) pandemic.” 52 Similarly, Amazon was able to convince “50 million
12   people to join Prime during the pandemic, accounting for an approximate 33 percent growth of the
13   base.” 53
14

15   48
          Id.

16   49
       Statista, Amazon: Global net revenue by product 2020 (Jul. 7, 2021),
     https://www.statista.com/statistics/672747/amazons-consolidated-net-revenue-by-segment/; see also Amazon News
17   Release, Amazon.com announces First Quarter Results. (Apr. 29, 2021). https://ir.aboutamazon.com/news-
     release/news-release-details/2021/Amazon.com-Announces-First-Quarter-Results/default.aspx (last accessed Oct. 8,
18   2021).
          See also Securities and Exchanges Commission (“SEC”), 2020 Annual Report for Amazon.com, Inc., available at
19   https://www.sec.gov/Archives/edgar/data/1018724/000101872421000004/amzn-
     20201231.htm#i75de98b9097f40f3b5884e541f532421_13, at 66 (showing $25.207 million net sales from subscription
20   services segment in 2020, a 31.2% increase over net sales of subscription services in 2019 and a 77.915% increase over
     2018 sales for same segment); id. (noting that this figure “[i]ncludes annual and monthly fees associated with Amazon
21   Prime memberships, as well as digital video, audiobook, digital music, e-book, and other non-AWS subscription
     services.”).
22   50
       The Motley Fool, Amazon (AMZN) Q2 2021 earnings call transcript (Jul. 30, 2021),
23   https://www.fool.com/earnings/call-transcripts/2021/07/30/amazon-amzn-q2-2021-earnings-call-transcript/ (last
     accessed Oct. 8, 2021).
24   51
       Deadline, Ad-Free Subscription Growth Outpaces Ad-Supported Fare During COVID-19 (May 29, 2020),
     https://deadline.com/2020/05/subscription-streaming-growth-outpaces-free-ad-supported-during-covid-19-
25   1202946438/.

26   52
          Statista, Amazon Prime - Statistics & Facts (Jul. 5, 2021), see supra note 44.
     53
       The Verge, Amazon added another 50 million prime subscribers during the pandemic (Apr. 15, 2021),
27   https://www.theverge.com/2021/4/15/22385370/amazon-prime-subscription-jeff-bezos-2020-shareholders-letter (last
     accessed Oct. 8, 2021).
28
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 1            B.      Defendants’ Dark Patterns And Online Consumer Complaints
                      About The Amazon Subscriptions
 2
              28.     Defendants’ recent growth in revenues and subscriber count with respect to their
 3
     Amazon Subscriptions coincides with a sharp decline in subscriber satisfaction as the Amazon
 4
     Subscriptions and the platforms from which they operate have become riddled with “dark
 5
     patterns.” A dark pattern is “a user interface carefully crafted to trick users into doing things they
 6
     might not otherwise do, such as … signing up for recurring bills.” 54 Indeed, as Mark Hurst 55 has
 7
     suggested, Amazon is among the many websites with large user bases that have implemented
 8
     “deceptive design tricks to mislead users” by turning subscription cancellation into “a six-page
 9
     process filled with ‘dark patterns.’” 56
10
              29.     Defendants have been using various types of dark patterns, including but not
11

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     54
       UX Design, Dark patterns in UX: how designers should be responsible for their actions (Apr. 15, 2018),
20   https://uxdesign.cc/dark-patterns-in-ux-design-7009a83b233c (quoting UX designer Harry Brignull, PhD Cognitive
     Science, who coined the term “Dark Patters” in August 2010).
21   55
       Mark Hurst is the founder of Creative Good, a New York-based consultancy and creative platform launched in 1997.
22   See https://creativegood.com/mark-hurst/.
     56
        Creative Good, Why I'm losing faith in UX (Jan. 28, 2021), https://creativegood.com/blog/21/losing-faith-in-ux.html
23   (last accessed Nov. 15, 2021) (discussing “Amazon’s absurdly difficult, inconvenient process for turning off a Prime
     subscription”); id. (“UX is now ‘user exploitation.’ * A perfect example is the Amazon Prime cancellation process. …
24   What should be a single page with a ‘Cancel my subscription’ link is now a six-page process filled with ‘dark patterns’
     - deceptive design tricks known to mislead users - and unnecessary distractions. This isn't an accident. Instead, …
25   there's a highly-trained, highly-paid UX organization at Amazon that is actively working to deceive, exploit, and harm
     their users.”). See also Mie Oehlenschlager, Dark Patterns from Amazon into the Light (Jan. 23, 2021),
26   https://dataethics.eu/dark-patterns-from-amazon-into-the-light/ (“Amazon uses dark patterns or manipulative design
     which is – unfortunately – a common practice online[.] … ‘Consumers are constantly bombarded by a variety of subtle
27   and less subtle attempts to push us into making choices that favour the companies at the cost of our own time,
     attention, and money’”).
28
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 1   limited to “roach motel,” 57 “misdirection,” 58 and “forced continuity,” 59 in order to prevent user
 2   from unsubscribing from the Amazon Subscriptions by adopting complex cancellation procedures
 3   to increase the friction in the subscription cancellation process. Defendants’ utilization of these
 4   dark patterns – especially in conjunction with their failure to fully disclose the terms of their
 5   automatic-renewal programs (discussed further below) – has led to a reduction in churn rates by
 6   making it next to impossible for subscribers to cancel their Amazon Subscriptions. It has further
 7   led to an increase in accidental or unintentional sign-ups by consumers for paid Amazon
 8   Subscriptions, in effect increasing subscriber count and, thus, Defendants’ overall revenues from
 9
     57
       “Roach motel” refers to a “design [that] makes it very easy for [consumers] to get into a certain situation, but then
10   makes it hard for [consumers] to get out of it (e.g. a subscription).” https://www.darkpatterns.org/types-of-dark-
     pattern/roach-motel.
11
          See also Jeremy Merkel, Dark Patterns Come to Light in California Data Privacy Laws, XI Nat’l L. Rev. (Jul. 2,
12   2021), https://www.natlawreview.com/article/dark-patterns-come-to-light-california-data-privacy-
     laws#google_vignette (“When it comes to the roach motel, as the saying goes, ‘roaches check in, but they don’t check
13   out.’ Drawing upon this allegory, researchers from the Norwegian Consumer Council (Forbrukerrådet) studied
     Amazon’s use of dark patterns to manipulate users into continuing their Amazon Prime subscriptions, even when they
14   intended to cancel, and published their findings in a report in January. The conclusions served as the basis for a
     complaint by the internet privacy watchdog, the Electronic Privacy Information Center (EPIC), to the Office of the
15   Attorney General of the District of Columbia, alleging that Amazon’s use of dark patterns constitutes an unfair and
     deceptive trade practice in violation of the D.C. Consumer Protection Procedures Act and the Federal Trade
16   Commission Act.”) (emphasis added and internal footnotes omitted) (citations omitted); Forbrukerrådet, You Can Log
     Out, but You Can Never Leave: How Amazon manipulates consumers to keep them subscribed to Amazon Prime (Jan.
17   14, 2021), https://fil.forbrukerradet.no/wp-content/uploads/2021/01/2021-01-14-you-can-log-out-but-you-can-never-
     leave-final.pdf; In the Matter of Amazon.com, Inc., EPIC Complaint, Office of the Attorney General for D.C. (Feb. 23,
18   2021), https://archive.epic.org/privacy/dccppa/amazon/EPIC-Complaint-In-Re-Amazon.pdf; FTC, Statement of
     Commissioner Rohit Chopra Regarding Dark Patterns in the Matter of Age of Learning, Inc., Commission File
19   Number 1723186 (Sep. 2, 2020),
     https://www.ftc.gov/system/files/documents/public_statements/1579927/172_3086_abcmouse_-
20   _rchopra_statement.pdf.
     58
       “Misdirection” is a type of dark pattern where a website’s “design purposefully focuses [customers’] attention on
21   one thing in order to distract [them] attention from another.” In many cases, “[w]hat’s deceptive is the way [the
     website] presents [purchase] options: it uses misdirection to hide what is actually happening[.]”
22   https://www.darkpatterns.org/types-of-dark-pattern/misdirection.

23   59
       One example of “forced continuity,” another type of dark pattern, is where customers’ sign up for a “free trial with a
     service[ that] comes to an end and [their] credit card silently starts getting charged without any warning. [The
24   subscriber is] are then not given an easy way to cancel the automatic renewal.” https://www.darkpatterns.org/types-of-
     dark-pattern/forced-continuity.
25        See also The Good, Dark Patterns: The Ultimate Conversion Blocker for Ecommerce Websites (Jun. 15, 2021),
     https://thegood.com/insights/dark-pattern-ecommerce-ux-design/ (“You’ve probably signed up for a free trial of
26   something, forgotten to cancel it, and then automatically been billed when the trial expired. That’s forced continuity.
     You’re not given an opportunity or reminder to opt out of the trial, and it’s often exceedingly difficult to cancel before
27   you’re charged for the premium subscription. * Unfortunately, this dark pattern is used everywhere, including Amazon
     Prime.”) (emphasis added)
28
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 1   renewal fees.
 2            30.    Amazon’s use of dark patterns is so egregious that the company’s practices are
 3   consistently used as examples to help writers explain dark patterns. Indeed, one writer explained:
 4   “A classic example of dark patterns is when you want to delete an Amazon account. You can sign
 5   up for Amazon in less than 4 clicks, but you’ll need to go through at least 6 clicks across 5 pages
 6   (including guesswork in selecting categories) and then chat with a representative if you want to
 7   close your Amazon account.” 60 And as a writer for The New York Times similarly remarked,
 8   “[s]ome things are difficult by design. * Consider Amazon. The company perfected the one-click
 9   checkout. But canceling a $119 Prime subscription is a labyrinthine process that requires multiple
10   screens and clicks. … These are examples of ‘dark patterns,’ the techniques that companies use
11   online to get consumers to sign up for things[ and] keep subscriptions they might otherwise
12   cancel[.]” 61 Yet another writer explained: “Getting out of Amazon Prime poses one of the most
13   complex unsubscription service present among different subscription platforms, as it requires users
14   to go to different settings, pages, and ultimately ask for help … Amazon’s Prime subscription
15   service cancellation is practicing ‘dark patterns’ that mislead people and change their minds. The
16   rigorous process is said to be the way by the company to prevent people from unsubscribing,
17   ultimately opting out because of the lengthy procedure.” 62 A writer demonstrating to consumers
18   how to spot dark patterns said about closing an Amazon account that: “The instructions are buried
19   under a help menu, and once you track them down, you learn there’s no way to complete the
20   process on your own. You need to contact customer service to get the job done.” 63 These articles
21   are a small sampling of those that use Amazon’s concerning practices as an example for dark
22

23   60
       Fossbytes, What Are Dark Patterns? Why The California Ban Makes Sense (Mar. 16, 2021),
     https://fossbytes.com/dark-patterns-explained/.
24   61
       The New York Times, Stopping the Manipulation Machines (Apr. 30, 2021),
     https://www.nytimes.com/2021/04/30/opinion/dark-pattern-internet-ecommerce-regulation.html (emphasis added).
25   62
       Tech Times, Amazon Prime ‘Dark Pattern’ of Service Cancellation Explained: Why Consumer Groups Think It’s
26   Unfair and Deceptive (Jan. 14, 2021), https://www.techtimes.com/articles/255977/20210114/amazon-prime-dark-
     pattern-service-cancellation-explained-why-consumer-groups.htm.
27   63
       Consumer Reports, How to Spot Manipulative 'Dark Patterns' Online (Jan. 30, 2019),
     https://www.consumerreports.org/privacy/how-to-spot-manipulative-dark-patterns-online-a7910348794/.
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     FIRST AMENDED CLASS ACTION COMPLAINT                                                BURSOR & FISHER, P.A.
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 1   patterns. 64
 2              31.     Defendants’ shady conduct with dark patterns in both 2018 and 2019 even earned
 3   “The Dark UX Award,” by a consumer vote on a website dedicated to “[c]elebrating excellence in
 4   user experience[.]” 65 This so-called “award,” however, is not really as it sounds: “This category
 5   … is about dark UX patterns being used to deliberately trick or mislead users into actions they
 6   might not have taken otherwise.” 66
 7              32.     More recently, Amazon’s practices have been the subject of studies regarding dark
 8   patterns, including one report done by the Norwegian Consumer Council (“NCC”): “This year, we
 9   launched a report on Amazon where we analyzed the click flow of Amazon in Amazon Prime.
10   And what we discovered was they were putting so many hurdles in front of the consumer,
11   including complicated navigation menu, skewed wording, confusing choices, and repeated
12   nudging, confirm shaming, which … are really effective sort of measures to manipulate
13

14

15   64
       See also, e.g., Speccy Media, Dark Patterns and how they trick us online (May 19, 2021),
     https://speccymedia.com/dark-patterns/ (“One of the largest companies in the world, Amazon, makes it virtually
16   impossible for you to delete your account with them. … To delete your account you might think a logical place to look
     for the option would be within the ‘Account & Lists’ menu just to the right of the search field. … When you open up
17   that menu, … you see[] … [a] ton of options, none of which are the one we are looking for. * Instead, you’ll need to
     scroll down to the very bottom of the page until you see the footer. Within the footer, you’ll see a small link that
18   simply says ‘Help’. If you click that, … it leads[ to a new webpage] … with a whole heap more options! My
     immediate thought was to scroll to the Search field and type ‘Delete Account’ but that just lead me to even more
19   options, none of which was anything to do with deleting my Amazon account. … The only way to delete your account
     with Amazon is to select ‘Contact Us’ and then plead with one of the representatives to Close and delete it for you,
20   there is no way for you to perform this action yourself or any shred of evidence that this is even possible at all. And
     this is from one of the largest, most-respected companies in the world!”) (emphasis added); The Good, Dark Patterns:
21   The Ultimate Conversion Blocker for Ecommerce Websites (Jun. 15, 2021), https://thegood.com/insights/dark-pattern-
     ecommerce-ux-design/ (“You’ve probably signed up for a free trial of something, forgotten to cancel it, and then
22   automatically been billed when the trial expired. That’s forced continuity. You’re not given an opportunity or
     reminder to opt out of the trial, and it’s often exceedingly difficult to cancel before you’re charged for the premium
23   subscription. * Unfortunately, this dark pattern is used everywhere, including Amazon Prime.”) (emphasis added); The
     Markup, Dark Patterns that Mislead Consumers Are All Over the Internet (Jun. 3, 2021),
24   https://themarkup.org/2021/06/03/dark-patterns-that-mislead-consumers-are-all-over-the-internet (“In January, after
     researchers accused Amazon of making it too difficult for Prime members to cancel their subscriptions, the Norwegian
25   Consumer Council filed a legal complaint with Norway’s consumer protection authority, while the U.S. consumer
     advocacy group Public Citizen requested that the FTC investigate Amazon’s dark patterns for maintaining
26   subscriptions.”).

27   65
          The Dark UX Award (2019), https://uxukawards.com/best-dark-ux/.
     66
          Id.
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     FIRST AMENDED CLASS ACTION COMPLAINT                                                     BURSOR & FISHER, P.A.
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 1   consumers.” 67 The results of the study prompted NCC to file its own complaint in Norway “about
 2   Amazon’s absurdly difficult, inconvenient process for turning off a Prime subscription.” 68 That
 3   complaint stated: “The cancellation procedure is long, and consists of six separate pages. On each
 4   separate page, the consumer is nudged toward keeping their Prime membership … This
 5   uncertainty is further strengthened by having to scroll through the page, which is full of text and
 6   graphics to show how cancelling the membership will mean the loss of many benefits.” 69
 7              33.      Despite the above consensus concerning the unsettling nature Amazon’s practices,
 8   Defendants continue to employ these deceptive tactics to lure consumers into enrolling, and
 9   remaining enrolled, in paid Amazon Subscription programs. In fact, Defendants were the subject
10   of a recent Business Insider article by author Eugene Kim, titled “Internal documents show
11   Amazon has for years knowingly tricked people into signing up for Prime subscriptions. ‘We have
12   been deliberately confusing,’ former employee says.” 70 The article describes a particularly
13   haunting example of dark patterns employed by Defendant: “For example, a single click on the
14   ‘Get FREE Two-Day Delivery with Prime’ tab at check out – with no additional confirmation step
15   – gets shoppers automatically enrolled into a 30-day free trial of Amazon’s Prime program, which
16   later converts to a paid membership unless the user cancels it.” 71 According to Kim, “previously
17   unreported internal documents and six current and former employees” have confirmed that
18   “Amazon was aware of these complaints for years but did not take serious action,” and that
19   “[e]ven the company’s most senior leaders were aware of this problem.” Id. Even worse, “fixes
20   for these issues were proposed and considered, but resulted in lower subscription growth when
21   tested, and were shelved by executives.” Id. The current and former employees expressed further
22   67
       KnowledgeVision, Transcript for FTC DarkPatterns Workshop (Apr. 29, 2021), available at
     https://www.ftc.gov/system/files/documents/public_events/1586943/ftc_darkpatterns_workshop_transcript.pdf
23   (emphasis added).

24   68
       The Creative Good, Why I'm losing faith in UX (Jan. 28, 2021), available at https://creativegood.com/blog/21/losing-
     faith-in-ux.html.
25   69
          Id.

26   70
       Business Insider, Internal documents show Amazon has for years knowingly tricked people into signing up for Prime
     subscriptions. ‘We have been deliberately confusing,’ former employee says (Mar. 14, 2022), available at
27   https://www.businessinsider.com/amazon-prime-ftc-probe-customer-complaints-sign-ups-internal-documents-2022-3.
     71
          Id. (emphasis added).
28
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 1   concern despite some changes made to Amazon’s sign-up pages, saying “repeated red flags in the
 2   sign-up process have not been meaningfully addressed, even now,” and the “lack of change may
 3   have to do with internal tests that showed that clearer language led to fewer sign-ups. Id.
 4   Customer confusion has been an ongoing problem with Amazon’s Prime service: “One data point
 5   from August 2017 found that 17,131 of the 25,542 cancellation requests directly handled by the
 6   Prime team were related to ‘accidental sign-ups,’” meaning customers were deceived into signing
 7   up for a Prime account and later forced to contact the Amazon team to ensure their desired
 8   cancellation would be effective. Id. Mr. Kim’s article on Defendants’ deceptive practices, and the
 9   willingness of current and former Amazon employees to discuss said practices, is extremely telling
10   as to why Defendants’ tactics need to be stopped.
11            34.    Defendants’ conduct has drawn the attention and ire of customers across the
12   country, with countless angry customers taking to the Internet to voice their discontent over
13   Defendants’ broken promises. For instance, numerous subscribers have left scathing reviews on
14   the Better Business Bureau website, complaining of the unclear billing practices and confusing
15   cancellation policy associated with the Amazon Subscriptions: 72
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27   72
       See https://www.bbb.org/us/wa/seattle/profile/ecommerce/amazoncom-1296-7039385/complaints (last accessed Jun.
     14, 2022).
28
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              35.     Other subscribers to the Amazon Subscriptions left similar complaints on the
 4
     Trustpilot website: 73
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       See https://www.trustpilot.com/review/www.amazon.com?search=subscription&stars=1&stars=2;
27   https://www.trustpilot.com/review/amazonprime.com?stars=1&stars=2;
     https://www.trustpilot.com/review/primevideo.com?stars=1&search=cancel (last accessed Jun. 14, 2022).
28
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 1              36.     Yet more unhappy subscribers left complaints in the comments of a YouTube video
 2   created to aid consumers in navigating the confusing Amazon Subscription cancellation process.
 3   Many were grateful to the video creator for explaining how to cancel where Defendants failed: 74
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          See https://www.youtube.com/watch?v=YUlGTOaHslM (last accessed Jun. 14, 2022).
28
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11          37.     The above reviews are just a sampling of numerous negative reviews consumers
12   have left regarding Defendants’ Amazon Subscriptions and the unclear cancellation policies and
13   confusing billing associated with the Subscriptions. As discussed below, the above online
14   consumer complaints reveal a widespread pattern of uniform unlawful conduct by Defendants,
15   underscoring the artifice devised and employed by Defendants to lure and deceive millions of
16   consumers into enrolling, and remaining enrolled, in their paid Amazon Subscription programs.
17          C.      Background On Relevant California And Oregon Law
18                  i.     California’s Automatic Renewal Law
19          38.     In 2010, the California Legislature enacted the Automatic Renewal Law (the
20   “California ARL”), Cal. Bus. & Prof. Code §§ 17600, et seq., with the intent to “end the practice
21   of ongoing charging of consumer credit or debit cards or third party payment accounts without the
22   consumers’ explicit consent for ongoing shipments of a product or ongoing deliveries of service.”
23   Cal. Bus. & Prof. Code § 17600 (statement of legislative intent). More recently, in 2018,
24   California’s Senate Bill 313 amended Section 17602 of the California ARL, adding new
25   requirements meant to increase consumer protections for, among other things, orders that contain
26   free trial and promotional pricing, and subscription agreements entered into online.
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 1          39.     The California ARL makes it “unlawful for any business making an automatic
 2   renewal or continuous service offer to a consumer in this state to do any of the following:”
 3                  (1) Fail to present the automatic renewal offer terms or continuous
                    service offer terms in a clear and conspicuous manner before the
 4                  subscription or purchasing agreement is fulfilled and in visual
                    proximity, or in the case of an offer conveyed by voice, in temporal
 5                  proximity, to the request for consent to the offer. If the offer also
                    includes a free gift or trial, the offer shall include a clear and
 6                  conspicuous explanation of the price that will be charged after the
                    trial ends or the manner in which the subscription or purchasing
 7                  agreement pricing will change upon conclusion of the trial.
 8                  (2) Charge the consumer’s credit or debit card, or the consumer’s
                    account with a third party, for an automatic renewal or continuous
 9                  service without first obtaining the consumer’s affirmative consent to
                    the agreement containing the automatic renewal offer terms or
10                  continuous service offer terms, including the terms of an automatic
                    renewal offer or continuous service offer that is made at a
11                  promotional or discounted price for a limited period of time.
12                  (3) Fail to provide an acknowledgment that includes the automatic
                    renewal offer terms or continuous service offer terms, cancellation
13                  policy, and information regarding how to cancel in a manner that is
                    capable of being retained by the consumer. If the automatic renewal
14                  offer or continuous service offer includes a free gift or trial, the
                    business shall also disclose in the acknowledgment how to cancel,
15                  and allow the consumer to cancel, the automatic renewal or
                    continuous service before the consumer pays for the goods or
16                  services.
17   Cal. Bus. & Prof. Code § 17602(a)(1)-(3).
18          40.     Section 17602(b) of the ARL further provides:
19                  A business that makes an automatic renewal offer or continuous
                    service offer shall provide another cost-effective, timely, and easy-to-
20                  use mechanism for cancellation that shall be described in the
                    acknowledgment specified in paragraph (3) of subdivision (a).
21
     Cal. Bus. & Prof. Code § 17602(b).
22
            41.     Additionally, following the 2018 amendment to the California ARL, the updated
23
     law requires e-commerce sellers, doing business in California, to allow online cancellation of auto-
24
     renewing memberships or recurring purchases that were initiated online. Specifically, Section
25
     17602(c) provides:
26
                    [A] consumer who accepts an automatic renewal or continuous
27                  service offer online shall be allowed to terminate the automatic
                    renewal or continuous service exclusively online, which may include
28
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 1                  a termination email formatted and provided by the business that a
                    consumer can send to the business without additional information.
 2
     Cal. Bus. & Prof. Code § 17602(c) (emphasis added). The updated California ARL also requires a
 3
     seller who provides an automatic offer that includes a free gift, trial, or promotional pricing to
 4
     notify consumers about how to cancel the auto-renewal before they are charged. Sellers must also
 5
     explain the price to be charged when the promotion or free trial ends. If the initial offer is at a
 6
     promotional price that is only for a limited time and will increase later, the seller must obtain
 7
     consumer consent to the non-discounted price prior to billing. Id.
 8
            42.     Section 17601(a) of the California ARL defines the term “Automatic renewal” as a
 9
     “plan or arrangement in which a paid subscription or purchasing agreement is automatically
10
     renewed at the end of a definite term for a subsequent term.” Cal. Bus. & Prof. Code § 17601(a).
11
            43.     Section 17601(b) of the California ARL defines the term “Automatic renewal offer
12
     terms” as “the following clear and conspicuous disclosures: (1) That the subscription or
13
     purchasing agreement will continue until the consumer cancels. (2) The description of the
14
     cancellation policy that applies to the offer. (3) The recurring charges that will be charged to the
15
     consumer’s credit or debit card or payment account with a third party as part of the automatic
16
     renewal plan or arrangement, and that the amount of the charge may change, if that is the case, and
17
     the amount to which the charge will change, if known. (4) The length of the automatic renewal
18
     term or that the service is continuous, unless the length of the term is chosen by the consumer. (5)
19
     The minimum purchase obligation, if any.” Cal. Bus. & Prof. Code § 17601(b).
20
            44.     Pursuant to Section 17601(c) of the California ARL, “clear and conspicuous” or
21
     “clearly and conspicuously” means “in larger type than the surrounding text, or in contrasting type,
22
     font, or color to the surrounding text of the same size, or set off from the surrounding text of the
23
     same size by symbol ls or other marks, in a manner that clearly calls attention to the language.”
24
     Cal. Bus. & Prof. Code § 17601(c).
25
            45.     Finally, Section 17603 of the California ARL provides that where a “business sends
26
     any goods, wares, merchandise, or products to a consumer, under a continuous service agreement
27
     or automatic renewal of a purchase, without first obtaining the consumer’s affirmative consent[,]”
28
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 1   the material sent will be deemed “an unconditional gift to the consumer, who may use or dispose
 2   of the same in any manner he or she sees fit without any obligation whatsoever on the consumer’s
 3   part to the business[.]” Cal. Bus. & Prof. Code § 17603.
 4              46.      As alleged below, Defendants’ practices on the Amazon Platform systematically
 5   violate Sections 17602(a)(l), 17602(a)(2), and 17602(a)(3) of the California ARL.
 6                       ii.      Oregon’s Automatic Renewal Law
 7              47.      In 2011, with the passage of Oregon’s Senate Bill 487, the Oregon Legislature
 8   enacted the Automatic Renewal Law (the “Oregon ARL”), ORS 646A.292-646A.295, with the
 9   intent to “end the practice of ongoing charging of consumer credit or debit cards or third party
10   payment accounts without the consumers’ explicit consent for ongoing shipments of a product or
11   ongoing deliveries of service.” ORS 646A.292 (statement of legislative intent). 75
12              48.      The Oregon ARL makes it “unlawful for a person that makes an automatic renewal
13   or continuous service offer to a consumer in this state to do any of the following:”
14
                         (a) Fail to present the automatic renewal offer terms or continuous
15                       service offer terms in a clear and conspicuous manner before a
                         subscription or purchasing agreement is fulfilled and in visual
16

17   75
          This intent is further underscored by the legislative history surrounding the ARL’s enactment in Oregon:
18              The Senate took final action on a bill [Senate Bill 487] this afternoon that will give consumers
                greater protection from getting trapped in cyclical automatic renewal agreements that can become
19              expensive and burdensome. …

20              “The problem with some automatic renewals is that consumers may think they’re purchasing an item
                once or for a limited amount of time, but poorly disclosed automatic renewal clauses can cause
21              financial hardship and headaches for consumers,” said Senator Suzanne Bonamici (D-NW
                Portland/Washington Co.), chief sponsor of the bill. “Senate Bill 487 will provide consumers with
22              valuable information regarding contact provisions that can potentially save them significant amounts
                of money.”
23              Several types of consumer contracts typically carry automatic renewal provisions, including
                newspaper and magazine subscriptions and home alarm services. Currently, many automatic renewal
24              clauses are hidden in the fine print of an advertisement’s offer. …

25              “Clear and easy to understand disclosures are very basic measures of consumer protection,” said
                Senate Majority Leader Diane Rosenbuam (D-Portland). “This is a simple bill that will help prevent
26              consumers from signing up for more than they bargained for.”
     Oregon Legislative News Release, Bill will prohibit misleading and costly automatic contract renewals: Senate takes
27   final vote on SB 487, consumer protection victory for Oregonians (Jun. 10, 2011), available at
     https://www.oregonlegislature.gov/senatedemocrats/Documents/sdo_061011.pdf.
28
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 1                  proximity, or in the case of an offer conveyed by voice, in temporal
                    proximity, to the request for consent to the offer.
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 3                  (b) Charge the consumer’s credit or debit card or payment account
                    with a third party for an automatic renewal or continuous service
 4                  without first obtaining the consumer’s affirmative consent to the
                    agreement containing the automatic renewal offer terms or
 5                  continuous service offer terms.
 6
                    (c) Fail to provide an acknowledgment that includes the automatic
 7                  renewal offer terms or continuous service offer terms and
                    information regarding how to cancel in a manner that is capable of
 8                  being retained by the consumer. If the offer includes a free trial, the
                    person shall also disclose in the acknowledgment how to cancel and
 9                  allow the consumer to cancel before the consumer pays for the goods
                    or services.
10
     ORS 646A.295(1)(a)-(c). The requirements of 646A.295(1)(a)-(b) “must be met prior to the
11
     completion of the initial order for the automatic renewal or continuous service[,]” but the
12
     requirements of 646A.295(1)(c) “may be fulfilled after completion of the initial order.”
13
     646A.295(4).
14
            49.     Additionally, Section 646A.295(2) of the Oregon ARL further provides:
15
                    A person making automatic renewal or continuous service offers
16                  shall provide a toll-free telephone number, electronic mail address, a
                    post-office address only when the person directly bills the consumer,
17
                    or another cost-effective, timely and easy-to-use mechanism for
18                  cancellation that must be described in the acknowledgment required
                    by subsection (1)(c) of this section.
19
     ORS 646A.295(2).
20
            50.     The term “Person” as used in ORS 646A.295 means “natural persons, corporations,
21
     trusts, partnerships, incorporated or unincorporated associations and any other legal entity except
22
     bodies or officers acting under statutory authority of this state or the United States.” ORS 646.605;
23
     see also ORS 646A.293(4) (“‘Person’ has the meaning given that term in ORS 646.605[.]”).
24
     Defendants are each a “person” under this definition.
25
            51.     Section 646A.293(1) of the Oregon ARL defines the term “Automatic renewal” as a
26
     “plan or arrangement in which a paid subscription or purchasing agreement is automatically
27
     renewed at the end of a definite term for a subsequent term.” Section 646A.293(3) similarly
28
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 1   defines “Continuous service” as “a plan or arrangement in which a paid subscription or purchasing
 2   agreement continues until the consumer cancels the service.” The Amazon Subscriptions
 3   constitute “automatic renewal” and/or “continuous service” plans under these definitions.
 4          52.     Pursuant to Section 646A.293(5) of the Oregon ARL, “Offer terms” means “the
 5   following clear and conspicuous disclosures: (a) That the subscription or purchasing agreement
 6   will continue until the consumer cancels. (b) The description of the cancellation policy that applies
 7   to the offer. (c) The recurring charges that will be charged to the consumer’s credit or debit card or
 8   payment account with a third party as part of the automatic renewal or continuous service plan or
 9   arrangement, and, if the amount of the charge will change, the amount to which the charge will
10   change, if known. (d) The length of the automatic renewal term or that the service is continuous,
11   unless the length of the term is chosen by the consumer. (e) The minimum purchase obligation, if
12   any.” ORS 646A.293(5)(a)-(e).
13          53.     Section 646A.293(2) of the Oregon ARL defines the term “Clear and conspicuous,”
14   in relevant part, as “in larger type than the surrounding text, or in contrasting type, font or color to
15   the surrounding text of the same size, or set off from the surrounding text of the same size by
16   symbols or other marks, in a manner that clearly calls attention to the language.”
17          54.     Finally, the Oregon ARL provides that where “a person sends goods, wares,
18   merchandise or products to a consumer under a continuous service agreement or pursuant to an
19   automatic renewal of a purchase without first obtaining the consumer’s affirmative consent as
20   required in [ORS 646A.295(1)], the goods, wares, merchandise or products shall for all purposes
21   be deemed an unconditional gift to the consumer who may use or dispose of them in any manner
22   the consumer sees fit without any obligation to the person including, but not limited to, requiring
23   the consumer to ship, or bear the cost of shipping, any goods, wares, merchandise or products to
24   the person.” ORS 646A.295(5).
25          55.     As alleged below, Defendants’ practices on the Amazon Platform systematically
26   violate Sections 646A.295(1)(a), 646A.295(1)(b), 646A.295(1)(c), and 646A.295(2) of the Oregon
27   ARL. Defendants’ noncompliance with the Oregon ARL is a direct violation of UTPA. See ORS
28
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 1   646.608(1)(ttt) (“(1) A person engages in an unlawful practice if in the course of the person’s
 2   business, vocation or occupation the person does any of the following: … (ttt) Violates a provision
 3   of ORS 646A.295 (Prohibited actions).”).
 4                    iii.     Oregon’s Free Offer Law
 5            56.     In 2011, the same year the Oregon ARL was enacted 76, the Oregon Legislature also
 6   passed Senate Bill 292, thereby enacting the Free Offer Law (“FOL”), ORS 646.644, which
 7   prohibits businesses from imposing financial obligations on consumers who accept a free offer
 8   unless that offer complies with disclosure, consent, and billing information requirements. 77
 9            57.     For the purposes of the FOL, a “Free offer” means, in relevant part, “an offer of
10   goods or services without cost[] … to a consumer that, if accepted, causes the consumer to incur a
11   financial obligation for[, among other things] … [e]nrollment in a membership, subscription or
12   service contract as a result of accepting the offer.” ORS 646.644(1)(e)(A)(iii). Defendants’ offers
13   for free trials to the Amazon Subscriptions, which are automatically converted to paid subscriptions
14   upon expiration of the trial period without further authorization sought from or obtained by
15   consumers, constitute “free offers” plans under this definition.
16            58.     The FOL prohibits a person from “mak[ing] a free offer to a consumer, or
17   impos[ing] a financial obligation on the consumer as a result of the consumer’s acceptance of a free
18   offer, unless the person provides the consumer with clear and conspicuous information regarding
19   the terms of the free offer before the consumer agrees to accept the free offer, including[, in
20   relevant part,] at a minimum:”
21                    (a) Identification of all … enrollments in a membership, subscription
22                    or service contract, that the consumer will receive or incur a financial
                      obligation for as a result of accepting the free offer;
23

24

25   76
       In fact, the Oregon ARL and the FOL were considered during the same legislative session and as part of the same
     legislative agenda. See Oregon Legislative News Release, Bill will prohibit misleading and costly automatic contract
26   renewals: Senate takes final vote on SB 487, consumer protection victory for Oregonians (Jun. 10, 2011), available at
     https://www.oregonlegislature.gov/senatedemocrats/Documents/sdo_061011.pdf.
27   77
       See id. (“The Senate []concurred in final amendments for SB 292 this morning, legislation that prevents sellers from
     imposing cumbersome financial obligations on consumers who sign up for ‘free trial offers.’”)
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 1                  (b) The cost to the consumer of any financial obligation the
                    consumer will incur if the consumer accepts the free offer, including
 2                  any fees or charges;
 3
                    (c) Any requirement[] … that the consumer take affirmative action
 4                  to reject the free offer and instructions about how the consumer is to
                    indicate the consumer’s rejection of the free offer;
 5
                    (d) A statement[] … that by accepting the free offer, the consumer
 6
                    will become obligated for … enrollment in a membership,
 7                  subscription or service contract, unless the consumer takes
                    affirmative action to cancel the free offer or otherwise reject … the
 8                  enrollment in a membership, subscription or service contract;

 9                  (e) … [T]he consumer’s right to cancel the free offer using
                    procedures specifically identified for that purpose that, at a
10
                    minimum, enable the consumer to cancel by calling a toll-free
11                  telephone number or to cancel in a manner substantially similar to
                    that by which the consumer accepted the free offer;
12
                    (f) The time period during which the consumer must cancel in order
13                  to avoid incurring a financial obligation as a result of accepting the
                    free offer; [and]
14

15                  (f) If applicable, the consumer’s right to receive a credit on goods or
                    services received as a result of accepting the free offer when the
16                  goods or services are returned or rejected, and the time period during
                    which the goods or services must be returned or rejected for the
17                  purpose of receiving a credit[.]
18   ORS 646.644(2)(a)-(g) (emphasis added).
19          59.     Pursuant to ORS 646.644(1)(c), “Clear and conspicuous information” means
20   “language that is readily understandable and presented in such size, color, contrast and location, or
21   audibility and cadence, compared to other language as to be readily noticed and understood, and
22   that is in close proximity to the request for consent to a free offer.”
23          60.     Additionally, subsection (4) of the FOL further provides:
24                  A person may not impose a financial obligation on a consumer as a
                    result of the consumer’s acceptance of a free offer unless the
25                  consumer’s affirmative consent to the terms of the free offer as set
                    forth in subsection (2) of this section is obtained.
26
     ORS 646.644(4) (emphasis added).
27
            61.     Under ORS 646.644(1)(a), the FOL defines the term “Affirmative consent” as “a
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 1   consumer’s agreement to incur a financial obligation as a result of accepting a free offer, or to
 2   provide the consumer’s billing information, given or made in the manner specifically identified for
 3   the consumer to indicate the consumer’s agreement.” ORS 646.644(1)(a).
 4           62.     Subsection (5) of the FOL provides:
 5                   A person that makes a free offer to a consumer may not fail or refuse
                     to cancel the free offer if the consumer has used, or made reasonable
 6                   efforts to attempt to use, one of the procedures required by
                     subsection (2)(e) of this section.
 7
     ORS 646.644(5).
 8
             63.     Pursuant to subsection (6) of the FOL, “[a] person who violates a provision of this
 9
     section engages in an unlawful practice subject to enforcement and penalty under … 646.605
10
     (Definitions for ORS 336.184 and 646.605 to 646.652)[.]” ORS 646.644(6); see also ORS
11
     646.608(1)(sss) (“(1) A person engages in an unlawful practice if in the course of the person’s
12
     business, vocation or occupation the person does any of the following: … (sss) Violates a provision
13
     of ORS 646.644 (Free offer).”).
14
             64.     As alleged below, Defendants’ practices on the Amazon Platform systematically
15
     violate the FOL pursuant to ORS 646.644(2) and ORS 646.644(4). Defendants’ noncompliance
16
     with the FOL is a direct violation of UTPA. See ORS 646.608(1)(sss).
17
             D.      Defendants’ Business: The Amazon Subscription Enrollment Process
18
             65.     At all relevant times, Defendants offered, via the Amazon Platform, various
19
     Amazon Subscriptions for access to exclusive Amazon content, products, and/or services on a
20
     contract or fee basis. The Amazon Subscriptions are offered on a recurring basis for monthly
21
     and/or yearly renewal terms, and all plans automatically renew at the end of the defined renewal
22
     term unless the subscriber cancels. For example, when customers sign up for Amazon Prime on a
23
     free trial basis, at the end of the initial one-month trial period, their subscriptions are converted to
24
     paid subscriptions and charged the full amount, currently $14.99, for the next month, and every
25
     month thereafter if they do not cancel. Similarly, customers enrolled for the monthly Amazon
26
     Music Unlimited Subscription on a free trial basis are, after the initial trial period, automatically
27
     charged the full standard monthly rate of $9.99 for the subsequent month, and every month
28
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 1   thereafter if they do not cancel. Likewise, customers enrolled for the monthly Prime Video
 2   Subscription on a free trial basis are, after the initial one-month term, automatically charged the
 3   full standard monthly rate for the subsequent month, and every month thereafter if they do not
 4   cancel. After the initial trial period ends, customers similarly enrolled in a free trial subscription of
 5   Audible are also automatically charged the full standard monthly rate for the subsequent month,
 6   and every month thereafter if they do not cancel. 78 Defendants’ Amazon Subscriptions constitute
 7   automatic renewal and/or continuous service plans or arrangements for the purposes of
 8   California’s ARL, see Cal. Bus. & Prof. Code §§ 17601(a), and Oregon’s ARL, see ORS
 9   646A.293(1), (3).
10            66.     To sign up for one of Defendants’ Amazon Subscriptions, the consumer must first
11   select a program. From the Amazon Platform, prospective subscribers can review features of –
12   and find links to the individual enrollment webpages for – each of Defendants’ subscription
13   offerings, including the Amazon Subscriptions at issue.
14            67.     Consumers can sign up for one of Defendants’ Amazon Subscription plans through
15   the Amazon Website or, in some cases, the Amazon Apps. Defendants automatically enroll
16   customers who purchase a paid Amazon Subscription or free trial via the Amazon Platform in their
17   chosen Amazon Subscription program going forward, by default. In addition, customers may sign
18   up for some or all of the Amazon Subscriptions on a free-trial basis for a limited time.
19   Nevertheless, customers that enroll in a free trial, like those that sign up for a paid subscription,
20   must provide Defendants their payment information at the time of enrollment. Customers’ free
21   trial subscriptions automatically convert to paid monthly subscriptions at the end of the trial
22   period, at which point those users are also enrolled by Defendants in their chosen paid Amazon
23   Subscription program and their Payment Methods are automatically charged by Defendants on a
24   recurring monthly or yearly basis in the amount of the full, promotional, or discounted rate
25

26
     78
       The enrollment process for Defendants’ monthly and annual subscription offerings for Amazon Prime Video
27   Channels, Amazon Prime Book Box, Amazon Kids+, Kindle Unlimited, ComiXology Unlimited, Amazon
     Subscription Boxes, Blink Subscriptions, and Amazon Photos is substantially similar to the above examples.
28
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 1   associated with that program, continuing indefinitely until the customer takes affirmative steps to
 2   cancel.
 3             68.     The enrollment process for each Amazon Subscription at issue is substantially the
 4   same, regardless of the medium used. In general, after selecting one of the Amazon Subscriptions,
 5   those navigating the enrollment process on the Amazon Website are directed to a final webpage
 6   (the “Checkout Page”), where prospective subscribers are prompted to input their payment
 7   information and then invited to complete their purchase. 79 For the purposes of the California and
 8   Oregon ARL and this Complaint, the “relevant portion of the Checkout Page” refers to the text of
 9   that portion of the Checkout Page that appears “in visual proximity … to the request for consent to
10   the offer” (Cal. Bus. & Prof. Code § 17602(a)(1); ORS 646A.295(1)(a)), which in this case
11   pertains to the text nearby the final yellow button that customers must press in order to complete
12   the checkout process.
13             69.     By way of example, when a consumer signs up for a free trial of Amazon Prime via
14   his or her computer web browser, the “relevant portion of the Checkout Page” refers to the
15   disclosures in the block of text immediately below the “Start your 30 day free trial” button (for free
16   trials, as of at least approximately November 2021 80) or the “Activate Prime benefits” button (for
17   straight-to-paid Prime subscriptions, as of June 9, 2022), i.e., the “request for consent” (red boxes
18   added to images for emphasis): 81
19   79
       Defendants require basic users to register or create an account in order to utilize features on the Amazon Platform, so
     prospective subscribers to any of the Amazon Subscriptions must either create an Amazon account or “sign in” to a
20   preexisting Amazon account before they can reach the Checkout Page.

21   80
       Note that, following November 2021 (i.e., the approximate date of the exemplar free trial Amazon Prime Checkout
     Page shown below, which was captured as a screenshot from Defendants’ website), Defendants raised the full standard
22   monthly renewal price associated with Amazon Prime from $12.99 per month to $14.99 per month. The new price
     point went into effect for new subscribers on February 25, 2022, and after March 25, 2022 for then-current Prime
23   members. Otherwise, the Checkout Page for a free trial to Amazon Prime remains substantially and substantively
     unchanged as of the date of this filing.
24   81
        Defendants also occasionally offer trial subscriptions at a promotional price for a limited period of time. For
     instance, at least as of November 15, 2021, consumers who subscribed to Prime through Defendants’ website were
25   offered an “Amazon Prime One Week Trial for only $1.99” that, after one week, will automatically renew at the full
     standard rate of $12.99 per month. On this version of the Amazon Prime Checkout Page, the final yellow checkout
26   button reads “Try Prime[,]” with the following text appearing beneath that button:

27          By signing up, you agree to the Amazon Prime Terms and authorize us to charge default payment method or
            another payment method on file. After your One-Week $1.99 Trial of Amazon Prime, your Amazon
28          Prime membership continues for $12.99/month until cancelled. If you do not wish to continue for
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 1
 2                           Amazon Prime Checkout Page – Free Trial Subscription

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13
                         Amazon Prime Checkout Page – Straight-to-Paid Subscription
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             $12.99/month + any taxes, you may cancel any time by visiting Your Account. For customers in Hawaii,
26           Puerto Rico, and Alaska please visit the Amazon Prime Shipping Benefits page to check various shipping
             options.
27   (Bolding in original, underlining added to denote hyperlink). Of note, beginning in February 2022, Defendants raised
     the full standard renewal price associated with Amazon Prime to $14.99 per month or $139 per year.
28
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 1            70.     Similarly, the relevant portion of the Checkout Page for a free trial subscription to
 2   Amazon Music Unlimited refers to the block of text immediately below the “Sign-up and pay”
 3   button (red markings added for emphasis): 82
 4

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     82
        Although, as demonstrated in the varying screenshots above, Defendants have altered the text featured on the
25   Amazon Music Unlimited Checkout Page from time to time, in all cases the relevant portion of the Checkout Page
     refers to the block of text in immediate proximity to the yellow button that reads “Sign-up and pay.” The top version
26   listing a $7.99 monthly renewal rate was captured from the Amazon Website on or around November of 2021. The
     enlarged bottom version listing a $9.99 monthly renewal rate was captured from the Amazon Website on or around
27   June 14, 2022. In all cases, the relevant portion of the Amazon Music Unlimited Checkout Page fails to adequately
     disclose the automatic renewal terms.
28
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 1            71.     The layout and text of the Checkout Pages for each of the other paid Amazon
 2   Subscriptions (including, without limitation, Amazon Prime Video, Amazon Prime Video
 3   Channels, Amazon Prime Book Box, Amazon Kids+, Kindle Unlimited, Audible, ComiXology
 4   Unlimited, Amazon Subscription Boxes, Amazon Photos, and any other paid Amazon
 5   Subscription) is aesthetically and functionally similar to the Checkout Pages for Amazon Prime
 6   and Amazon Music Unlimited shown above. 83 In all cases, the relevant portion of the Checkout
 7   Page fails to adequately disclose the automatic renewal terms associated with Defendants’ Amazon
 8   Subscriptions in the manner required by law.
 9            72.     Regardless of how the consumer subscribes (whether via the Amazon Website, on
10   either the desktop or mobile format, or through the Amazon App(s)), and irrespective of which
11   particular Amazon Subscription or of which specific plan the subscriber selects (whether for a
12   monthly or annual renewal term, or for a free trial, straight-to-paid, or discounted-rate student or
13   family subscription), Defendants fail to disclose the full terms of their auto-renewal programs
14   either before or after checkout, and they never requires the individual consumer to read or
15   affirmatively agree to any terms of service, i.e., by requiring consumers to click a checkbox next to
16   the automatic renewal offer terms before consumers complete the checkout process and submit
17   their orders for their Amazon Subscriptions. Consequently, Defendants uniformly fail to obtain
18   any form of consent from – or even provide effective notice to – their subscribers before charging
19   consumers’ Payment Methods on a recurring basis.
20            E.      Defendants Violate California And Oregon Law
21            73.     At all relevant times, Defendants failed to comply with California’s and Oregon’s
22   ARL in three core ways: (i) Defendants failed to present the automatic renewal offer terms in a
23   clear and conspicuous manner and in visual proximity to the request for consent to the offer before
24   the subscription or purchasing agreement was fulfilled, in violation of California’s ARL under
25   83
       Although Defendants have, from time to time, altered the text featured on the Amazon Subscription Checkout Pages,
     in all cases the relevant portion of the Checkout Page refers to the block of text immediately below the final yellow
26   button that a subscriber must click in order to complete the checkout process, which, in the above examples, reads
     “Start your 30 day free trial,” “Try Prime,” and “Sign-up and pay.” As another example, the final yellow checkout
27   button featured on the version of the Audible Checkout Page that appeared on Defendants’ Website on or around
     October 29, 2021, reads “$0.00 Unlock Free.”
28
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 1   Section 17602(a)(1) and Oregon’s ARL under Section 646A.295(1)(a); (ii) Defendants charged
 2   Plaintiffs’ and Class members’ Payment Methods without first obtaining their affirmative consent
 3   to the agreement containing the automatic renewal offer terms, in violation of California’s ARL
 4   under Section 17602(a)(2) and Oregon’s ARL under Section 646A.295(1)(b); and (iii) Defendants
 5   failed to provide an acknowledgment that included the automatic renewal offer terms, cancellation
 6   policy, and information regarding how to cancel in a manner that is capable of being retained by
 7   the consumer, in violation of California’s ARL under Section 17602(a)(3) and Oregon’s ARL
 8   under Section 646A.295(1)(c). The acknowledgment also fails to disclose a toll-free telephone
 9   number or describe another cost-effective, timely and easy-to-use mechanism for cancellation, and
10   in fact Defendants make it exceedingly difficult and unnecessarily confusing for consumers to
11   cancel their Amazon Subscriptions, in violation of California’s ARL under Section 17602(b) and
12   Oregon’s ARL under Section 646A.295(2).
13                  i.     Defendants Fail To Clearly And Conspicuously Present
                           The Amazon Subscription Offer Terms Before The
14                         Subscription Agreement Is Fulfilled And In Visual
                           Proximity To The Request For Consent To The Offer.
15
            74.     First, the relevant portion of the Checkout Page for each of the Amazon
16
     Subscriptions does not present the complete automatic renewal “offer terms[,]” as defined by Cal.
17
     Bus. & Prof. Code § 17601(b) and ORS 646A.293(5), in violation of Section 17602(a)(1) of the
18
     California ARL and Section 646A.295(1)(a) of the Oregon ARL. Specifically, although the
19
     Checkout Pages for the Amazon Subscriptions explains that by signing up the consumer authorizes
20
     Defendants to charge his or her Payment Method after the free trial ends and that the subscription
21
     will continue until cancelled, a reasonable consumer would find that statement unclear in regards
22
     to whether formal cancellation is required in order to stop Defendants from automatically charging
23
     renewal fees to customers’ Payment Methods on a recurring basis. Moreover, this term appears
24
     beneath the yellow “final checkout” button (i.e., the request for consent featured on any Amazon
25
     Subscription Checkout Page), which is not the portion of the Checkout Page with which the ARL
26
     is concerned, as reasonable consumers do not typically read past the final checkout button. By
27
     contrast, the portion of each Checkout Page that is in “visual proximity” to the request for consent
28
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 1   is utterly silent as to the recurring nature of the Amazon Subscriptions and their associated
 2   automatic renewal fees. Moreover, the text featured beneath the final checkout button of each
 3   Checkout Page is in smaller type than – and is not presented in contrasting font or color to – the
 4   surrounding text, and it is not set off from the surrounding text of the same size by any symbols or
 5   other marks in a manner that clearly calls attention to the language. In other words, the disclosure
 6   was presented in such a way that it could be, and was, easily overlooked, and is therefore not
 7   “clear and conspicuous” as defined by Section 17601(c) of the California ARL and Section
 8   646A.293(2) of the Oregon ARL. As such, with respect to each of the Amazon Subscriptions,
 9   Defendants fail to adequately disclose “[t]hat the subscription or purchasing agreement will
10   continue until the consumer cancels” in the manner required by statute. See Cal. Bus. & Prof.
11   Code §§ 17601(b)(1), 17602(a)(1); ORS 646A.293(5)(1), 646A.295(1)(a).
12          75.     For the same reasons, with respect to members of the Oregon Class that initially
13   enrolled in a free trial to any of the Amazon Subscriptions (as opposed to a straight-to-paid
14   subscription), Defendants’ missing, incomplete, inconspicuous, or otherwise inadequate pre-
15   checkout disclosures as described in the preceding paragraph also constitute violation of the FOL
16   under ORS 646.644(2)(a) and (d) in that Defendants failed to provide Plaintiff Daly and other free
17   trial subscribers with “clear and conspicuous information regarding the terms of the free offer
18   before the consumer agrees to accept the free offer, including … (a) Identification of all …
19   enrollments in a membership[ or] subscription … that the consumer will receive or incur a
20   financial obligation for as a result of accepting the free offer; [and] (d) A statement[] … that by
21   accepting the free offer, the consumer will become obligated for … enrollment in a membership[
22   or] subscription …, unless the consumer takes affirmative action to cancel the free offer or
23   otherwise reject … the enrollment in a membership[or] subscription[.]” ORS 646.644(2)(a), (d).
24          76.     Similarly, the relevant portion of the Checkout Pages for the Amazon Subscriptions
25   violate the California and Oregon ARL because they do not adequately disclose the recurring
26   amount to be charged to the subscriber’s Payment Method each billing period. For instance, the
27   Amazon Prime Checkout Page shown above, see supra (screenshot of Prime free trial Checkout
28
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 1   Page, at top of page), provides that subscribers will be charged $12.99 or $14.99 per month
 2   (depending on when the subscriber enrolled) after the free trial period ends, that term appears
 3   beneath the yellow “final checkout” button (i.e., the request for consent featured on any Amazon
 4   Subscription Checkout Page). 84 Likewise, the Amazon Music Unlimited Checkout Page shown
 5   above, see supra (screenshots of Music Unlimited Checkout Page), provides that subscribers will
 6   be charged $7.99 or $9.99 per month (depending on when the subscriber enrolled) after the free
 7   trial period ends, which again appears beneath the yellow final checkout button. However, as
 8   explained above, the presentation of terms in this part of the Checkout Page beneath the checkout
 9   button is not the “visual proximity” that the ARL requires, see Cal. Bus. & Prof. Code §
10   17602(a)(1); ORS 646A.295(1)(a), and is therefore not the portion of the Checkout Page with
11   which the ARL is concerned. As above, the text appearing above the final checkout button on the
12   Amazon Prime Checkout Page is utterly silent as to the recurring amounts to be charged following
13   enrollment and/or the end of the trial period. Thus, with respect to Amazon Prime at least,
14   Defendants fail to provide notice of “[t]he recurring charges that will be charged to the consumer’s
15   [Payment Method] as part of the automatic renewal plan or arrangement, and that the amount of
16   the charge may change, if that is the case, and the amount to which the charge will change, if
17   known[,]” see Cal. Bus. & Prof. Code § 17601(b)(3); ORS 646A.293(5)(c), in violation of Section
18   17602(a)(1) of the California ARL and Section 646A.295(1)(a) of the Oregon ARL.
19            77.     For the same reason, with respect to members of the Oregon Class that initially
20   enrolled in a free trial to any of the Amazon Subscriptions (as opposed to a straight-to-paid
21   subscription), Defendants’ missing, incomplete, inconspicuous, or otherwise inadequate pre-
22   checkout disclosures as described in the preceding paragraph also constitute violation of the FOL
23   under ORS 646.644(2)(b) in that Defendants failed to provide Plaintiff and other free trial
24   84
       Moreover, at the time of Plaintiff Nacarino’s enrollment in a free trial to Amazon Prime in or around late 2019 or
     early 2020, the recurring monthly price listed on the Amazon Prime Checkout Page is $12.99. However, as discussed
25   below, the actual recurring monthly price charged to Ms. Nacarino’s and other California consumers’ Payment
     Methods in connection with Amazon Prime at that time was $14.09, which includes the full membership fee and
26   applicable fees and taxes. Thus, even had this required automatic renewal offer term been conspicuously disclosed in
     the Checkout Page (it was not), the disclosure as written provides false information, and Ms. Nacarino and California
27   consumers still would not have been placed on notice of the actual recurring price to be charged in connection with
     Amazon Prime.
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 1   subscribers with “clear and conspicuous information regarding … [t]he cost to the consumer of
 2   any financial obligation the consumer will incur if the consumer accepts the free offer, including
 3   any fees or charges[.]” ORS 646.644(2)(b).
 4            78.    For each of the Amazon Subscriptions, Defendants also fail to present a complete
 5   “description of the cancellation policy that applies to the offer[,]” see Cal. Bus. & Prof. Code §
 6   17601(b)(2); ORS 646A.293(5)(b), in violation of California’s and Oregon’s ARL. For instance,
 7   with respect to cancellation, the relevant portion of the Checkout Page for Amazon Music
 8   Unlimited states: “Cancel renewal any time in by visiting Your Amazon Music Settings.”
 9   Similarly, the relevant portion of the Amazon Prime Checkout Page states: “you may cancel any
10   time by visiting Your Account.” And the relevant portion of the Audible Checkout Page merely
11   directs subscribers to “Cancel anytime.” The Checkout Pages for the other Amazon Subscriptions
12   at issue provides substantially the same disclosure(s) regarding the basic ability to affect
13   cancellation. However, the Checkout Pages for the Amazon Subscriptions contain no explanation
14   of how to cancel. For instance, the Checkout Pages do not mention that, in order to cancel,
15   subscribers must find and click a “Manage Membership” button, and be “redirected to Prime
16   Central where you’ll want to select Update, cancel, and more and follow the on-screen
17   instructions,” as is set forth elsewhere in the Amazon Website. 85 The Checkout Pages also fail to
18   place subscribers on notice that, in order to receive a refund upon cancellation, only “Paid
19   members who haven’t used their benefits are eligible for a full refund of the current membership
20   period,” and they must cancel their Amazon Subscriptions “within 3 business days of signing up or
21   converting from a free trial to a paid membership” to obtain a refund, as is also set forth elsewhere
22   in the Amazon Website. 86 Moreover, Defendants do not specify anywhere on the Checkout Pages
23   that customers must “notify [Amazon] before a charge that [they] want to cancel or do not want to
24   auto renew” in order to avoid being automatically renewed and billed for the following renewal
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       https://www.amazon.com/s?k=how+to+cancel+prime&crid=33FPBJ6XUBLI4&sprefix=how+to
     +cancel+prime%2Caps%2C151&ref=nb_sb_noss_1.
27   86
       https://www.amazon.com/gp/help/customer/display.html?ref_=help_search_1-
     1&nodeId=G2B9L3YR7LR8J4XP&qid=1635538830941&sr=1-.
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 1   term, as do terms set forth on other pages of Defendants’ website. 87 Yet, prior to checkout,
 2   Defendants were obligated by law to place consumers on notice of these aspects of Defendants’
 3   cancellation policy in accordance with California’s and Oregon’s ARL, each of which requires that
 4   companies provide such information “in visual proximity … to the request for consent to the
 5   [automatic renewal] offer.” Cal. Bus. & Prof. Code § 17602(a)(1); ORS 646A.295(1)(a).
 6   However, Defendants failed, and continue to fail, to satisfy that requirement.
 7              79.   For the same reason, with respect to members of the Oregon Class that initially
 8   enrolled in a free trial to any of the Amazon Subscriptions (as opposed to a straight-to-paid
 9   subscription), Defendants’ missing, incomplete, inconspicuous, or otherwise inadequate pre-
10   checkout disclosures as described in the preceding paragraph also constitute violation of the FOL
11   under ORS 646.644(2)(e), (f), and (g) in that Defendants failed to provide Plaintiff and other free
12   trial subscribers with “clear and conspicuous information regarding … (e) … the consumer’s right
13   to cancel the free offer using procedures specifically identified for that purpose that, at a minimum,
14   enable the consumer to cancel by calling a toll-free telephone number or to cancel in a manner
15   substantially similar to that by which the consumer accepted the free offer; (f) [t]he time period
16   during which the consumer must cancel in order to avoid incurring a financial obligation as a result
17   of accepting the free offer; [and] (g) … the consumer’s right to receive a credit on goods or
18   services received as a result of accepting the free offer when the goods or services are returned or
19   rejected, and the time period during which the goods or services must be returned or rejected for
20   the purpose of receiving a credit[.]” ORS 646.644(2)(e)-(g).
21                    ii.    Defendants Fail To Obtain Consumers’ Affirmative
                             Consent To The Offer Terms Associated With The
22                           Amazon Subscriptions.
23              80.   Second, with respect to each of the Amazon Subscriptions, Defendants do not at

24   any point during the checkout process require consumers to read or affirmatively agree to any

25   terms of service associated with their Amazon Subscriptions, e.g., by requiring consumers to select

26   or click a “checkbox” next to the automatic renewal offer terms to complete the checkout process.

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     87
          Id.
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 1   Accordingly, when Defendants automatically renew customers’ Amazon Subscriptions,
 2   Defendants charge consumers’ Payment Methods without first obtaining their affirmative consent
 3   to the agreement containing the automatic renewal offer terms, in violation of California’s ARL
 4   under Cal. Bus. & Prof. Code § 17602(a)(2) and Oregon’s ARL under ORS 646A.295(1)(b).
 5          81.     For the same reason, with respect to members of the Oregon Class that initially
 6   enrolled in a free trial to any of the Amazon Subscriptions, Defendants’ missing, incomplete,
 7   inconspicuous, or otherwise inadequate pre-checkout disclosures as described in the preceding
 8   paragraph also constitute violation of the FOL under ORS 646.644(4) in that Defendants
 9   “impose[d] a financial obligation on [Plaintiff Daly and other free trial subscribers in Oregon] as a
10   result of the[ir] acceptance of a free offer [without first obtaining] the[ir] affirmative consent to the
11   terms of the free offer as set forth in [ORS 646.644(2)].” ORS 646.644(4).
12                  iii.    Defendants Fail To Provide A Post-Checkout
                            Acknowledgment That Clearly And Conspicuously Discloses
13                          The Required Amazon Subscription Offer Terms.
14          82.     Finally, after Plaintiffs and the members of the proposed Classes and Subclass

15   subscribed to one of Defendants’ Amazon Subscriptions, Defendants sent to Plaintiffs and the

16   Class email follow-ups regarding their purchases (the “Acknowledgment Emails”).

17          83.     By way of example, consumers who enroll in Amazon Prime receive an email from

18   Defendants upon completion of the checkout process. The subject line of the Acknowledgment

19   Email Defendants sent to Amazon Prime subscribers (the “Amazon Prime Acknowledgment

20   Email”) stated: “[Subscriber Name], Welcome to Amazon Prime! Enjoy the best of shopping and

21   entertainment.” The body of the Amazon Prime Acknowledgment Email contained the following

22   text and images (red boxes added to emphasize relevant terms):

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 1          84.    Similarly, the subject line of the Acknowledgment Email that Defendants send to
 2   consumers who enrolled in a straight-to-paid Amazon Music Unlimited Subscription (the
 3   “Amazon Music Unlimited Acknowledgment Email”) states: “Welcome to Amazon Music
 4   Unlimited[.]” The body of the Email contained the following text and images (red box added to
 5   emphasize relevant terms):
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16          85.       Likewise, when consumers sign up for a free trial subscription to Amazon Music
17   Unlimited (rather than a straight-to-paid subscription, as shown in the example above), Defendants
18   send subscribers a nearly identical Acknowledgment Email featuring substantially the same
19   disclosures, also buried in tiny grey font at the bottom of the email (red box added to screenshot
20   for emphasis):
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24          86.       The other Acknowledgment Emails that Defendants sent, and continues to send, to
25   consumers who enroll in the other Amazon Subscriptions at issue upon completion of the checkout
26   process are substantially similar to the Amazon Prime and Music Unlimited Acknowledgment
27   Emails shown above. As with the Checkout Pages, the Amazon Acknowledgment Emails –
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 1   including but not limited to the Acknowledgment Emails shown above for Amazon Prime and
 2   Music Unlimited – failed to provide Plaintiffs and members of the Class with the complete
 3   automatic renewal or continuous service terms that applied to the offer, a description of the full
 4   cancellation policy, or any specific information regarding how to cancel.
 5          87.     Specifically, as the above exemplars make clear, the Acknowledgment Emails for
 6   the Amazon Subscriptions, like the corresponding Checkout Pages, do not clearly and
 7   conspicuously disclose the continuous nature of the subscription or purchasing agreement, and
 8   they also fail to adequately or fully describe the complete cancellation policy associated with a
 9   consumer’s given Amazon Subscription, the recurring price to be charged to the consumers’
10   Payment Method as part of the automatic renewal or continuous service plan or arrangement, and
11   the length of the automatic renewal term or that the service is continuous. Any such disclosures of
12   required automatic renewal terms are either missing altogether or are deceptively incomplete,
13   objectively inaccurate, and/or are inconspicuously buried in the tiny, grey fine print at the bottom
14   of the Acknowledgment Emails (i.e., hidden in the fine print).
15          88.     For example, the only mention on the Acknowledgment Emails shown above of the
16   recurring price to be charged in connection with Amazon Prime and Music Unlimited occurs in
17   such a block of fine print. See Cal. Bus. & Prof. Code § 17601(b)(3) and ORS 646A.293(5)(c)
18   (defining “Offer terms” to include “clear and conspicuous disclosures” regarding “[t]he recurring
19   charges that will be charged to the consumer’s [Payment Method] as part of the automatic renewal
20   or continuous service plan or arrangement”). In other words, that disclosure and any others
21   required disclosures accompanying it within the same block of text were presented in such a way
22   that they could be, and were (e.g., by Plaintiffs, as alleged below), easily overlooked. Such
23   disclosures are therefore not “clear and conspicuous” as that term is defined by the Oregon ARL
24   under ORS 646A.293(2) and by the California ARL under Cal. Bus. & Prof. Code § 17601(c), in
25   violation of the California ARL under Cal. Bus. & Prof. Code § 17602(b)(3) and of the Oregon
26   ARL under ORS Section 646A.295(1)(c).
27          89.     Moreover, the recurring monthly price listed on the Amazon Prime
28
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 1   Acknowledgment Email that Plaintiff Nacarino received from Defendants following her
 2   enrollment in a free trial for Prime, see, e.g., supra (screenshot of Amazon Prime
 3   Acknowledgment Email), provides that subscribers will be charged $12.99, the then-current
 4   monthly renewal rate associated with Prime. However, as noted above and discussed further
 5   below, at the time Plaintiff Nacarino incurred charges in connection with to Prime, the actual
 6   recurring monthly price charged to Ms. Nacarino’s (and other California consumers’) Payment
 7   Method in connection with Amazon Prime was $14.09, which includes the full membership fee
 8   and applicable fees and taxes. Thus, even had this required automatic renewal offer term been
 9   conspicuously disclosed in the Acknowledgment Email (it was not), the disclosure as written
10   provides false information, and Ms. Nacarino and California consumers still would not have been
11   placed on notice of the actual recurring price to be charged in connection with Amazon Prime as a
12   result of Defendants’ false or misleading misrepresentations in the Acknowledgment Email
13   regarding price.
14          90.     Likewise, although the fine print of the Acknowledgment Emails may also contain
15   some relevant language like that of the corresponding Checkout Pages – indicating (without stating
16   outright) that the subscription or purchasing agreement will continue until the consumer cancels
17   and providing the length of the automatic renewal term or that the service is continuous – any such
18   disclosures are also hidden in the fine print at the bottom of the Acknowledgment Emails in tiny
19   gray font. See Cal. Bus. & Prof. Code §§ 17601(b)(1), (4) and ORS 646A.293(5)(a), (c) (defining
20   “Offer terms” to include “clear and conspicuous disclosures[] … [t]hat the subscription or
21   purchasing agreement will continue until the consumer cancels[ and regarding] … “[t]he length of
22   the automatic renewal term or that the service is continuous”). Thus, the Acknowledgment
23   Emails, like the Checkout Pages, do not provide this information in a clear and conspicuous
24   manner as the ARL requires.
25          91.     The same is true concerning the cancellation policies applicable to the Amazon
26   Subscriptions, disclosures about which are buried in the fine print of the Acknowledgment Emails
27   or altogether missing from them. Nor is any cancellation information that appears in the fine print
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 1   regarding cancellation comprehensive. For instance, the Acknowledgment Emails above do not
 2   specify that subscribers must not use any benefits prior to cancellation or that cancellation must be
 3   affected prior to the next charge to the consumer, as is set forth on other pages of the Amazon
 4   Platform that Plaintiffs and Class Members were neither required nor prompted to view. As such,
 5   the Acknowledgment Emails shown above fail to provide a description of Defendants’ complete
 6   cancellation policy, see Cal. Bus. & Prof. Code § 17601(b)(2) and ORS 646A.293(5)(b) (defining
 7   “Offer terms” to include “clear and conspicuous disclosures” regarding “the cancellation policy
 8   that applies to the offer”), which also violates the California ARL under Cal. Bus. & Prof. Code §
 9   17602(a)(3) and the Oregon ARL under ORS 646A.295(1)(c).
10          92.     Additionally, the Acknowledgment Emails fail to provide a toll-free telephone
11   number or describe another cost-effective, timely and easy-to-use mechanism for cancellation, and
12   in fact Defendants make it exceedingly difficult and unnecessarily confusing for consumers to
13   cancel their Amazon Subscriptions, which violates the California ARL under Cal. Bus. & Prof.
14   Code §§ 17602(a)(3) and 17602(b), as well as the Oregon ARL under ORS 646A.295(1)(c) and
15   646A.295(2).
16          93.     In sum, the Acknowledgment Emails do not adequately disclose the requisite terms
17   – the “Automatic renewal offer terms” as defined by Cal. Bus. & Prof. Code § 17601(b) of the
18   California ARL, or the “Offer terms” as defined by ORS 646A.293(5) of the Oregon ARL – in
19   violation of Section 17602(a)(3) of the California ARL and Section 646A.295(1)(c) of the Oregon
20   ARL. Further, the Acknowledgment Emails fail to provide a clear, conspicuous, and complete
21   description of the applicable cancellation mechanism and specifically how to cancel, in violation
22   of Section 17602(b) of the California ARL and Section 646A.295(2) of the Oregon ARL.
23          94.     At all relevant times, Defendants have been well aware that their Amazon
24   Subscriptions fail to comply with Oregon’s ARL. Indeed, by virtue of the large volume of online
25   consumer complaints discussed above regarding Defendants’ billing practices with respect to the
26   Amazon Subscriptions (see, e.g., supra), investigations by governmental entities and/or third-party
27   organizations – including, among others, the Norwegian Consumer Council (“NCC”), the Federal
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 1   Trade Commission (“FTC”), and internet privacy watchdog Electronic Privacy Information Center
 2   (“EPIC”) (see id.) – into substantially similar complaints concerning the Amazon Subscriptions,
 3   Defendants’ long and documented history of using dark patterns on the Amazon Platform to affect
 4   subscription enrollment, and Amazon’s own leaked internal documentation evidencing same,
 5   Defendants knew or should have known that their conduct constitutes violations of California and
 6   Oregon law.
 7          95.     By and through these actions, Defendants have charged Plaintiffs’ and Class
 8   members’ Payment Methods in direct violation of California’s and Oregon’s ARL. As a result, all
 9   goods, wares, merchandise, and/or products sent to Plaintiffs and the Classes upon the automatic
10   renewal of their subscription agreements and without Plaintiffs’ and Class and Subclass members’
11   affirmative consent to the offer terms are deemed to be “unconditional gifts” pursuant to Section
12   17603 of the California ARL and Section 646A.295(5) of the Oregon ARL. See under Cal. Bus. &
13   Prof. Code § 17603; ORS 646A.295(5).
14          96.     Plaintiffs bring this action individually and on behalf of similarly situated
15   individuals in the United States against Defendants for conversion, unjust enrichment, negligent
16   misrepresentation, and fraud. Specifically, Plaintiff Daly, individually and on behalf of similarly
17   situated individuals in Oregon, brings this action against Defendants for violations of Section
18   646.608(1) of Oregon’s Unlawful Trade Practices Act (“UTPA”). As set forth in detail below,
19   Plaintiff Daly’s UTPA claims – which are based on, inter alia, Defendants’ failure to adequately
20   provide the requisite disclosures and authorizations required to be made to Oregon consumers
21   under ORS 646A.295 and ORS 646.644 – arise under ORS 646.608(1)(ttt) and ORS
22   646.608(1)(sss). Additionally, Plaintiffs Nacarino, Sylvester, and Sonnenschein (the “California
23   Plaintiffs”) also bring claims, individually and on behalf of similarly situated individuals in
24   California, under California’s Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code §§
25   17200, et seq. (among other statutory and common law claims asserted below), which are based
26   on, inter alia, Defendants’ failure to comply with the California ARL and arise under the
27   “unlawful” prong of the UCL.
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 1                            PLAINTIFFS’ INDIVIDUAL ALLEGATIONS
 2          A.      The Oregon Plaintiff
 3                  i.      Plaintiff Mark Daly
 4          97.     Plaintiff Mark Daly is an individual consumer who signed up for an Amazon Prime
 5   subscription on a free trial basis from Defendants’ website while in Oregon in or around March
 6   2022. At the time Mr. Daly signed up for his free trial Amazon Subscription, he provided his
 7   Payment Method directly to Defendants.
 8          98.     Before Mr. Daly purchased his free trial Amazon Subscription, Defendants did not
 9   disclose to Mr. Daly all required automatic renewal offer terms associated with the subscription
10   program. Additionally, although the Checkout Page from which Mr. Daly made his purchase
11   included some relevant information regarding automatic renewal, the manner in which this
12   information was presented was insufficient to put Mr. Daly on notice of the material “offer terms”
13   associated with his Amazon Subscription, which, pursuant to ORS 646A.295(1)(a), Defendants
14   were required to clearly and conspicuously disclose on the Checkout Page prior to Mr. Daly’s
15   completion of his initial order for the Amazon Prime subscription. Specifically, prior to
16   completing his initial Amazon Subscription order, the relevant screens and buttons presented to
17   Mr. Daly did not clearly and conspicuously state that his Amazon Subscription would
18   automatically convert to a paid subscription and renew every month resulting in continuous
19   automatic monthly charges to his Payment Method until he cancelled; they did not state the
20   recurring charges that would be charged to Mr. Daly’s Payment Method as part of the automatic
21   renewal plan; and they did not describe the full cancellation policy that applied to his purchase.
22          99.     Moreover, at no point prior to completing his initial purchase did Defendants obtain
23   Mr. Daly’s affirmative consent to an agreement containing the automatic renewal offer terms
24   associated with his Amazon Subscription.
25          100.    After Mr. Daly completed his initial order, Defendants sent Mr. Daly an
26   Acknowledgment Email stating that his free trial Amazon Subscription had been activated.
27   However, as discussed above, that Acknowledgment Email failed to provide Mr. Daly with the
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 1   complete automatic renewal terms that applied to Defendants’ offer for Amazon Prime (including
 2   the mere fact that the Amazon Subscription would automatically convert from a free trial to a paid
 3   subscription and renew every month, resulting in continuous monthly charges to his Payment
 4   Method, unless and until Mr. Daly chose to cancel), a description of Defendants’ full cancellation
 5   policy, or information regarding how to cancel Mr. Daly’s Amazon Subscription in a manner
 6   capable of being retained by him. Mr. Daly did not receive any other acknowledgments that
 7   contain the required information.
 8          101.    As a result of Defendants’ missing and otherwise deficient disclosures, when Mr.
 9   Daly selected and enrolled in his Amazon Prime free trial subscription in or around March 2022, he
10   was unaware that Defendants had enrolled him in an “automatic renewal” program under which his
11   subscription would renew each month and result in continuous monthly automatic renewal charges
12   to his Payment Method unless and until Mr. Daly canceled the subscription. Thus, because Mr.
13   Daly was not expecting the free trial to Amazon Prime to automatically convert and renew, the
14   thought of cancelling his free trial prior to that point did not occur to Mr. Daly. That is, believing
15   the membership plan would automatically terminate following the initial trial period and there was
16   therefore no need for Mr. Daly to affect cancellation in order to avoid future charges, Mr. Daly did
17   not attempt to cancel his Amazon Subscription before incurring charges in connection with the
18   Amazon Subscription.
19          102.    Nevertheless, in or around April 2022, approximately one month after Mr. Daly first
20   signed up for his free trial to Amazon Prime, Defendants automatically converted Mr. Daly’s
21   Amazon Subscription to a paid Amazon Subscription and charged Mr. Daly’s Payment Method
22   approximately $14.99, the full monthly standard membership fee then associated with the paid
23   monthly Amazon Prime subscription, without his knowing or affirmative consent. Thereafter,
24   Defendants again automatically renewed Mr. Daly’s Amazon Subscription the subsequent month,
25   and, in or around May of 2022, charged him another $14.99 in unauthorized charges to his
26   Payment Method for the following billing period, for a total of two unauthorized charges
27   amounting to approximately $30.00 to Mr. Daly’s Payment Method without his knowing consent.
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 1   Prior to that point, Mr. Daly was not aware that he would be charged any money in connection with
 2   his free trial, and he certainly did not understand that his Amazon Prime free trial, in fact, was or
 3   would automatically become an “automatic renewal” for which he would incur recurring charges
 4   on an ongoing, monthly basis.
 5          103.    Additionally, because Mr. Daly had not been expecting to incur these charges in
 6   connection with Amazon Prime in or around April and May of 2022 (or ever), these charges came
 7   as a total surprise to Mr. Daly. As a result, Mr. Daly’s Payment Method did not contain sufficient
 8   funds to cover the monthly cost of Prime at the time Defendants posted the renewal fees to Mr.
 9   Daly’s bank account in May 2022, which, in turn, caused Mr. Daly to incur overdraft fees from his
10   bank. Mr. Daly was notified by the bank upon incurring the May overdraft fees, which prompted
11   Mr. Daly to review the recent transaction history associated with his Payment Method, and that, in
12   turn, caused Mr. Daly to learn of the subscription charges he incurred in April and May, indicating
13   to Mr. Daly that he had enrolled been in a Prime subscription in the first place.
14          104.    The monthly fees that Defendants charged to Mr. Daly’s Payment Method in
15   connection with his Amazon Prime subscription came as a surprise to Mr. Daly because, up until
16   May 2022, he had believed that the free trial membership in which he enrolled roughly two months
17   earlier would automatically terminate following the initial trial period. He was also unsure of how
18   long his free trial would last, or when, if ever, the first charge would occur following the
19   conclusion of his free trial. He generally believed that Amazon would inform him following the
20   expiration of the free trial period and, at that point, attempt to obtain his affirmative consent to
21   begin charging monthly fees to Mr. Daly’s Payment Method in connection with Amazon Prime if
22   he wished to continue with the paid subscription. As a result, Mr. Daly did not expect to incur any
23   charges in connection with the Amazon Subscription at the time Defendants posted fees to Mr.
24   Daly’s Payment Method in or around April and May of 2022.
25          105.    Mr. Daly was also unaware of the recurring price that would be charged in
26   connection with Amazon Prime until, upon review of the account banking history associated with
27   his Payment Method, he saw the monthly charges on his Payment Method, at which point the free
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 1   trial had already ended and the automatic charges had already begun.
 2          106.    Mr. Daly’s confusion and surprise with respect to the monthly renewal fees he
 3   incurred in May and April 2022 – and, in particular, about the applicable offer terms concerning
 4   automatic renewal, price, billing date, and cancellation – is the direct result of Defendants’ failure
 5   to place Mr. Daly on notice of several material offer terms associated with his Amazon
 6   Subscription. In particular, Mr. Daly was not made aware of the fact that Defendants had enrolled
 7   him in an “automatic renewal” program under which his Amazon Subscription would
 8   automatically renew each month after the initial trial period and result in continuous charges to his
 9   Payment Method, unless Mr. Daly chose to cancel before the trial period ended or any subsequent
10   billing period. Nor was Mr. Daly made aware of Defendants’ cancellation policy, the most crucial
11   aspects of which were missing from the Checkout Page and Acknowledgment Email, and
12   Defendants also failed to adequately disclose the length of the free trial period and the precise
13   recurring amount that would be charged to Mr. Daly’s debit card as part of his Amazon
14   Subscription. These omissions constitute violations of the ARL pursuant to ORS 646A.295(1)(a)
15   and (1)(b), see also ORS 646A.293(5)(a)-(d), as well as violations of the FOL pursuant to ORS
16   646.644(2) and (4).
17          107.    And, to the extent any of this information was presented on the Checkout Page or in
18   the Acknowledgment, such disclosures were either incomplete, ambiguous, inconspicuous buried
19   in the fine print on both the Checkout Page and the Acknowledgment Email as noted above (see
20   supra), or were otherwise incomplete, ambiguous, obscured, and/or lacking in the requisite visual
21   proximity. Therefore, any such term was presented in such a way that the term could be – and, by
22   Plaintiff, was – easily overlooked, and is therefore not “clear and conspicuous” as defined by the
23   ARL pursuant to ORS 646A.293(2), in violation of ORS 646A.295(1)(a)-(b), or as that term is
24   defined by the FOL pursuant to ORS 646.644(1)(c), in violation of ORS 646.644(2), (4).
25          108.    Because Defendants failed to disclose this material information in the manner
26   required by statute, Mr. Daly was unable at the point of sale to accept or provide affirmative
27   consent to Defendants’ offer or knowingly enter into to the purchase agreement. Thus, as a direct
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 1   result of Defendants’ missing, incomplete, and otherwise deficient disclosures on the Checkout
 2   Page and in the Acknowledgment Email, Mr. Daly was induced to sign up for, unable to terminate,
 3   and automatically charged for his Amazon Subscription.
 4            109.   In sum, because Mr. Daly did not expect that his free trial would automatically
 5   convert into a paid Amazon Subscription in the first place, Mr. Daly was unaware at the time he
 6   initially signed up for a free trial in March 2022 that he would incur any renewal charges
 7   whatsoever in connection with Amazon Prime, and he remained unaware of the automatic renewal
 8   feature associated with Defendants’ free trial offer until approximately May 2022, when, upon
 9   review of the transactional history associated with his Payment Method, Mr. Daly learned that his
10   free trial had in fact been automatically converted to a paid Amazon Subscription and that in April
11   and May 2022 he had been charged renewal fees by Defendants in connection with the same,
12   giving him reason to believe that those fees would continue thereafter on a monthly basis. Prior to
13   discovering these charges in or around May 2022, Mr. Daly did not expect that, once the free trial
14   ended, Defendants would automatically post subscription fees to his Payment Method on a monthly
15   basis without further confirmation on his part.
16            110.   Further, promptly upon learning of these unauthorized charges upon review of his
17   banking information in or around May 2022, Mr. Daly attempted to cancel his Amazon
18   Subscription in order to avoid incurring any future charges in connection with Amazon Prime.
19   However, once Mr. Daly learned that his Amazon Subscription did automatically renew and would
20   continue to do so without his intervention, Mr. Daly had no idea how to cancel his Amazon
21   Subscription and did not expect that it would be as difficult and confusing a process as it turned out
22   to be.
23            111.   Indeed, Mr. Daly struggled to cancel his Amazon Subscription due to Defendants’
24   obscure, confusing, and time-consuming cancellation policy, the terms related to which were
25   entirely missing from the Checkout Page and Acknowledgment Email. For instance, Mr. Daly
26   called the toll-free number associated with Defendants’ customer service line to notify Defendants
27   that he did not authorize – and to request a refund of – the monthly charges he incurred in April
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 1   and May of 2022. Thus, Mr. Daly “made reasonable efforts to attempt to use[] one of the
 2   procedures required by subsection (2)(e) of [the FOL,]” ORS 646.644(5) – namely, he attempted
 3   “to cancel by calling a toll-free telephone number[,]” ORS 646.644(2)(e). However, upon doing
 4   so, Defendants’ customer service representative told Mr. Daly that they were unable to cancel his
 5   Prime subscription for him, and they denied Mr. Daly’s refund request. Ultimately, Mr. Daly was
 6   only able to cancel his Prime subscription and avoid incurring further renewal charges by
 7   circumventing Amazon altogether and going through his financial institution to cancel the Payment
 8   Method associated with his Amazon Subscription. Defendants’ “fail[ure] or refus[al] to cancel the
 9   free offer” despite Mr. Daly’s “reasonable efforts to attempt to use[] one of the procedures required
10   by [ORS 646.644(2)(e)]” is a violation of the FOL under ORS 646.644(5).
11             112.   Notably, neither the Checkout Page nor the Acknowledgment Email contain
12   Defendants’ full cancellation policy, and nor do they provide any explanation whatsoever
13   regarding how to cancel the Amazon Subscription. As a result, based on the pre- and post-check
14   out disclosures featured on the Checkout Page and in the Acknowledgment Email, Mr. Daly did
15   not know anything about how to cancel his Amazon Subscription or of the associated refund policy
16   with respect to cancellations, as are set forth on other pages of Defendants’ website. For instance,
17   neither the Checkout Page nor the Acknowledgment Email indicates that only members that
18   “didn’t use any Prime benefits” following activation of their paid subscription or free trial to Prime
19   can be refunded for the “current membership period,” as is set forth elsewhere in the Amazon
20   Website. 88 Further, Defendants do not specify anywhere on the Checkout Page or in the
21   Acknowledgment Email that customers must “notify [Amazon] before a charge that [they] want to
22   cancel or do not want to auto renew” in order to avoid being automatically renewed and billed for
23   the following billing period, as do terms set forth on other pages of Defendants’ website. 89
24             113.   Mr. Daly was not previously aware of the above aspects of Defendants’ cancellation
25   policy. At no point during the life of his Amazon Subscription was Mr. Daly required or even
26   88
          https://www.amazon.com/gp/help/customer/display.html?nodeId=G34EUPKVMYFW8N2U.
27   89
       https://www.amazon.com/gp/help/customer/display.html?ref_=help_search_1-
     1&nodeId=G2B9L3YR7LR8J4XP&qid=1635538830941&sr=1- (emphasis added).
28
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 1   prompted to navigate to or otherwise examine any of the terms disclosed on any other page of the
 2   Amazon Platform, aside from the Checkout Page. Defendants neglected to disclose this
 3   information to Mr. Daly either at the point of purchase on the Checkout Page or later in the
 4   Acknowledgment Email that Defendants sent to Mr. Daly after he completed the checkout process.
 5   Accordingly, Defendants failed to place Mr. Daly on notice of their cancellation policy or provide
 6   Mr. Daly information regarding how to cancel in a manner that is capable of being retained by him,
 7   in violation of the ARL pursuant to ORS 646A.295(1)(a) and (1)(c) and in violation of the FOL
 8   pursuant to ORS 646.644(2)(e)-(g).
 9          114.    Moreover, even if the Acknowledgment Email had contained Defendants’ complete
10   cancellation policy (it did not), for the reasons stated above the “mechanism for cancellation” that
11   exists is not one Plaintiff Daly and other reasonable consumers would consider “timely” or “easy-
12   to-use.” Defendants therefore failed to provide Mr. Daly with an “timely and easy-to-use
13   mechanism for cancellation” or describe any such mechanism in an Acknowledgment Email, in
14   violation of the ARL pursuant to ORS 646A.295(2). With respect to members of the Class that
15   initially enrolled in a free trial to any of the Amazon Subscriptions (including Plaintiff Daly),
16   Defendants’ conduct as described in this paragraph and above also violates of the FOL pursuant to
17   ORS 646.644(2)(e)-(g) and ORS 646.644(5).
18          115.    Defendants’ pre- and post-purchase disclosures and lack of affirmative consent fail
19   to comply with the ARL, which deems products provided in violation of the statute to be “an
20   unconditional gift to the consumer who may use or dispose of them in any manner the consumer
21   sees fit without[.]” ORS 646A.295(5).
22          116.    Additionally, with respect to members of the Class that initially enrolled in a free
23   trial to any of the Amazon Subscriptions (including Plaintiff Daly), Defendants’ pre-purchase
24   disclosures and lack of affirmative consent fail to comply with the FOL, which provides that “[a]
25   person who violates a provision of this section engages in an unlawful practice subject to
26   enforcement and penalty under … 646.605 (Definitions for ORS 336.184 and 646.605 to
27   646.652)[.]” ORS 646.644(6).
28
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 1            117.     Each and every monthly charge posted to Mr. Daly’s Payment Method following his
 2   enrollment in the free trial Amazon Subscription in approximately March 2022 amounts to a
 3   distinct economic injury as a result of Defendants’ continued and further unlawful conduct.
 4   Therefore, each recurring charge Mr. Daly incurred in connection with his Amazon Subscription
 5   gives rise to an independently actionable claim under the UTPA based on Defendants’ repeated
 6   unlawful practice of charging consumers’ Payment Methods without first providing and obtaining
 7   the requisite disclosures and authorizations, in violation of the ARL and FOL.
 8            118.     As a direct result of Defendants’ unlawful conduct described above, Mr. Daly
 9   suffered ascertainable loss in the form of economic injury. That is because Defendants “failed to
10   disclose the legally required information and assessed a … fee in violation of the UTPA.”
11   Scharfstein v. BP W. Coast Prod., LLC, 292 Or. App. 69, 90 (2018). “In doing so, [Defendants]
12   illegally charged [Plaintiffs and their other Oregon] customers [recurring subscription fees],
13   thereby causing the ascertainable loss.” Id.; see also id. at 89 (“In an illegal charge case such as
14   this one, whether a customer relied on the nondisclosure of a fee does not matter; what matters is
15   whether the fee is disclosed in the particular way that the law requires. The UTPA prohibits
16   businesses from charging customers other types of fees when they are not disclosed in the
17   particular way that the law requires. … If any of those businesses were to violate any of the terms
18   under which they may assess those fees, the assessment would result in an illegal charge. The
19   customer’s actual awareness or knowledge of the illegality would be irrelevant.”). 90 Specifically,
20   90
        See also Miller v. WinCo Foods, LLC, 2020 WL 6693149, at *7 (D. Or. Sept. 3, 2020), report and recommendation
21   adopted, 2020 WL 6685697 (D. Or. Nov. 12, 2020) (“[Defendant] was required to accurately advertise the price it
     intended to charge Plaintiffs for the non-grocery goods. Plaintiffs effectively assert that once WinCo made the
22   decision to recoup the Surcharge from the customer, its failure to include the Surcharge in the advertised price of the
     items was a violation of the Act and, consequently, its collection of the Surcharge was improper, or ‘illegal.’ The court
23   finds, viewing the allegations of the Complaint in a light most favorable to Plaintiffs, Plaintiffs adequately allege an
     ascertainable loss under the ‘illegal charge’ theory.”); Stewart v. Albertson’s, Inc., 308 Or. App. 464, 492 n.17, review
24   denied, 368 Or. 138 (2021); Russell v. Ray Klein, Inc., 2019 WL 6137455, at *4 (D. Or. Nov. 19, 2019) (“Defendants
     final argument is that even if they are subject to and violated the UTPA, [plaintiff’s] claim still fails because he never
25   suffered an ascertainable loss of money or property because of the alleged violations. … Defendants[’] argu[ment] …
     misses the mark. Here, Mr. Russell’s loss is the improper collection of the $45 fee. [Thus, plaintiff] and putative class
26   members suffered an ascertainable loss of money in the form of the unlawful fees collected from them by defendants,
     which they otherwise would not have had to pay if defendants had not engaged in conduct violating the UTPA.”)
27   (internal citations and quotation marks omitted); Tri-W. Const. Co. v. Hernandez, 43 Or. App. 961, 972 (1979)
     (“[P]roof that a party justifiably relied on a representation is not necessary when the representation involves a matter
28   about which the party making it is legally required to inform the other.”); Sanders v. Francis, 277 Or. 593, 598-99
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 1   Mr. Daly lost a total of approximately $30.00 paid in subscription fees as a result of Defendants’
 2   unlawful charges to Mr. Daly’s Payment Method.
 3            119.      In the alternative, Defendants’ ARL and FOL violations caused Mr. Daly’s
 4   ascertainable loss in the form of financial injury because Mr. Daly reasonably relied on
 5   Defendants’ conspicuous disclosures of the Checkout Page and the Acknowledgment Email – and,
 6   as a natural corollary, on the omissions and/or the inconspicuousness of the disclosures contained
 7   therein – in deciding whether to purchase his free trial Amazon Subscription in the first place and,
 8   once he discovered that the subscription was, in fact, an automatic renewal that would continue to
 9   result in monthly fees to Mr. Daly’s Payment Method, whether to continue paying for it after that
10   (i.e., by not cancelling the auto-renewal prior to incurring renewal charges for the subsequent
11   billing period). Had Defendants complied with the ARL and/or FOL by adequately disclosing –
12   and obtaining Mr. Daly’s affirmative consent to – the requisite Amazon Subscription terms on the
13   Checkout Page at the point of Mr. Daly’s initial purchase, Mr. Daly would have been able to read
14   and review the auto renewal terms prior to purchase and he would have not subscribed to Amazon
15   Prime in the first place, or would have subscribed on materially different terms, thereby avoiding
16   financial injury of any kind as a result of Defendants’ ARL and/or FOL violations. Similarly, had
17   Defendants complied with the ARL by adequately disclosing the terms associated with Mr. Daly’s
18   Amazon Subscription in the post-checkout Acknowledgment Email (i.e., after initial enrollment in
19   Amazon Prime, but before any subsequent automatic renewal charge of Mr. Daly’s Payment
20   Method), Mr. Daly would have been able to read and review the auto renewal terms prior to
21   another automatic renewal for the subsequent billing period, and he would have cancelled his
22   Amazon Subscription prior to the expiration of the subscription period in which he learned such
23   information, thereby avoiding all or part of the aggregate automatic renewal charges Mr. Daly
24   (1977) (“Defendants’ chief argument[] … is that irrespective of any unlawful practice committed by defendants,
     plaintiff must have acted in reliance on that practice in order to have a civil action under ORS 646.638. … But an
25   examination of the possible forms of unlawful practices shows that this cannot invariably be the case. Especially when
     the representation takes the form of a ‘failure to disclose’ … , as in this case, it would be artificial to require a pleading
26   that plaintiff had ‘relied’ on that non-disclosure. …Whether ORS 646.638(1) requires reliance as an element of
     causation necessarily depends on the particular unlawful practice alleged. … We hold that the demurrer should have
27   been overruled. Reversed and remanded.”); see also Rollins v. Wink Labs, Inc., 2021 WL 1976082, at *5-6 (D. Or.
     Feb. 22, 2021).
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 1   incurred in connection with Amazon Prime from the time of enrollment in or around March 2022.
 2   But Defendants did not adequately disclose the required automatic renewal and free offer terms in
 3   either the Checkout Page or the Acknowledgment Email, thereby depriving Mr. Daly of the
 4   opportunity to make informed decisions as to the recurring transactions, in violation of both the
 5   ARL and FOL.
 6          120.    Additionally, Defendants’ unlawful conduct caused additional economic injury
 7   because Mr. Daly had insufficient funds in his bank account to cover the cost of the unexpected
 8   monthly fee at the time Defendants withdrew the subscription fees from Mr. Daly’s Payment
 9   Method in May 2022. Thus, had Defendants adequately disclosed the fact of automatic renewal,
10   recurring price to be charged, and the precise date on which Defendants would withdraw
11   subscription fees from Mr. Daly’s Payment Method prior to that date in May 2022, Mr. Daly would
12   have, at the very least, added funds to his bank account sufficient to cover the cost of the monthly
13   fees due for May 2022 in advance of the billing date, and – even if Mr. Daly were unable to
14   successfully affect cancellation in advance of the May 2022 charges – he would have thereby
15   avoided the overdraft fees Mr. Daly incurred with his bank as a result of Defendants’ posting of
16   those fees. But, again, Defendants did not provide the requisite disclosures, so Mr. Daly had no
17   ability of foresight to avoid incurring these incidental overdraft fees.
18          121.    The facts giving rise to Mr. Daly’s claims are materially the same as the Class he
19   seeks to represent.
20          B.      The California Plaintiffs
21                  i.      Plaintiff Elena Nacarino
22          122.    Plaintiff Elena Nacarino is an individual consumer who signed up for an Amazon
23   Prime subscription on a free trial basis from Defendants’ website while in California at some point
24   during approximately late 2019 or early 2020. At the time Ms. Nacarino signed up for her
25   Amazon Subscription, she provided her Payment Method directly to Defendants.
26          123.    Before Ms. Nacarino purchased her Amazon Subscription, Defendants did not
27   disclose to Ms. Nacarino all required automatic renewal offer terms associated with the
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 1   subscription program. Additionally, although the Checkout Page from which Ms. Nacarino made
 2   her purchase included some relevant information regarding automatic renewal, the manner in
 3   which this information was presented was insufficient to put Ms. Nacarino on notice. Specifically,
 4   prior to completing her initial Amazon Subscription order, the relevant screens and buttons
 5   presented to Ms. Nacarino did not clearly and conspicuously state that her Amazon Subscription
 6   would automatically renew every month until she cancelled; they did not state the recurring
 7   charges that would be charged to Ms. Nacarino’s Payment Method as part of the automatic
 8   renewal plan, explain that the amount of the charge would change, or disclose the amount to which
 9   the charge would change; and they did not describe the full cancellation policy that applied to her
10   purchase.
11          124.    At no point prior to completing her initial purchase did Defendants obtain Ms.
12   Nacarino’s affirmative consent to an agreement containing the automatic renewal offer terms.
13          125.    After Ms. Nacarino completed her initial order, Defendants sent Ms. Nacarino an
14   Acknowledgment Email stating that her Amazon Subscription had been activated. However, as
15   discussed above, that Acknowledgment Email failed to provide Ms. Nacarino with the complete
16   automatic renewal terms that applied to Defendants’ offer, a description of Defendants’ full
17   cancellation policy, or information regarding how to cancel Ms. Nacarino’s Amazon Subscription
18   in a manner capable of being retained by her. Ms. Nacarino did not receive any other
19   acknowledgments that contain the required information.
20          126.    As a result of Defendants’ missing and otherwise deficient disclosures, when Ms.
21   Nacarino selected and enrolled in her Amazon Prime free trial subscription, she was unaware that
22   Defendants had enrolled her in an “automatic renewal” program under which her subscription
23   would renew each month and result in continuous monthly automatic renewal charges to her
24   Payment Method unless and until Ms. Nacarino canceled the subscription.
25          127.    Nevertheless, shortly after Ms. Nacarino first signed up for her free trial to Amazon
26   Prime, Defendants automatically renewed Ms. Nacarino’s Amazon Prime Subscription and
27   charged Ms. Nacarino’s Payment Method approximately $14.09, the full monthly standard
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 1   membership fee then associated with the paid monthly Amazon Prime Subscription (including
 2   applicable taxes and fees 91), without her knowing or affirmative consent.
 3            128.     The monthly fee(s) that Defendants charged to Ms. Nacarino’s Payment Method in
 4   connection with her Amazon Prime subscription came as a surprise to Ms. Nacarino because, up
 5   until that point, she was unsure of how long her free trial would last or when, if ever, the first
 6   charge would occur following the conclusion of her free trial. She believed that Amazon would
 7   inform her following the expiration of the free trial period and, at that point, obtain her consent to
 8   continued monthly charges in connection with Amazon Prime if she wished to continue with the
 9   paid subscription. As a result, because Ms. Nacarino was under the impression that she had more
10   time to test out the service and decide whether it was worth paying for on an ongoing basis, she
11   had not expected to incur any renewal fee at the time Defendants posted it to Ms. Nacarino’s
12   Payment Method.
13            129.     Ms. Nacarino was unaware of the recurring price that would be charged in
14   connection with Amazon Prime until, upon review of the account banking history associated with
15   her Payment Method, she saw the monthly charges on her Payment Method, at which point the
16   free trial had already ended and the automatic charges had already begun.
17            130.     Ms. Nacarino’s confusion and surprise about price and billing date is the direct
18   result of Defendants’ failure to place Ms. Nacarino on notice of the length of the free trial period
19   and of the recurring amount that would be charged to Ms. Nacarino’s Payment Method as part of
20   her Amazon Subscription. Specifically, this information was buried in the fine print on both the
21   Checkout Page and the Acknowledgment Email as noted above, and was therefore presented in
22   such a way that the term could be – and, by Plaintiff Nacarino, was – easily overlooked, and is
23   therefore not “clear and conspicuous” as defined by Section 17601(c) of the ARL.
24            131.     Moreover, even though, as Ms. Nacarino ultimately discovered, Defendants
25   withdrew $14.09 from Ms. Nacarino’s Payment Method on a monthly basis in connection with her
26   91
       Excluding taxes and fees, at the time she enrolled in and incurred fee(s) in connection with Amazon Prime, the
     monthly price of Plaintiff Nacarino’s Prime subscription was $12.99, as is listed in the fine print at the bottom of the
27   exemplar Amazon Prime Checkout Page and Acknowledgment Email shown above, see supra ¶¶ 67, 81. Amazon has
     since raised the monthly subscription cost to $14.99 per month.
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 1   Amazon Prime subscription, the Checkout Page that Ms. Nacarino and all Prime subscribers
 2   viewed during the enrollment process, as well as the Acknowledgment Email that Ms. Nacarino
 3   and all Prime subscribers received following enrollment, both indicate – in the easily-overlooked
 4   fine print – that the recurring price to be charged in connection with a monthly Amazon Prime
 5   Subscription would be $12.99. Thus, even had the Acknowledgment Email presented this amount,
 6   the supposed recurring price to be charged in connection with the Prime automatic renewal
 7   program, “clearly and conspicuously” as the ARL requires, see Cal. Bus. & Prof. Code §
 8   17602(a)(1); Cal. Bus. & Prof. Code § 17601(b)(3); Cal. Bus. & Prof. Code § 17601(c).
 9          132.    Because Defendants failed to disclose this material information in the manner
10   required by statute, Ms. Nacarino was unable at the point of sale to accept Defendants’ offer or
11   knowingly enter into to the purchase agreement.
12          133.    At the time of and following enrollment in her free trial to Amazon Prime in or
13   around late 2019 or early 2020, Ms. Nacarino did not expect that, once the free trial ended,
14   Defendants would automatically post subscription fees to her Payment Method on a monthly basis
15   without further confirmation on her part. Even so, fearful of hidden fees and surprise charges, Ms.
16   Nacarino decided to cancel her Amazon Prime subscription prior to the end of the free trial period
17   associated with her Amazon Subscription – or, rather, prior to what Ms. Nacarino believed to be
18   the end of the free trial period – in order to avoid incurring any potential future charges that may
19   be associated with Amazon Prime. But once she set out to affect cancellation, Ms. Nacarino was
20   not sure where to start. Due to this lack of clarity, the process was not timely. Thus, Ms. Nacarino
21   struggled to affect cancellation due to Defendants’ obscured, confusing, and time-consuming
22   cancellation policy.
23          134.    Ultimately, Ms. Nacarino attempted to cancel her Amazon Subscription through
24   options she found on the Account Management webpage of the Amazon Website. Once Ms.
25   Nacarino completed this process, she believed that this attempt at cancellation was effective, and
26   that she would not incur any future charges in connection with Amazon Prime. However,
27   approximately one or two months later, Ms. Nacarino learned upon review of her billing
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 1   statements and banking history that, notwithstanding her attempt to cancel her free trial to Amazon
 2   Prime, Defendants automatically renewed Ms. Nacarino’s Amazon Subscription upon the end
 3   expiration of the free trial period and, without Ms. Nacarino’s affirmative consent, charged Ms.
 4   Nacarino’s Payment Method in the full standard monthly rate associated with her Amazon
 5   Subscription. Thus, Ms. Nacarino’s attempt at cancellation one month earlier was utterly
 6   ineffective.
 7             135.   Immediately after learning of Defendants’ renewal charge(s) to her Payment
 8   Method, Ms. Nacarino again attempted to cancel her Amazon Subscription. Since Ms. Nacarino’s
 9   first attempt to cancel using Defendants’ exclusively online cancellation mechanism on the
10   Amazon Website was not effective, for her second attempt Ms. Nacarino attempted to cancel by
11   phone. Accordingly, Ms. Nacarino called to notify Defendants that she did not authorize – and to
12   request a refund of – the unauthorized subscription charge(s) that Defendants had charged Ms.
13   Nacarino’s Payment Method. She also asked Defendants to remove Ms. Nacarino’s billing
14   information, which Defendants had stored and maintained in their records, and expressly stated
15   that Defendants did not have authorization to post any further charges. However, Defendants
16   denied Ms. Nacarino’s refund request because, according to Defendants, Ms. Nacarino had failed
17   to cancel her Amazon Prime Subscription and request a refund in the required time frame, and
18   Defendants also refused to cancel her Amazon Subscription before the end of the given renewal
19   term.
20             136.   As a result, Ms. Nacarino learned of other aspects of Defendants’ cancellation
21   policy that Defendants had failed to present to Ms. Nacarino on the Checkout Page at the point of
22   sale or in the subsequent Acknowledgment Email. For instance, neither the Checkout Page nor the
23   Acknowledgment Email indicates that only members that “didn’t use any Prime benefits” can be
24   refunded for the “current membership period,” as is set forth elsewhere in the Amazon Website. 92
25   Further, Defendants do not specify anywhere on the Checkout Page or in the Acknowledgment
26   Email that customers must “notify [Amazon] before a charge that [they] want to cancel or do not
27
     92
          https://www.amazon.com/gp/help/customer/display.html?nodeId=G34EUPKVMYFW8N2U.
28
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 1   want to auto renew” in order to avoid being automatically renewed and billed for the following
 2   billing period, as do terms set forth on other pages of Defendants’ website. 93
 3            137.   Ultimately, Ms. Nacarino was only able to affect cancellation and thereby end the
 4   recurring charges with the help of her bank rather than through Amazon, by cancelling the debit
 5   and/or credit card associated with her Amazon Subscription.
 6            138.   Ms. Nacarino was not previously aware of the above aspects of Defendants’
 7   cancellation policy. At no point during her Amazon Subscription was Ms. Nacarino required or
 8   even prompted to navigate to or otherwise examine any of the terms disclosed on any other page of
 9   the Amazon Website, aside from the Checkout Page. Defendants neglected to disclose this
10   information to Ms. Nacarino either at the point of purchase on the Checkout Page or later in the
11   Acknowledgment Email that Defendants sent to Ms. Nacarino after she completed the checkout
12   process. Accordingly, Defendants failed to place Ms. Nacarino on notice of their cancellation
13   policy or provide Ms. Nacarino information regarding how to cancel in a manner that is capable of
14   being retained by her, in violation of Cal. Bus. & Prof. Code §§ 17602(a)(1)-(3).
15            139.   Moreover, even if the Acknowledgment Email had contained Defendants’ complete
16   cancellation policy (it did not), for the reasons stated above the “mechanism for cancellation” that
17   exists is not one Ms. Nacarino and other reasonable consumers would consider “easy-to-use.”
18   Defendants therefore failed to provide Ms. Nacarino with an “easy-to-use mechanism for
19   cancellation” or describe any such mechanism in an Acknowledgment Email, in violation of Cal.
20   Bus. & Prof. Code §§ 17602(a)(3) and 17602(b).
21            140.   Defendants’ pre- and post-purchase disclosures fail to comply with the ARL, which
22   deems products provided in violation of the statute to be an unconditional gift to consumers. See
23   Cal. Bus. & Prof. Code § 17603.
24            141.   Each and every monthly charge posted to Ms. Nacarino’s Payment Method in
25   connection with her Amazon Subscription amounts to a distinct economic injury as a result of
26   Defendants’ continued and further unlawful conduct. Therefore, each recurring charge Ms.
27   93
       https://www.amazon.com/gp/help/customer/display.html?ref_=help_search_1-
     1&nodeId=G2B9L3YR7LR8J4XP&qid=1635538830941&sr=1-.
28
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 1   Nacarino incurred in connection with her Amazon Subscription gives rise to an independently
 2   actionable claim under California’s UCL based on Defendants’ repeated unlawful practice of
 3   charging consumers’ Payment Methods without first providing and obtaining the requisite
 4   disclosures and authorizations, in violation of the California ARL.
 5           142.    As a direct result of Defendants’ unlawful conduct described above, Ms. Nacarino
 6   suffered economic injuries. Specifically, Defendants’ ARL violations caused Ms. Nacarino’s
 7   continuous and repeated financial injuries because Ms. Nacarino reasonably relied on Defendants’
 8   conspicuous disclosures of the Checkout Page and the Acknowledgment Email (and, as a natural
 9   corollary, the omissions and/or the inconspicuousness of the disclosures contained therein) in
10   deciding whether to purchase her Amazon Subscription in the first place and whether to continue
11   paying for it after that (i.e., by not cancelling the auto-renewal).
12           143.    Had Defendants complied with the ARL by adequately disclosing – and obtaining
13   Ms. Nacarino’s affirmative consent to – the requisite Amazon Subscription terms on the Checkout
14   Page at the point of Ms. Nacarino’s initial purchase, Ms. Nacarino would have been able to read
15   and review the auto renewal terms prior to purchase and she would have not subscribed to Amazon
16   Prime in the first place, or would have subscribed on materially different terms, thereby avoiding
17   financial injury of any kind as a result of Defendants’ ARL violations. Similarly, had Defendants
18   complied with the ARL by adequately disclosing the terms associated with her Amazon
19   Subscription in the post-checkout Acknowledgment Email (i.e., after initial enrollment in Amazon
20   Prime, but before any subsequent automatic renewal charge of Ms. Nacarino’s Payment Method),
21   Ms. Nacarino would have been able to read and review the auto renewal terms prior to another
22   automatic renewal, and she would have cancelled her Amazon Subscription prior to the expiration
23   of the subscription period in which she learned such information, thereby avoiding all or part of
24   the aggregate automatic renewal charges Ms. Nacarino incurred in connection with Amazon Prime
25   from the time of enrollment in late 2019 or early 2020, to the present. But Defendants did not
26   adequately disclose the required automatic renewal terms in either the Checkout Page or the
27   Acknowledgment Email, depriving Ms. Nacarino of the opportunity to make informed decisions as
28
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 1   to the recurring transactions.
 2          144.    The facts giving rise to Ms. Nacarino’s claims are materially the same as the Class
 3   she seeks to represent.
 4                  ii.        Plaintiff Susan Sylvester
 5          145.    Plaintiff Susan Sylvester is an individual consumer who, by purchasing a Kindle
 6   Device, enrolled in a Kindle Unlimited subscription on a free trial basis from Defendants’ website
 7   while in California in or around 2019. The free trial began in or around August of 2019, and it
 8   lasted three months. At the time Ms. Sylvester purchased her Kindle device and signed up for her
 9   Kindle Unlimited free trial subscription, she provided her Payment Method directly to Defendants.
10          146.    Before Ms. Sylvester purchased her Kindle Device, thereby purchasing her Amazon
11   Subscription, Defendants did not disclose to Ms. Sylvester all required automatic renewal offer
12   terms associated with the subscription program. Additionally, although the Checkout Page from
13   which Ms. Sylvester made her purchase included some relevant information regarding automatic
14   renewal, the manner in which this information was presented was insufficient to put Ms. Sylvester
15   on notice. Specifically, prior to completing her initial Kindle Device order, the relevant screens
16   and buttons presented to Ms. Sylvester did not clearly and conspicuously state that her free trial
17   Amazon Subscription would automatically renew every month until she cancelled; they did not
18   state the recurring charges that would be charged to Ms. Sylvester’s Payment Method as part of the
19   automatic renewal plan, explain that the amount of the charge would change, or disclose the
20   amount to which the charge would change; and they did not describe the full cancellation policy
21   that applied to her purchase.
22          147.    At no point prior to completing her initial purchase did Defendants obtain Ms.
23   Sylvester’s affirmative consent to an agreement containing the automatic renewal offer terms.
24          148.    After Ms. Sylvester completed her initial order, Defendants sent Ms. Sylvester an
25   Acknowledgment Email stating that her Kindle Device purchase had been successful. However, as
26   discussed above, that Acknowledgment Email failed to provide Ms. Sylvester with the complete
27   automatic renewal terms of Kindle Unlimited that applied to Defendants’ offer, a description of
28
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 1   Defendants’ full cancellation policy, or information regarding how to cancel Ms. Sylvester’s
 2   Amazon Subscription in a manner capable of being retained by her. Ms. Sylvester did not receive
 3   any other acknowledgments that contain the required information.
 4          149.    As a result of Defendants’ missing and otherwise deficient disclosures, when Ms.
 5   Sylvester purchased her Kindle Device and unwittingly enrolled in her Kindle Unlimited free trial
 6   subscription, she was unaware that Defendants had enrolled her in an “automatic renewal”
 7   program under which the subscription would renew and her Payment Method would be
 8   automatically charged each month at varying rates unless and until Ms. Sylvester took action to
 9   affirmatively cancel her subscription prior to the end of the free trial period.
10          150.    Nevertheless, in December of 2019, Defendants automatically renewed Ms.
11   Sylvester’s Kindle Unlimited Subscription, converting her free trial to a paid monthly subscription,
12   and charged Ms. Sylvester’s Payment Method in the amount of $9.99, the full standard monthly
13   rate then associated with the paid Kindle Unlimited subscription. Thereafter, Defendants
14   continued to automatically renew Ms. Sylvester’s Kindle Unlimited Subscription at the full
15   standard rate on a monthly basis and charged her Payment Method an additional twenty-four times,
16   for a total of twenty-five (25) unauthorized charges to Ms. Sylvester’s Payment Method between
17   December 2019 and the present, without Ms. Sylvester’s knowing or affirmative consent. As
18   discussed below, Defendants have refunded twelve (12) of the total twenty-five (25) monthly
19   charges. Even after deducting refunded amounts, and as shown by the table below, Ms. Sylvester
20   has sustained financial injury in the sum total of at least $129.82 in unauthorized subscription fees
21   posted to Ms. Sylvester’s Payment Method during the Class Period without her knowing or
22   affirmative consent:
23                     Billing Date                                           Amount
24                      12/27/2019                                              $9.99
                        01/27/2020                                              $9.99
25
                        02/27/2020                                              $9.99
26                      03/27/2020                                              $9.99
27                      04/27/2020                                              $9.99
                        05/27/2020                                              $9.99
28
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 1                     06/27/2020                                         $9.99
 2                     07/27/2020                                         $9.99
                       08/27/2020                                         $9.99
 3
                       09/27/2020                                         $9.99
 4                     10/27/2020                                         $9.99
 5                     11/27/2020                                         $9.99
 6                     12/27/2020                                         $9.99
                       01/27/2021                                         $9.99
 7
                       02/27/2021                                         $9.99
 8                     03/27/2021                                         $9.99
 9                     04/27/2021                                         $9.99
                       05/27/2021                                         $9.99
10
                       06/27/2021                                         $9.99
11                     07/27/2021                                         $9.99
12                     08/27/2021                                         $9.99
                       09/27/2021                                         $9.99
13
                       10/27/2021                                         $9.99
14
                       11/27/2021                                         $9.99
15                     12/27/2021                                         $9.99
16                     01/10/2022                                    -$9.99 (refund)
                       01/10/2022                                    -$9.99 (refund)
17
                       01/10/2022                                    -$9.99 (refund)
18                     01/10/2022                                    -$9.99 (refund)
19                     01/10/2022                                    -$9.99 (refund)
                       01/10/2022                                    -$9.99 (refund)
20
                       01/18/2022                                    -$9.99 (refund)
21                     01/18/2022                                    -$9.99 (refund)
22                     01/18/2022                                    -$9.99 (refund)
                       01/18/2022                                    -$9.99 (refund)
23
                       01/18/2022                                    -$9.99 (refund)
24
                       01/18/2022                                    -$9.99 (refund)
25                                                                   Total: $129.87
26
            151.   During the course of her Amazon Subscription, Ms. Sylvester found Defendants’
27
     billing practices confusing and unpredictable. As shown by the table above, Defendants charged
28
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 1   twenty-five monthly fees to Ms. Sylvester’s Payment Method from December 2019 to December
 2   2021, for a total of $249.75, $129.87 of which Defendants refuse to return or refund.
 3          152.    The monthly renewal fees that Defendants charged to Ms. Sylvester’s Payment
 4   Method came as a surprise to Ms. Sylvester because, up until that point, she was unsure how long
 5   her free trial would last. As a result, because Ms. Sylvester was under the impression that she had
 6   more time to test out the service and decide whether it was worth paying for on an ongoing basis,
 7   she had not expected to incur any renewal fee at the time Defendants posted the first monthly
 8   renewal charge to Ms. Sylvester’s Payment Method. Ms. Sylvester’s confusion and surprise about
 9   price and billing date is the direct result of Defendants’ failure to place Ms. Sylvester on notice of
10   the length of the free trial period and of the recurring amount that would be charged to Ms.
11   Sylvester’s Payment Method as part of her Amazon Subscription. Because Defendants failed to
12   disclose this material information in the manner required by statute, Ms. Sylvester was unable at
13   the point of sale to accept Defendants’ offer or knowingly enter into to the purchase agreement.
14          153.    Frustrated with Defendants’ hidden automatic renewal terms and fearful of hidden
15   fees and surprise charges, Ms. Sylvester decided to cancel her Kindle Unlimited subscription once
16   she realized the free trial period associated with her Amazon Subscription had expired, in order to
17   avoid incurring any potential future charges that may be associated with Kindle Unlimited. But
18   once she set out to affect cancellation, Ms. Sylvester was not sure where to start. Due to this lack
19   of clarity, the mechanism for cancellation was neither “timely” nor “easy to use.” In other words,
20   Ms. Sylvester struggled to affect cancellation, and incurred additional renewal fees, due to
21   Defendants’ obscured, confusing, and time-consuming cancellation policy.
22          154.    Specifically, promptly after incurring her first charge in connection with Kindle
23   Unlimited on December 27, 2019, Ms. Sylvester attempted to cancel her Amazon Subscription by
24   calling Amazon’s toll-free phone number in or around late December 2019. On that occasion, Ms.
25   Sylvester spoke with an Amazon customer service representative named “William,” who assured
26   Ms. Sylvester that, at Ms. Sylvester’s direction, he had cancelled her subscription. Following this
27   phone call, Ms. Sylvester believed that her December 2019 attempt at cancellation was effective,
28
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 1   and that she would not incur any future charges in connection with Kindle Unlimited.
 2          155.   However, approximately eight months later, in or around August 2020, Ms.
 3   Sylvester learned upon review of her billing statements and banking history that, notwithstanding
 4   her attempt to cancel her free trial to Kindle Unlimited in December 2019, Defendants had
 5   automatically renewed Ms. Sylvester’s Amazon Subscription upon the end expiration of the free
 6   trial period and, without Ms. Sylvester’s affirmative consent, charged Ms. Sylvester’s Payment
 7   Method in the amount of $9.99, the full standard monthly rate associated with her Amazon
 8   Subscription, on January 27, 2020, and every month thereafter leading up to August 2020. Thus,
 9   Ms. Sylvester’s December 2019 attempt at cancellation was utterly ineffective.
10          156.   Immediately after learning of Defendants’ renewal charge(s) to her Payment
11   Method, Ms. Sylvester again attempted to cancel her Amazon Subscription on or around August
12   11, 2020. On this occasion Ms. Sylvester again attempted to cancel by phone. Specifically, Ms.
13   Sylvester called Defendants’ toll-free phone number to notify Defendants that she did not
14   authorize – and request a refund of – the unauthorized subscription charges that Defendants had
15   charged Ms. Sylvester’s Payment Method between December 2019 and July 2020. During that
16   phone call, Ms. Sylvester was assured by the Amazon customer service representative with whom
17   she spoke in August of 2020 that her Kindle Unlimited Subscription would be cancelled, but her
18   refund request was denied. Furthermore, following the call, Ms. Sylvester received the below
19   confirmation email regarding cancellation, in which Defendants specifically informed Ms.
20   Sylvester that her “Kindle Unlimited membership will not renew. At the end of [her] membership
21   period, [her] Kindle Unlimited membership will not continue”:
22

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12          157.    Unfortunately for Ms. Sylvester, notwithstanding receipt of this cancellation
13   confirmation email, thereafter Ms. Sylvester continued to receive monthly renewal charges in
14   connection with her Kindle Unlimited Subscription. Indeed, Ms. Sylvester subsequently learned,
15   upon review of the account banking history associated with her Payment Method, that following
16   her August 2020 cancellation attempt Defendants had once again automatically renewed Ms.
17   Sylvester’s Kindle Unlimited Subscription later that same month and, without Ms. Sylvester’s
18   authorization (and, indeed, despite her express denial of such authorization), charged Ms.
19   Sylvester’s Payment Method another monthly renewal fee for the following billing cycle, in the
20   amount of $9.99 on August 27, 2020. Thus, Ms. Sylvester’s August 2020 cancellation attempt was
21   ultimately ineffective.
22          158.    Thereafter, Defendants continued to post automatic renewal charges to Ms.
23   Sylvester’s Payment Method every month until December of 2021. Following the December 2021
24   charge, Ms. Sylvester became aware of the continuing renewal charges she had incurred after her
25   August 2020 cancellation attempt, and she again attempted – successfully, this time – to cancel her
26   subscription in in or around January of 2022. Confused and angered by Defendants’ deception,
27   Ms. Sylvester called Defendants’ customer service phone number for the third time in January
28
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 1   2022 to notify Defendants that she had not authorized the subscription charges that were posted to
 2   Ms. Sylvester’s Payment Method on a monthly basis since December 2019, and to insist on a
 3   refund of those unauthorized charges.
 4          159.    When Ms. Sylvester reached out to Defendants by phone in January 2022,
 5   Defendants finally cancelled Ms. Sylvester’s Kindle Unlimited subscription, and the monthly
 6   renewal charges ceased. However, by that point, the damage was done: Ms. Sylvester had already
 7   suffered substantial economic loss as a result of Defendants’ omissions of automatic renewal terms
 8   and, correspondingly, the twenty-five months of unauthorized charges that Defendants posted to
 9   Ms. Sylvester’s Payment Method in connection with the Kindle Unlimited Subscription.
10          160.    Additionally, following Ms. Sylvester’s initial January 2022 phone call and several
11   subsequent email exchanges and follow-up calls with an Amazon customer service representative
12   named “Amit G,” Defendants agreed to issue a refund of no more than twelve of the twenty-five
13   total months of renewal charges that Ms. Sylvester incurred in connection with Kindle Unlimited,
14   and accordingly returned $119.88 of the total amount to Ms. Sylvester’s Payment Method (half of
15   which posted to Ms. Sylvester’s bank account on January 10, 2022, and the other half of January
16   18, 2022). However, Defendants continued, and to this day continue, to refuse to issue Ms.
17   Sylvester a complete refund for all twenty-five months of unauthorized charges. Thus, thirteen
18   months of unauthorized subscription charges posted to Ms. Sylvester’s Payment Method since
19   December 2019 in connection with Kindle Unlimited remain unrefunded to this day, amounting to
20   a total of at least $129.87 in financial injury to Ms. Sylvester as a direct result of Defendants’
21   unlawful conduct.
22          161.    Ms. Sylvester was not previously aware of the above aspects of Defendants’
23   cancellation policy. At no point during her Amazon Subscription was Ms. Sylvester required or
24   even prompted to navigate to or otherwise examine any of the terms disclosed on any other page of
25   the Amazon Website, aside from the Checkout Page. Defendants neglected to disclose this
26   information to Ms. Sylvester either at the point of purchase on the Checkout Page or later in the
27   Acknowledgment Email that Defendants sent to Ms. Sylvester after she completed the checkout
28
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 1   process for her Kindle Device. Accordingly, Defendants failed to place Ms. Sylvester on notice of
 2   their cancellation policy or provide Ms. Sylvester information regarding how to cancel in a manner
 3   that is capable of being retained by her, in violation of Cal. Bus. & Prof. Code §§ 17602(a)(1)-(3).
 4          162.    Moreover, even if the Acknowledgment Email had contained Defendants’ complete
 5   cancellation policy (it did not), for the reasons stated above the “mechanism for cancellation” that
 6   exists is not one Ms. Sylvester and other reasonable consumers would consider “easy-to-use.”
 7   Defendants therefore failed to provide Ms. Sylvester with an “easy-to-use mechanism for
 8   cancellation” or describe any such mechanism in an Acknowledgment Email, in violation of Cal.
 9   Bus. & Prof. Code §§ 17602(a)(3) and 17602(b).
10          163.    Defendants’ pre- and post-purchase disclosures fail to comply with the ARL, which
11   deems products provided in violation of the statute to be an unconditional gift to consumers. See
12   Cal. Bus. & Prof. Code § 17603.
13          164.    Each and every monthly charge posted to Ms. Sylvester’s Payment Method in
14   connection with her Amazon Subscription amounts to a distinct economic injury as a result of
15   Defendants’ continued and further unlawful conduct. Therefore, each recurring charge Ms.
16   Sylvester incurred in connection with her Amazon Subscription gives rise to an independently
17   actionable claim under California’s UCL based on Defendants’ repeated unlawful practice of
18   charging consumers’ Payment Methods without first providing and obtaining the requisite
19   disclosures and authorizations, in violation of the California ARL.
20          165.    As a direct result of Defendants’ unlawful conduct described above, Ms. Sylvester
21   suffered economic injuries as discussed above. Specifically, Defendants’ ARL violations caused
22   Ms. Sylvester’s continuous and repeated financial injuries because Ms. Sylvester reasonably relied
23   on Defendants’ conspicuous disclosures of the Checkout Page and the Acknowledgment Email
24   (and, as a natural corollary, the omissions and/or the inconspicuousness of the disclosures
25   contained therein) in deciding whether to purchase her Kindle Device, and thereby, her Amazon
26   Subscription in the first place and whether to continue paying for it after that (i.e., by not
27   cancelling the auto-renewal).
28
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 1            166.    Had Defendants complied with the ARL by adequately disclosing – and obtaining
 2   Ms. Sylvester’s affirmative consent to – the requisite Amazon Subscription terms on the Checkout
 3   Page at the point of Ms. Sylvester’s initial purchase in or around July 2019, Ms. Sylvester would
 4   have been able to read and review the auto renewal terms prior to purchase and she would have not
 5   subscribed to Kindle Unlimited in the first place, or would have subscribed on materially different
 6   terms, thereby avoiding financial injury of any kind as a result of Defendants’ ARL violations.
 7   Similarly, had Defendants complied with the ARL by adequately disclosing the terms associated
 8   with her Amazon Subscription in the post-checkout Acknowledgment Email (i.e., after initial
 9   enrollment in Kindle Unlimited, but before any subsequent automatic renewal charge of Ms.
10   Sylvester’s Payment Method), Ms. Sylvester would have been able to read and review the auto
11   renewal terms prior to another automatic renewal, and she would have cancelled her Amazon
12   Subscription prior to the expiration of the subscription period in which she learned such
13   information, thereby avoiding all or part of the aggregate automatic renewal charges Ms. Sylvester
14   incurred in connection with Kindle Unlimited from the time of enrollment in 2019 to January
15   2022. But Defendants did not adequately disclose the required automatic renewal terms in either
16   the Checkout Page or the Acknowledgment Email, depriving Ms. Sylvester of the opportunity to
17   make informed decisions as to the recurring transactions.
18            167.    The facts giving rise to Ms. Sylvester’s claims are materially the same as the Class
19   she seeks to represent.
20                    iii.     Plaintiff Michael Sonnenschein
21            168.    Plaintiff Michael Sonnenschein is an individual consumer who signed up for an
22   Amazon Music Unlimited subscription on a free trial basis from Defendants’ website while in
23   California on or around October 31, 2017. Additionally, Mr. Sonnenschein signed up for a
24   Amazon Prime Video Channel subscription to “Shudder” (together with Music Unlimited, Mr.
25   Sonnenschein’s “Amazon Add-On Subscriptions”) on a free trial basis from Defendants’ website
26   while in California on or around October 15, 2019. 94
27   94
       Unbeknownst to him, Mr. Sonnenschein signed up for his monthly Shudder and Music Unlimited subscriptions as
28   add-ons to his base Amazon Prime subscription, in which he had already enrolled on a distinct occasion at an earlier
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 1            169.     At the time Mr. Sonnenschein purchased his Amazon Add-On Subscriptions,
 2   Defendants did not disclose to Mr. Sonnenschein all required automatic renewal offer terms
 3   associated with the subscription programs. Additionally, although the Checkout Pages from which
 4   Mr. Sonnenschein made his purchases included some relevant information regarding automatic
 5   renewal, the manner in which this information was presented was insufficient to put Mr.
 6   Sonnenschein on notice. Specifically, prior to completing his initial Amazon Add-On
 7   Subscriptions orders, the relevant screens and buttons presented to Mr. Sonnenschein did not
 8   clearly and conspicuously state that his Amazon Add-On Subscriptions would automatically renew
 9   every month until he cancelled; they did not state the recurring charges that would be charged to
10   Mr. Sonnenschein’s Payment Method as part of the automatic renewal plans, explain that the
11   amount of the charges would change, or disclose the amount to which the charges would change;
12   and they did not describe the full cancellation policies that applied to his purchases.
13            170.     At no point prior to completing his initial purchases did Defendants obtain Mr.
14   Sonnenschein’s affirmative consent to any agreement containing the automatic renewal offer terms
15   associated with the Amazon Add-On Subscriptions.
16            171.     After Mr. Sonnenschein completed his initial orders, Defendants sent Mr.
17   Sonnenschein Acknowledgment Emails stating that his Amazon Add-On Subscriptions had been
18   activated. However, as discussed above, that Acknowledgment Emails failed to provide Mr.
19   Sonnenschein with the complete automatic renewal terms that applied to Defendants’ offers, a
20   description of Defendants’ full cancellation policies, or information regarding how to cancel Mr.
21   Sonnenschein’s Amazon Subscriptions in a manner capable of being retained by him. Mr.
22   Sonnenschein did not receive any other acknowledgments that contain the required information.
23            172.     As a result of Defendants’ missing and otherwise deficient disclosures, when Mr.
24   Sonnenschein selected and enrolled in his free trials to the Amazon Add-On Subscriptions, he was
25   time. At the time Mr. Sonnenschein originally signed up for his base Prime subscription (i.e., prior to his enrollment in
     Music Unlimited and Shudder), he provided his Payment Method directly to Defendants. As a result, Mr.
26   Sonnenschein’s Payment Method was already stored and maintained in Amazon’s records when he later signed up for
     his Amazon Add-On Subscriptions, which he believed to be standalone free trials that were unconnected to his base
27   Amazon Prime Subscription and that would naturally conclude upon expiration of the trial period and would not result
     in any subsequent charges to Mr. Sonnenschein’s Payment Method without his express authorization.
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 1   unaware that Defendants had enrolled him in “automatic renewal” programs under which his
 2   subscriptions would renew each month and result in continuous monthly automatic renewal
 3   charges to his Payment Method unless and until Mr. Sonnenschein took action to affirmatively
 4   cancel the subscriptions.
 5                         a.       Amazon Music Unlimited
 6          173.    Nevertheless, on November 30, 2017, approximately one month after Mr.
 7   Sonnenschein first signed up for his free trial to Music Unlimited, Defendants automatically
 8   renewed Mr. Sonnenschein’s Music Unlimited Subscription and charged Mr. Sonnenschein’s
 9   Payment Method in the amount of $7.99, the full standard monthly rate then associated with
10   Amazon’s paid Music Unlimited subscription. Thereafter, Defendants continued to automatically
11   renew Mr. Sonnenschein’s Music Unlimited Subscription at the full standard rate on a monthly
12   basis, charging his Payment Method an additional seven times, for a total of eight unauthorized
13   charges to Mr. Sonnenschein’s Payment Method between October 2017 and June 2018, without
14   Mr. Sonnenschein’s knowing consent. During this period, Defendants charged, in connection with
15   Amazon Music Unlimited, a total of at least $63.92 in unauthorized renewal fees to Mr.
16   Sonnenschein’s Payment Method without his knowing or affirmative consent:
17                     Billing Date                                       Amount
18                     10/31/2017                                           $0.99
19                     11/30/2017                                           $7.99

20                     12/30/2017                                           $7.99

21                     01/30/2018                                           $7.99
                       02/30/2018                                           $7.99
22
                       03/30/2018                                           $7.99
23
                       04/30/2018                                           $7.99
24
                       05/30/2018                                           $7.99
25
                       06/30/2018                                           $7.99
26
                                                                       Total: $63.92
27
            174.    Mr. Sonnenschein did not learn of the above-listed monthly charges until after
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 1   incurring the final monthly charge at the end of June 2018, upon review of the account banking
 2   history associated with his Payment Method several months after initial enrollment in his free trial
 3   to Music Unlimited. Prior to this point, Mr. Sonnenschein did not expect, and thus did not become
 4   aware of, the unauthorized monthly charges. In other words, Mr. Sonnenschein first discovered
 5   Defendants’ continuing course of unlawful conduct in or around late June or early July of 2018.
 6   Immediately upon becoming aware of such charges, Mr. Sonnenschein took prompt action to
 7   cancel his Music Unlimited Subscription. However, as shown above, this realization came too late
 8   for Mr. Sonnenschein to avoid financial injury as a result of Defendants’ pre- and post-purchase
 9   omissions of required terms under the California ARL.
10                         b.       Amazon Prime Video Channel Subscription (Shudder)
11          175.    Furthermore, on August 29, 2020 – approximately ten and a half months after Mr.
12   Sonnenschein first signed up for his free trial to the “Shudder” Prime Video Channel on or around
13   October 15, 2019 – Defendants automatically renewed Mr. Sonnenschein’s Shudder subscription
14   and charged Mr. Sonnenschein’s Payment Method in the amount of $5.99, the full standard
15   monthly rate then associated with Amazon’s paid monthly Shudder Prime Video Channel
16   subscription. Thereafter, on or around September 29, 2020, Defendants again automatically
17   renewed Mr. Sonnenschein’s Shudder subscription at the full standard rate for the subsequent
18   month without his knowing consent. Thus, between October 15, 2019 and September 29, 2020,
19   Defendants charged, in connection with his Shudder Prime Video Channel subscription, a total of
20   at least $11.98 in unauthorized renewal fees to Mr. Sonnenschein’s Payment Method without his
21   knowing or affirmative consent:
22                     Billing Date                                        Amount
23                     10/15/2019                                            $0.00
24                     08/29/2020                                            $5.99

25                     09/29/2020                                            $5.99

26                                                                       Total: $11.98

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 1          176.    Following initial enrollment in his free trial to Shudder in October of 2019, Mr.
 2   Sonnenschein did not expect and thus did not become aware of the unauthorized renewal charges
 3   Defendants had been posting to his Payment Method on a monthly basis, until after he incurred the
 4   second monthly charge in or around September 2020. Upon becoming aware of such charges, Mr.
 5   Sonnenschein promptly took action to cancel his Shudder Subscription. However, as shown
 6   above, this realization came too late for Mr. Sonnenschein to avoid financial injury.
 7
                                                       ***
 8          177.    Mr. Sonnenschein’s confusion and surprise with respect to Defendants’ billing
 9   practices during the life of his Amazon Add-On Subscriptions is the direct result of Defendants’
10   failure to place Mr. Sonnenschein on notice of the recurring nature of his Music Unlimited and
11   Shudder Subscriptions, along with other pertinent and required automatic renewal offer terms.
12   Because Defendants failed to disclose this material information in the manner required by statute,
13   Mr. Sonnenschein was unable at the point of sale to accept Defendants’ offers or knowingly enter
14   into the purchase agreements.
15          178.    Defendants’ pre- and post-purchase disclosures fail to comply with the ARL, which
16   deems products provided in violation of the statute to be an unconditional gift to consumers. See
17   Cal. Bus. & Prof. Code § 17603.
18          179.    Each and every monthly charge posted to Mr. Sonnenschein’s Payment Method in
19   connection with his Amazon Subscription amounts to a distinct economic injury as a result of
20   Defendants’ continued and further unlawful conduct. Therefore, each recurring charge Mr.
21   Sonnenschein incurred in connection with his Amazon Subscription gives rise to an independently
22   actionable claim under California’s UCL based on Defendants’ repeated unlawful practice of
23   charging consumers’ Payment Methods without first providing and obtaining the requisite
24   disclosures and authorizations, in violation of the California ARL.
25          180.    As a direct result of Defendants’ unlawful conduct described above, Mr.
26   Sonnenschein suffered economic injuries. Specifically, Defendants’ ARL violations concerning
27   the Amazon Add-On Subscriptions caused Mr. Sonnenschein’s repeated and continuous financial
28
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 1   injuries because Mr. Sonnenschein reasonably relied on Defendants’ clear and conspicuous
 2   disclosures of the Checkout Pages and the Acknowledgment Emails (and, as a natural corollary,
 3   the104missionns and/or the inconspicuousness of the disclosures contained therein) in deciding
 4   whether to purchase his Amazon Subscriptions in the first place and whether to continue paying
 5   for them after that (i.e., by not cancelling the auto-renewal).
 6          181.    Had Defendants complied with the ARL by adequately disclosing – and obtaining
 7   Mr. Sonnenschein’s affirmative consent to – the requisite Amazon Subscription terms on the
 8   Checkout Pages at the point of Mr. Sonnenschein’s initial purchase in or around 2019, Mr.
 9   Sonnenschein would have been able to read and review the auto renewal terms prior to purchase
10   and he would have not subscribed to Amazon’s Music Unlimited or Prime Video Channel
11   Subscriptions in the first place, or would have subscribed on materially different terms, thereby
12   avoiding financial injury of any kind as a result of Defendants’ ARL violations. Similarly, had
13   Defendants complied with the ARL by adequately disclosing the terms associated with his
14   Amazon Subscriptions in the post-checkout Acknowledgment Emails (i.e., after initial enrollment
15   in each Amazon Subscription program, but before any subsequent automatic renewal charge of
16   Mr. Sonnenschein’s Payment Method), Mr. Sonnenschein would have been able to read and
17   review the auto renewal terms prior to another automatic renewal, and he would have cancelled his
18   Amazon Subscriptions prior to the expiration of the subscription periods in which he learned such
19   information, thereby avoiding all or part of the aggregate automatic renewal charges Mr.
20   Sonnenschein incurred in connection with each Amazon Subscription from the time of his
21   enrollment in 2017 to the present. But Defendants did not adequately disclose the required
22   automatic renewal terms in either the Checkout Pages or the Acknowledgment Emails, depriving
23   Mr. Sonnenschein of the opportunity to make informed decisions as to the recurring transactions.
24          182.    The facts giving rise to Mr. Sonnenschein’s claims are materially the same as the
25   Class he seeks to represent.
26

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 1                                    CLASS ACTION ALLEGATIONS
 2             183.   Class Definition: Plaintiffs bring this action on behalf of themselves and all others
 3   similarly situated, as a class action pursuant to Federal Rule of Civil Procedure 23. The classes
 4   Plaintiffs seek to represent are defined as follows:
 5                    (a)    Oregon Class. All persons in Oregon who, within the applicable statute of
 6   limitations period, up to and including the date of final judgment in this action, incurred fee(s) in
 7   connection with Defendants’ Amazon Subscription offerings (the “Oregon Class”).
 8                    (b)    Oregon Subclass. All members of the Oregon Class who, within the
 9   applicable statute of limitations periods, up to and including the date of final judgment in this
10   action, incurred fee(s) in connection with their enrollment in a free trial to any of Defendants’
11   Amazon Subscription offerings (the “Oregon Subclass”).
12                    (c)    California Class. All persons in California who, within the applicable
13   statute of limitations period, up to and including the date of final judgment in this action, incurred
14   fee(s) in connection with Defendants’ Amazon Subscription offerings (the “California Class”).
15                    (d)    Nationwide Class. All persons in the United States who, within the
16   applicable statute of limitations periods, up to and including the date of final judgment in this
17   action, incurred fee(s) in connection with Defendants’ Amazon Subscription offerings (the
18   “Nationwide Class”).
19             184.   Specifically excluded from the Classes and Subclass are Defendants and any
20   entities in which Defendants have a controlling interest, Defendants’ agents and employees, the
21   judge to whom this action is assigned, members of the judge’s staff, and the judge’s immediate
22   family.
23             185.   Plaintiffs reserve the right to amend the definition of the Classes and Subclass if
24   discovery or further investigation reveals that the Classes and/or Subclass should be expanded or
25   otherwise modified.
26             186.   Numerosity. Members of the Classes and Subclass are so numerous that their
27   individual joinder herein is impracticable. On information and belief, the California Class
28
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 1   comprises at least millions of consumers throughout California, and the Oregon Class and Subclass
 2   each comprise at least hundreds of thousands or millions of consumers throughout Oregon. The
 3   precise number of members of the Classes and Subclass and their identities are unknown to
 4   Plaintiffs at this time but may be determined through discovery. Class and Subclass members may
 5   be notified of the pendency of this action by mail and/or publication through the distribution
 6   records of Defendants.
 7          187.    Commonality and Predominance. Common questions of law and fact exist as to
 8   all Class and Subclass members and predominate over questions affecting only individual Class
 9   and Subclass members. Common legal and factual questions include, but are not limited to, the
10   following:
11                  (a)    The Oregon Class and Subclass: (i) whether Defendants’ Amazon
12   Subscriptions constitute “Automatic renewal[s]” and/or “Continuous service[s]” within the
13   meaning of ORS 646A.293(1) and (4); (ii) whether Defendants failed to present the automatic
14   renewal offer terms, or continuous service offer terms, in a clear and conspicuous manner before
15   the subscription or purchasing agreement was fulfilled and in visual proximity to the request for
16   consent to the offer, in violation of ORS 646A.295(1)(a); (iii) whether Defendants charged
17   Plaintiff Daly’s and Oregon Class members’ Payment Method for an automatic renewal or
18   continuous service without first obtaining their affirmative consent to the automatic renewal offer
19   terms or continuous service offer terms in violation of ORS 646A.295(1)(b); (iv) whether
20   Defendants failed to provide an acknowledgment that included the automatic renewal or
21   continuous service offer terms and information on how to cancel in a manner that is capable of
22   being retained by Plaintiff Daly and the Oregon Class, in violation of ORS 646A.295(1)(c); (v)
23   whether the goods and services provided by Defendants to consumers pursuant to the Amazon
24   Subscriptions are deemed “unconditional gifts” in accordance with ORS 646A.295(5); (vi)
25   whether Defendants’ failure to comply with the Oregon ARL as alleged herein violated the
26   UTPA’s prohibitions of engaging in unlawful practices in the course of their business, vocation, or
27   occupation under ORS 646.608(1)(ttt); (vii) whether Defendants’ conduct was proscribed by the
28
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 1   FOL pursuant to ORS 646.644(2), which prohibits a person from “mak[ing] a free offer to a
 2   consumer, or impos[ing] a financial obligation on the consumer as a result of the consumer’s
 3   acceptance of a free offer, unless the person provides the consumer with clear and conspicuous
 4   information regarding the terms of the free offer before the consumer agrees to accept the free
 5   offer”; (viii) whether Defendants’ conduct was proscribed by the FOL pursuant to ORS
 6   646.644(4), which provides that a “person may not impose a financial obligation on a consumer as
 7   a result of the consumer’s acceptance of a free offer unless the consumer’s affirmative consent to
 8   the terms of the free offer as set forth in subsection (2) of this section is obtained”; (ix) whether
 9   Defendants’ failure to comply with the Oregon FOL as alleged herein violated the UTPA’s
10   prohibitions of engaging in unlawful practices in the course of their business, vocation, or
11   occupation under ORS 646.608(1)(sss); (x) whether Defendants’ use or employment of the
12   unlawful practice(s) alleged herein was willful and/or reckless or knowing; (xi) whether Plaintiff
13   Daly and members of the Oregon Class and Subclass suffered ascertainable loss of money or
14   property as a result of Defendants’ conduct; (xii) whether Plaintiff Daly and members of the
15   Oregon Class and Subclass are entitled to recover statutory damages of $200 per violation pursuant
16   to ORS 646.638(1) and ORS 646.638(8); (xiii) whether Plaintiff Daly and the Oregon Class and
17   Subclass are entitled to recover punitive damages and/or equitable relief under ORS 646.638(1);
18   (xiv) whether Plaintiff Daly and the Oregon Class and Subclass are entitled to attorneys’ fees and
19   costs under ORS 646.638(3); and (xv) whether Defendants should be enjoined from further
20   engaging in the misconduct alleged herein.
21                  (b)     The California Class: (i) whether Defendants’ Amazon Subscriptions
22   constitute “Automatic renewal[s]” within the meaning of Cal. Bus. & Prof. Code § 17601(a); (ii)
23   whether Defendants failed to present the automatic renewal offer terms, or continuous service offer
24   terms, in a clear and conspicuous manner before the subscription or purchasing agreement was
25   fulfilled and in visual proximity to the request for consent to the offer, in violation of Cal. Bus. &
26   Prof. Code § 17602(a)(l); (iii) whether Defendants charged Plaintiffs’ and Class members’
27   Payment Method for an automatic renewal or continuous service without first obtaining their
28
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 1   affirmative consent to the automatic renewal offer terms or continuous service offer terms in
 2   violation of Cal. Bus. & Prof. Code § 17602(a)(2); (iv) whether Defendants failed to provide an
 3   acknowledgment that included the automatic renewal or continuous service offer terms,
 4   cancellation policy, and information on how to cancel in a manner that is capable of being retained
 5   by Plaintiffs and the Class, in violation of Cal. Bus. & Prof. Code § 17602(a)(3); (v) whether the
 6   goods and services provided by Defendants are deemed an “unconditional gift” in accordance with
 7   Cal. Bus. & Prof. Code § 17603; (vi) whether Defendants’ conduct alleged herein violated
 8   California’s False Advertising Law (“FAL”), Cal. Bus. & Prof. Code §§ 17500, et seq.,
 9   California’s Consumers Legal Remedies Act (“CLRA”), Cal. Civ. Code §§ 1750, et seq., and/or
10   California’s Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code §§ 17200, et seq.; (v)
11   whether Plaintiffs and the Class are entitled to damages and/or restitution; (vi) whether Defendants
12   should be enjoined from further engaging in the misconduct alleged herein; and (vii) whether
13   Plaintiffs and the Class are entitled to attorneys’ fees and costs under California Code of Civil
14   Procedure § 1021.5.
15                  (c)     The Nationwide Class: (i) whether Defendants’ conduct alleged herein
16   constitutes conversion, unjust enrichment, negligent misrepresentation, and/or fraud; (ii) whether
17   Plaintiffs and the proposed Nationwide Class are entitled to damages and/or restitution; and (iii)
18   whether Defendants should be enjoined from further engaging in the misconduct alleged herein.
19          188.    Typicality. The claims of Plaintiffs are typical of the claims of the proposed
20   Classes and Subclass in that Plaintiffs and members of the proposed Classes and Subclass
21   sustained damages as a result of Defendants’ uniform wrongful conduct, based upon, inter alia,
22   Defendants’ failure to adequately disclose and obtain Plaintiffs’ and the Classes and Subclass
23   members’ affirmative consent to the automatic renewal offer terms associated with the Amazon
24   Subscriptions before charging their Payment Methods.
25          189.    Adequacy. Plaintiffs will fairly and adequately protect Class and Subclass
26   members’ interests. Plaintiffs have no interests antagonistic to Class and Subclass members’
27   interests, and Plaintiffs have retained counsel that have considerable experience and success in
28
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 1   prosecuting complex class-actions and consumer-protection cases.
 2          190.    Superiority. A class action is superior to all other available methods for the fair and
 3   efficient adjudication of this controversy for, inter alia, the following reasons: prosecutions of
 4   individual actions are economically impractical for members of the Classes and Subclass; the Class
 5   is readily definable; prosecution as a class action avoids repetitious litigation and duplicative
 6   litigation costs, conserves judicial resources, and ensures uniformity of decisions; and prosecution
 7   as a class action permits claims to be handled in an orderly and expeditious manner.
 8          191.    Defendants have acted or failed to act on grounds generally applicable to the
 9   Classes and Subclass, thereby making appropriate final injunctive relief with respect to the Classes
10   and Subclass as a whole.
11          192.    Without a class action, Defendants will continue a course of action that will result
12   in further damages to Plaintiffs and members of the Classes and Subclass will likely retain the
13   benefits of Defendants’ wrongdoing.
14          193.    Based on the foregoing allegations, Plaintiffs’ claims for relief include those set
15   forth below.
16                                              COUNT I
                     Violations of Oregon’s Unlawful Trade Practices Act (“UTPA”),
17
                                           ORS 646.608(1)(ttt)
18                                   (On Behalf Of The Oregon Class)
            194.    Plaintiffs re-allege and incorporate by reference every allegation set forth in the
19
     preceding paragraphs as though alleged in this Count.
20
            195.    Plaintiff Mark Daly brings this claim individually and on behalf of the members of
21
     the proposed Oregon Class against Defendants.
22
            196.    The Oregon Unlawful Trade Practices Act (“UTPA”), which was enacted in 1971
23
     and is codified at ORS 646.605-646.656, is remedial statutory scheme enacted as a comprehensive
24
     statute for the protection of consumers from unlawful trade practices. The UTPA prohibits
25
     unlawful practices in the course of the person’s business, vocation, or occupation with respect to
26
     both general and specific conduct. Specifically proscribed conduct is set forth under Section
27
     646.608(1), which has 79 subsections and many of which refer to other provisions of the Oregon
28
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 1   Revised Statutes. See ORS 646.608(1)(a)–(aaaa).
 2          197.    The UTPA authorizes private civil actions. Pursuant to Section 646.638(8)(a) of the
 3   UTPA, “a person that suffers an ascertainable loss of money or property, real or personal, as a
 4   result of another person’s willful use or employment of a method, act or practice declared unlawful
 5   under ORS 646.608 … may bring an individual action in an appropriate court to recover actual
 6   damages or statutory damages of $200, whichever is greater.” ORS 646.638(1); see also ORS
 7   646.638(8). In a class action, plaintiffs may recover statutory damages only if they suffered an
 8   ascertainable loss “as a result of a reckless or knowing use or employment” of an unlawful trade
 9   practice. ORS 646.638(8)(a).
10          198.    Defendants are each a “Person” as defined in ORS 646.605(4).
11          199.    The Amazon Subscriptions are goods as defined by ORS 646.605(6)(a), because the
12   constitute products that may be obtained primarily for personal, family, or household uses.
13          200.    “The UTPA prohibits businesses from charging customers other types of fees when
14   they are not disclosed in the particular way that the law requires.” Stewart v. Albertson’s, Inc., 308
15   Or. App. 464, 492 n.17, review denied, 368 Or. 138 (2021); Scharfstein v. BP West Coast
16   Products, LLC, 292 Or. App. 69, 89, review denied, 363 Or. 815 (2018) (same); see also Miller v.
17   WinCo Foods, LLC, 2020 WL 6693149, at *7 (D. Or. Sept. 3, 2020), report and recommendation
18   adopted, 2020 WL 6685697 (D. Or. Nov. 12, 2020); Russell v. Ray Klein, Inc., 2019 WL 6137455,
19   at *4 (D. Or. Nov. 19, 2019); Tri-W. Const. Co. v. Hernandez, 43 Or. App. 961, 972 (1979);
20   Sanders v. Francis, 277 Or. 593, 598-99 (1977); Rollins v. Wink Labs, Inc., 2021 WL 1976082, at
21   *5 (D. Or. Feb. 22, 2021).
22          201.    As explained below, at all relevant times, Defendants violated, and continue to
23   violate, the UTPA’s proscription against engaging in unlawful conduct by charging customers
24   certain types of fees without first disclosing the required pre-purchase information and obtaining
25   authorization in the particular way that the law requires.
26          202.    Specifically, Defendants’ actions are “unlawful” within the meaning of the UTPA
27   because they violated the Oregon’s Automatic Renewal Law (the “Oregon ARL”), ORS 646A.292-
28
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 1   646A.295, in direct violation of Section 646.608(1)(ttt) of the UTPA. In particular, subsequent to
 2   consumers’ (including Plaintiff Daly’s and Oregon Class members’) initial enrollments in the
 3   Amazon Subscriptions, Defendants automatically charge subscription fees to consumers’ Payment
 4   Methods, notwithstanding Defendants’ uniform and systematic failure to provide legally required
 5   information at the point of purchase. As is explained in the above paragraphs of this complaint,
 6   which are incorporated herein by reference, by doing so, Defendants violate multiple provisions of
 7   Oregon’s ARL.
 8          203.    Defendants’ noncompliance with the Oregon ARL is a direct violation of UTPA.
 9   See ORS 646.608(1)(ttt) (“(1) A person engages in an unlawful practice if in the course of the
10   person’s business, vocation or occupation the person does any of the following: … (ttt) Violates a
11   provision of ORS 646A.295 (Prohibited actions).”).
12          204.    Defendants violated, and continue to violate, the ARL because, at all relevant times,
13   they failed, and continue to fail, to: (a) provide the auto-renewal terms associated with the Amazon
14   Subscriptions in a clear and conspicuous manner before the subscription or purchasing agreement
15   is fulfilled and in visual proximity to the request for consent to the offer, in violation of ORS
16   646A.295(1)(a); (b) obtain the affirmative consent of Plaintiff Daly and the Oregon Class to those
17   terms before charging their Payment Methods, in violation of ORS 646A.295(1)(b); and (c)
18   provide an acknowledgment that includes the automatic renewal or continuous service offer terms,
19   cancellation policy, and information regarding how to cancel in a manner that is capable of being
20   retained by the consumer, in violation of ORS 646A.295(1)(c). Defendants also make it
21   exceedingly difficult and unnecessarily confusing for consumers to cancel their Amazon
22   Subscriptions, in violation of ORS 646A.295(2).
23          205.    Each of these acts and practices constitutes an independent violation of the Oregon
24   ARL, and thus an independent violation of the Section 646.608(1) of the UTPA.
25          206.    As discussed above, Defendants were prohibited from making the automatic
26   renewal charges to Plaintiff Daly’s and Oregon Class members’ Payment Methods without first
27   adequately disclosing to the consumer the automatic renewal offer terms associated with the
28
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 1   Amazon Subscriptions and obtaining the consumer’s affirmative consent to the agreement
 2   containing those terms. See ORS 646A.295(1)(a)-(b) (“(1) It is unlawful for a person that makes
 3   an automatic renewal or continuous service offer to a consumer in this state to do any of the
 4   following: (a) Fail to present the automatic renewal offer terms … in a clear and conspicuous
 5   manner before a subscription or purchasing agreement is fulfilled and in visual proximity … to the
 6   request for consent to the offer. (b) Charge the consumer’s [Payment Method] for an automatic
 7   renewal … without first obtaining the consumer’s affirmative consent to the agreement containing
 8   the automatic renewal offer terms or continuous service offer terms”); see also ORS 646A.295(4)
 9   (“The requirements of this section must be met prior to the completion of the initial order for the
10   automatic renewal or continuous service[.]”). Nevertheless, Defendants failed to do either before
11   charging Plaintiff Daly and Oregon Class members in connection with the Amazon Subscriptions,
12   in violation of the Oregon ARL.
13          207.    Thus, Defendants “failed to disclose the legally required information and assessed
14   a … fee in violation of the UTPA.” Scharfstein v. BP W. Coast Prod., LLC, 292 Or. App. 69, 90
15   (2018). “In doing so, [Defendants] illegally charged [their] customers [recurring subscription
16   fees], thereby causing the ascertainable loss.” Id.; see also Stewart v. Albertson’s, Inc., 308 Or.
17   App. 464, 492 n.17, review denied, 368 Or. 138 (2021); Miller v. WinCo Foods, LLC, 2020 WL
18   6693149, at *7 (D. Or. Sept. 3, 2020), report and recommendation adopted, 2020 WL 6685697 (D.
19   Or. Nov. 12, 2020); Rollins v. Wink Labs, Inc., 2021 WL 1976082, at *5 (D. Or. Feb. 22, 2021);
20   Russell v. Ray Klein, Inc., 2019 WL 6137455, at *4 (D. Or. Nov. 19, 2019); Wright v. Kia Motors
21   Am. Inc., 2007 WL 316351, at *3 (D. Or. Jan. 29, 2007); Tri-W. Const. Co. v. Hernandez, 43 Or.
22   App. 961, 972 (1979); Sanders v. Francis, 277 Or. 593, 598-99 (1977).
23          208.    Moreover, pursuant to the ARL, all products received from Defendants in violation
24   of the ARL “shall for all purposes be deemed unconditional gift[s] to the consumer[s.]” ORS
25   646A.295(5). In other words, once Defendants tendered, and Plaintiff Daly and Oregon Class
26   members were provided access to, the “goods, wares, merchandise or products” of the Amazon
27   Subscriptions (i.e., their benefits) vis-à-vis their activation, Plaintiff and Class members assumed
28
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 1   title and ownership over such goods as their property, at which point Plaintiff and Class members
 2   were vested with the right to “use or dispose of them in any manner the[y] see[] fit without any
 3   obligation to [Defendants.]” Id.
 4          209.    Thus, by ultimately revoking Plaintiff Daly’s and other similarly situated Class
 5   members’ access to such goods once recurring payments were eventually stopped, Defendants
 6   wrongfully deprived Plaintiff Daly and Oregon Class members of their property.
 7          210.    Thus, Plaintiff Daly has sustained an ascertainable loss of money and property as a
 8   result of Defendants’ use or employment of methods, acts, or practices declared unlawful by ORS
 9   646.608(1)(ttt) (i.e., Defendants’ conduct in violation of Oregon’s ARL).
10          211.    Because Defendants illegally charged Plaintiff Daly and the Oregon Class unlawful
11   fees in connection with the Amazon Subscriptions in violation of the Oregon ARL, Plaintiff Daly
12   and Oregon Class members are entitled to recover statutory damages of $200 per violation of the
13   UTPA under ORS 646.608(1)(ttt). See ORS 646.638(1) and (8)(a) (class members can recover
14   “actual damages or statutory damages of $200, whichever is greater”).
15          212.    In the alternative, Defendants’ unlawful conduct as described above caused Plaintiff
16   Daly’s and Oregon Class members’ ascertainable loss because Defendants’ acts and practices were
17   intended to deceive Plaintiff and the Class, and – as a result of Plaintiff Daly’s and Oregon Class
18   members’ reasonable reliance on Defendants’ omissions of material offer terms required to be
19   disclosed by the Oregon ARL – they have resulted, and will continue to result, in damages to
20   Plaintiff Daly and the Oregon Class in the form of ascertainable loss on money and property.
21          213.    As a direct and proximate result of Defendants’ unlawful practices described herein,
22   Defendants have received, and continues to hold, unlawfully obtained property and money
23   belonging to Plaintiff Daly and the Oregon Class in the form of recurring payments collected from
24   Plaintiff and Class members in connection with their Amazon Subscriptions. Defendants have
25   profited from their unlawful acts and practices in the sum total amount of such recurring payments
26   that were collected by Defendants during the relevant time period, and any and all interest accrued
27   thereon. If Defendants had complied with the Oregon ARL, Defendants would not have made the
28
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 1   unlawful charges, and would not have obtained these monies from Plaintiff Daly and the Oregon
 2   Class.
 3            214.   As alleged above, Defendants’ violations of the UTPA under ORS 646.608(1)(ttt)
 4   as described above were willful, as well as reckless and/or knowing, because, at the time
 5   Defendants committed the violations at issue, Defendants knew or should have known that their
 6   actions violated the Oregon UTPA. See, e.g., supra.
 7            215.   Accordingly, Plaintiff Daly, individually and on behalf of similarly situated Oregon
 8   consumers, seeks all monetary and non-monetary relief permitted by law under ORS 646.605 et
 9   seq., including ORS 646.636 and ORS 646.638(1) and (8), including equitable relief, actual
10   damages or statutory damages of $200 per violation (whichever is greater), and pre- and-post
11   judgment interest, along with any other appropriate equitable relief deemed necessary or proper.
12            216.   Further, Plaintiff Daly and the Oregon Class seek recovery of punitive damages
13   from Defendants because Defendants’ conduct was reprehensible. Defendants inflicted economic
14   injury upon Plaintiff and the proposed Class in an intentional manner by, for instance, creating or
15   causing to exist dark patterns on the Amazon Platform in order to: (1) trick users into unwittingly
16   signing up for recurring bills in connection with the automatically renewing Amazon
17   Subscriptions; and (2) prevent user unsubscription from the Amazon Subscriptions by adopting
18   complex cancellation procedures to increase the friction in the subscription cancellation process.
19   In other words, the user interface and experience of the Amazon Platform is fundamentally
20   designed to enhance accidental sign-ups and prevent intentional cancellation, thereby ensuring
21   continued revenues from consumers by trapping them in the ongoing subscription purchase.
22            217.   Defendants utilized their singular control over the Amazon Subscriptions, and their
23   exclusive knowledge of their omitted or inadequately disclosed policies applicable to subscribers,
24   to induce Plaintiff Daly and the Oregon Class to purchase the Amazon Subscriptions over
25   alternative automatic renewal programs for music and television streaming offered by competitors
26   that feature similar benefits and content and are sold at similar and/or lesser price points.
27            218.   Under ORS 646.638(3), Plaintiff Daly and Oregon Class members are also entitled
28
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 1   to recover their reasonable attorney fees from Defendants for Defendants’ violations of Oregon law
 2   as detailed herein.
 3                                             COUNT II
                            Violations of Oregon’s UTPA, ORS 646.608(1)(sss)
 4
                                   (On Behalf Of The Oregon Subclass)
 5          219.    Plaintiffs re-allege and incorporate by reference every allegation set forth in the
 6   preceding paragraphs as though alleged in this Count.
 7          220.    Plaintiff Mark Daly brings this claim individually and on behalf of the members of
 8   the proposed Oregon Subclass against Defendants.
 9          221.    “The UTPA prohibits businesses from charging customers other types of fees when
10   they are not disclosed in the particular way that the law requires.” Stewart v. Albertson’s, Inc., 308
11   Or. App. 464, 492 n.17, review denied, 368 Or. 138 (2021); Scharfstein v. BP West Coast
12   Products, LLC, 292 Or. App. 69, 89-90, review denied, 363 Or. 815 (2018) (same); see also Miller
13   v. WinCo Foods, LLC, 2020 WL 6693149, at *7 (D. Or. Sept. 3, 2020), report and
14   recommendation adopted, 2020 WL 6685697 (D. Or. Nov. 12, 2020); Russell v. Ray Klein, Inc.,
15   2019 WL 6137455, at *4 (D. Or. Nov. 19, 2019); Wright v. Kia Motors Am. Inc., 2007 WL
16   316351, at *3 (D. Or. Jan. 29, 2007); Tri-W. Const. Co. v. Hernandez, 43 Or. App. 961, 972
17   (1979); Sanders v. Francis, 277 Or. 593, 598-99 (1977). At all relevant times, Defendants
18   violated, and continue to violate, the UTPA’s proscription against engaging in unlawful conduct by
19   charging customers certain types of fees without first disclosing the required pre-purchase
20   information and obtaining authorization in the particular way that the law requires.
21          222.    Specifically, Defendants’ actions are “unlawful” within the meaning of the UTPA
22   because they violated the Oregon’s Free Offer Law (“FOL”), ORS 646.644, in direct violation of
23   Section 646.608(1)(sss) of the UTPA. In particular, following consumers’ (including Plaintiff
24   Daly’s and Oregon Class members’) initial enrollments in the Amazon Subscriptions, Defendants
25   automatically charge fees to consumers’ Payment Methods, notwithstanding Defendants’ uniform
26   and systematic failure to provide legally required information at the point of purchase. As
27   explained below, by doing so, Defendants violate multiple provisions of Oregon’s FOL.
28
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 1          223.    Defendants’ noncompliance with the FOL is a direct violation of UTPA. See ORS
 2   646.608(1)(sss) (“(1) A person engages in an unlawful practice if in the course of the person’s
 3   business, vocation or occupation the person does any of the following: … (sss) Violates a
 4   provision of ORS 646.644 (Free offer).”).
 5          224.    Defendants violated, and continue to violate, the FOL under ORS 646.644(2)
 6   because, at all relevant times, they failed, and continue to fail, to “provide[] the consumer with
 7   clear and conspicuous information regarding the terms of the free offer before the consumer agrees
 8   to accept the free offer, including at a minimum:” (i) “[i]dentification of all … enrollments in a
 9   membership, subscription or service contract, that the consumer will receive or incur a financial
10   obligation for as a result of accepting the free offer[,]” in violation of ORS 646.644(2)(a); (ii)
11   “[t]he cost to the consumer of any financial obligation the consumer will incur if the consumer
12   accepts the free offer, including any fees or charges[,]” in violation of ORS 646.644(2)(b); (iii)
13   “[a] statement[] … that by accepting the free offer, the consumer will become obligated for …
14   enrollment in a membership, subscription or service contract, unless the consumer takes
15   affirmative action to cancel the free offer or otherwise reject … the enrollment in a membership,
16   subscription or service contract[,]” in violation of ORS 646.644(2)(d); (iv) “the consumer’s right to
17   cancel the free offer using procedures specifically identified for that purpose that, at a minimum,
18   enable the consumer to cancel by calling a toll-free telephone number or to cancel in a manner
19   substantially similar to that by which the consumer accepted the free offer[,]” in violation of ORS
20   646.644(2)(e); (v) “[t]he time period during which the consumer must cancel in order to avoid
21   incurring a financial obligation as a result of accepting the free offer[,]” in violation of ORS
22   646.644(2)(f); and (vi) “the consumer’s right to receive a credit on goods or services received as a
23   result of accepting the free offer when the goods or services are returned or rejected, and the time
24   period during which the goods or services must be returned or rejected for the purpose of receiving
25   a credit[,]” in violation of ORS 646.644(2)(g).
26          225.    Further, Defendants violated, and continue to violate, the FOL under ORS
27   646.644(4) because they have, at all relevant times, imposed financial obligations on consumers,
28
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 1   including Plaintiff Daly and the Oregon Subclass as a result of their acceptance of a free offer
 2   without first obtaining their affirmative consent to the terms of the free offer as set forth in ORS
 3   646.644(2). See ORS 646.644(4) (“A person may not impose a financial obligation on a consumer
 4   as a result of the consumer’s acceptance of a free offer unless the consumer’s affirmative consent
 5   to the terms of the free offer as set forth in subsection (2) of this section is obtained.”).
 6             226.   Thus, Defendants “failed to disclose the legally required information [or obtain the
 7   requisite affirmative consent] and assessed a … fee in violation of the UTPA.” Scharfstein v. BP
 8   W. Coast Prod., LLC, 292 Or. App. 69, 90 (2018). “In doing so, [Defendants] illegally charged
 9   [their] customers [recurring subscription fees], thereby causing the ascertainable loss.” Id.; see
10   also Miller v. WinCo Foods, LLC, 2020 WL 6693149, at *7 (D. Or. Sept. 3, 2020); Russell v. Ray
11   Klein, Inc., 2019 WL 6137455, at *4 (D. Or. Nov. 19, 2019); Stewart v. Albertson’s, Inc., 308 Or.
12   App. 464, 492 n.17 (2021); Rollins v. Wink Labs, Inc., 2021 WL 1976082, at *5 (D. Or. Feb. 22,
13   2021); Wright v. Kia Motors Am. Inc., 2007 WL 316351, at *3 (D. Or. Jan. 29, 2007); Tri-W.
14   Const. Co. v. Hernandez, 43 Or. App. 961, 972 (1979); Sanders v. Francis, 277 Or. 593, 598-99
15   (1977).
16             227.   Defendants also violated the FOL under ORS 646.644(5) because, as alleged above,
17   see supra, they have “fail[ed] or refuse[d] to cancel the free offer [where] consumer[s have] used,
18   or made reasonable efforts to attempt to use, one of the procedures required by subsection (2)(e) of
19   this section.” ORS 646.644(5). By way of example, as noted above, Plaintiff Daly attempted to
20   cancel his Amazon Subscription by calling the toll-free number associated with Defendants’
21   customer service line (i.e., one the procedures explicitly required by ORS 646.644(2)(e)) to notify
22   Defendants that he did not authorize – and to request a refund of – the monthly charges he incurred
23   in April and May of 2022. However, Defendants’ customer service representative told Plaintiff
24   that they were unable to cancel his Prime subscription for him and denied Plaintiff’s refund
25   request. Ultimately, Mr. Daly was only able to cancel his Prime subscription and avoid incurring
26   further renewal charges by circumventing Amazon altogether and going through his financial
27   institution to cancel the Payment Method associated with his Amazon Subscription. Defendants’
28
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 1   “fail[ure] or refus[al] to cancel the free offer” despite Plaintiff Daly’s “reasonable efforts to
 2   attempt to use[] one of the procedures required by [ORS 646.644(2)(e)]” is a violation of the FOL
 3   under ORS 646.644(5).
 4             228.   Inasmuch, Plaintiff and Subclass members have sustained an ascertainable loss of
 5   money as a result of Defendants’ use or employment of methods, acts, or practices declared
 6   unlawful by ORS 646.608(1)(sss) (i.e., Defendants’ conduct in violation of Oregon’s FOL).
 7             229.   Because Defendants illegally charged Plaintiff Daly and the Subclass unlawful fees
 8   in connection with their enrollments in free trials to the Amazon Subscriptions in violation of the
 9   FOL, Plaintiff and Subclass members are entitled to recover statutory damages of $200 per
10   violation of the UTPA under ORS 646.608(1)(sss). See ORS 646.638(1) and (8)(a) (class
11   members can recover “actual damages or statutory damages of $200, whichever is greater”).
12             230.   As alleged above, Defendants’ violations of the UTPA under ORS 646.608(1)(sss)
13   as described above were willful, as well as reckless and/or knowing, because, at the time
14   Defendants committed the violations at issue, Defendants knew or should have known that their
15   actions violated the Oregon UTPA. See supra.
16             231.   Accordingly, Plaintiff Daly, individually and on behalf of members of the proposed
17   Oregon Subclass, seeks all monetary and non-monetary relief permitted by law under ORS
18   646.605 et seq., including ORS 646.636 and ORS 646.638(1) and (8), including equitable relief,
19   actual damages or statutory damages of $200 per violation (whichever is greater), and pre- and-
20   post judgment interest, along with any other appropriate equitable relief deemed necessary or
21   proper.
22             232.   Under ORS 646.638(3), Plaintiff Daly and Oregon Subclass members are also
23   entitled to recover their reasonable attorney fees from Defendants for Defendants’ violations of
24   Oregon law as detailed herein.
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 1                                             COUNT III
                      Violations of California’s Unfair Competition Law (“UCL”),
 2
                                 Cal. Bus. & Prof. Code §§ 17200, et seq.
 3                                 (On Behalf Of The California Class)
            233.    Plaintiffs re-allege and incorporate by reference every allegation set forth in the
 4
     preceding paragraphs as though alleged in this Count.
 5

 6          234.    Plaintiffs Nacarino, Sylvester, and Sonnenschein (collectively, the “California

 7   Plaintiffs”) bring this claim individually and on behalf of the members of the proposed California
     Class against Defendants.
 8
            235.    The UCL prohibits unfair competition in the form of “any unlawful, unfair, or
 9

10   fraudulent business act or practice and unfair, deceptive, untrue or misleading advertising and any

11   act[.]” Cal. Bus. & Prof. Code § 17200. The UCL allows “a person who has suffered injury in

12   fact and has lost money or property” to prosecute a civil action for violation of the UCL. Cal. Bus.

13   & Prof. Code § 17204. Such a person may bring such an action on behalf of himself or herself and

14   others similarly situated who are affected by the unlawful and/or unfair business practice or act.

15          236.    As alleged in more detail below, Amazon’s acts and practices alleged herein are

16   “unlawful” within the meaning of the UCL because they violated the following laws, regulations,

17   and rules, including California’s Automatic Renewal Law (the “California ARL”), Cal. Bus. &

18   Prof. Code §§ 17600, et seq., as well as the CLRA, FAL, and all other consumer protection

19   statutes and common laws as asserted in Counts III through IX below.
     Violations of California’s Automatic Renewal Law
20
            237.    Additionally, at all relevant times, Defendants have violated, and continue to
21
     violate, the UCL’s proscription against engaging in unlawful conduct as a result of their violations
22
     of the California ARL, Cal. Bus. & Prof. Code §§ 17600, et seq., as alleged in the above
23
     paragraphs of this complaint, which are incorporated herein by reference.
24
            238.    Specifically, Defendants failed, and continue to fail, to: (a) provide the auto-
25
     renewal terms associated with their Amazon Subscriptions “in a clear and conspicuous manner
26
     before the subscription or purchasing agreement is fulfilled and in visual proximity[] … to the
27
     request for consent to the offer,” in violation of Cal. Bus. & Prof. Code § 17602(a)(1); (b) obtain
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 1   the affirmative consent of the California Plaintiffs and members of the California Class to those
 2   terms before charging their Payment Methods, in violation of Cal. Bus. & Prof. Code §
 3   17602(a)(2); and (c) provide an acknowledgment that includes the automatic renewal or
 4   continuous service offer terms, cancellation policy, and information regarding how to cancel in a
 5   manner that is capable of being retained by the consumer, in violation of Cal. Bus. & Prof. Code
 6   §§ 17602(a)(3). Defendants also make it exceedingly difficult and unnecessarily confusing for
 7   consumers to cancel their Amazon Subscriptions, in violation of Cal. Bus. & Prof. Code §
 8   17602(b).
 9            239.     Each of these acts and practices constitutes an independent violation of the ARL,
10   and thus an independent violation of the UCL. That is, each and every monthly charge posted to
11   Plaintiffs’ Payment Methods in connection with the Amazon Subscriptions amounts to a distinct
12   economic injury as a result of Defendants’ continued and further unlawful conduct. Therefore,
13   each recurring charge incurred by Plaintiffs and Class Members gives rise to an independently
14   actionable claim under California’s UCL and Oregon’s UTPA based on Defendants’ repeated
15   unlawful practice of charging consumers’ Payment Methods without first providing and obtaining
16   the requisite disclosures and authorizations, in violation of the California and Oregon ARLs and/or
17   Oregon’s FOL.
18            240.     Further, each of Defendants’ acts and practices as described violates the UCL in at
19   least two distinct ways, namely, because Defendants’ conduct is both “unlawful” and “unfair.” 95
20            241.     First, because Defendants’ acts and practices violate the ARL, they are “unlawful”
21   business practices giving rise to claims under the UCL’s “unlawful” prong.
22            242.     Second, Defendants’ acts and practices give rise to claims under the UCL’s “unfair”
23   prong because all “goods, wares, merchandise, or products” received from Defendants in violation
24   95
        “Unfair competition” is defined in the UCL as any one of the following wrongs: (1) an “unlawful” business act or
     practice; (2) an “unfair” business act or practice; (3) a “fraudulent” business act or practice; (4) “unfair, deceptive,
25   untrue or misleading advertising”; and (5) any act prohibited by Cal. Bus. & Prof. Code §§ 17500-17577.5. See Cal.
     Bus. & Prof. Code § 17200. These definitions are disjunctive, and each of the wrongs operates independently from the
26   others. See Cel-Tech Commc’ns, Inc. v. L.A. Cellular Tel. Co., 20 Cal. 4th 163, 180 (1999); see also Lepton Labs, LLC
     v. Walker, 55 F. Supp. 3d 1230, 1242 (C.D. Cal. 2014). “In other words, a practice is prohibited as ‘unfair’ or
27   [‘fraudulent’] even if not ‘unlawful’ and vice versa.” State Farm Fire & Cas. Co. v. Super. Ct., 45 Cal. App. 4th 1093,
     1102 (1996), abrogated on other grounds by Cel-Tech, 20 Cal. 4th 163.
28
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 1   of the ARL “shall for all purposes be deemed an unconditional gift 96 to the consumer, who may
 2   use or dispose of the same in any manner he or she sees fit without any obligation whatsoever on
 3   the consumer’s part to the business, including, but not limited to, bearing the cost of, or
 4   responsibility for, shipping any goods, wares, merchandise, or products to the business.” Cal. Bus.
 5   Prof. Code § 17603 (the “unconditional gift provision”) (emphasis added). Thus, when
 6   Defendants charged Plaintiffs’ and Class Members’ Payment Methods in connection with the
 7   Amazon Subscriptions, they were withdrawing funds from Plaintiffs’ and Class Members’
 8   Payment Methods for goods that – by operation of law – Plaintiffs and Class Members already
 9   owned, without any obligation of payment or return of such goods and products, and no right on
10   part of the Defendants to impose restrictions or limitations on Plaintiffs’ and Class Members’ use
11   of such goods and products.
12            243.     As a direct and proximate result of Defendants’ unlawful and/or unfair practices
13   described herein, Defendants have received, and continues to hold, unlawfully obtained property
14   and money belonging to the California Plaintiffs and members of the California Class in the form
15   of payments made by Plaintiffs and the Class for their Amazon Subscriptions. Defendants have
16   profited from their unlawful and/or unfair acts and practices in the amount of those business
17   expenses and interest accrued thereon. Thus, the California Plaintiffs have suffered injury in fact
18   and lost money or property as a result of Amazon’s violations of the California ARL.
19

20   96
       According to Black’s Law Dictionary, the term “gift” refers to, in relevant that: (1) “[a] voluntary transfer of
     personal property without consideration”; and (2) “[a] voluntary conveyance of land, or transfer of goods, from one
21   person to another, made gratuitously, and not upon any consideration of blood or money.” Gift, BLACK’S LAW
     DICTIONARY (4th ed. 1968), at p. 817, https://www.latestlaws.com/wp-content/uploads/2015/04/Blacks-Law-
22   Dictionery.pdf; see also id. at p. 379 (explaining that “consideration” is “[a]ny benefit conferred, or agreed to be
     conferred, upon the promisor, by any other person, to which the promisor is not lawfully entitled, or any prejudice
23   suffered, or agreed to be suffered, by such person, other than such as he is at the time of consent lawfully bound to
     suffer, as an inducement to the promisor” and noting that, “doing only of what one is already under obligation to do is
24   not ‘consideration’ for a contract”). Similarly, the People’s Law Dictionary defines “gift” as “the voluntary transfer of
     property (including money) to another person completely free of payment or strings while both the giver and the
25   recipient are still alive.” Gift, THE PEOPLE’S LAW DICTIONARY, https://dictionary.law.com/ (emphasis added); accord
     Ctr. for Env’t Sci., Accuracy & Reliability v. Sacramento Reg’l Cnty. Sanitation Dist., 2016 WL 8730775, at *4 (E.D.
26   Cal. June 3, 2016) (“‘Give’ means to “voluntarily transfer (property) to another without compensation’ or ‘to present
     for another to consider’ Give, Black’s Law Dictionary (10th ed. 2014). Merriam-Webster defines ‘given’ as ‘presented
27   as a gift: bestowed without compensation.’ Given [Def. 2], Merriam-Webster.com[.]”). See also Cal. Civ. Code §
     1148 (“A gift, other than a gift in view of impending death, cannot be revoked by the giver.”) (emphasis added).
28
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 1          244.    Amazon was prohibited from making these charges and taking Plaintiffs’ money
 2   without the required affirmative consent. If Amazon had complied with the law, Amazon could
 3   not have made the charges, and would not have obtained this money from Plaintiffs.
 4   Violations of Other Statutes and Common Laws
 5          245.    Furthermore, as alleged below, Defendants have committed unlawful and/or unfair
 6   business practices under the UCL by: (a) representing that Defendants’ goods and services have
 7   certain characteristics that they do not, in violation of Cal. Civil Code § 1770(a)(5); (b) advertising
 8   goods and services with the intent not to sell them as advertised, in violation of Cal. Civil Code §
 9   1770(a)(9); and (c) converting to Defendants’ own use and benefit money that rightfully belongs to
10   the California Plaintiffs and members of the California Class.
11          246.    Defendants’ acts and omissions as alleged herein violate obligations imposed by
12   statute, are substantially injurious to consumers, offend public policy, and are immoral, unethical,
13   oppressive, and unscrupulous as the gravity of the conduct outweighs any alleged benefits
14   attributable to such conduct.
15          247.    There were reasonably available alternatives to further Defendants’ legitimate
16   business interests, other than the conduct described herein.
17          248.    Defendants’ acts, omissions, nondisclosures, and misleading statements as alleged
18   herein were and are false, misleading, and/or likely to deceive the consuming public.
19          249.    Plaintiffs and the members of the Class have suffered a substantial injury in fact and
20   lost money by virtue of Defendants’ acts of unfair competition, which caused them to purchase the
21   Amazon Subscriptions. Had Defendants complied with their disclosure obligations under the
22   ARL, Plaintiffs and members of the Class would not have purchased their Amazon Subscriptions
23   or would have cancelled their Amazon Subscriptions prior to the renewal of the subscriptions, so
24   as not to incur additional fees. Thus, Plaintiffs and members of the Class were damaged and have
25   suffered economic injuries as a direct and proximate result of Defendants’ unlawful and/or unfair
26   business practices.
27

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 1          250.    Defendants’ violations have continuing and adverse effects because Defendants’
 2   unlawful conduct is continuing, with no indication that Defendants intend to cease this unlawful
 3   course of conduct. The public and the Class are subject to ongoing harm because the unlawful
 4   and/or unfair business practices associated with the Amazon Subscriptions are still used by
 5   Defendants today.
 6          251.    Plaintiffs and the Class seek restitution pursuant to Cal. Bus. & Prof. Code § 17203
 7   of all amounts that Defendants charged or caused to be charged to Plaintiffs’ and the Class’s
 8   Payment Methods in connection with their Amazon Subscriptions during the four years preceding
 9   the filing of this Complaint. Defendants should be required to disgorge all the profits and gains
10   they have reaped and to restore such profits and gains to Plaintiffs and the Class, from whom the
11   monies were unlawfully taken.
12          252.    Pursuant to Cal. Bus. & Prof. Code § 17203, Plaintiffs and members of the
13   California Class seek a court order enjoining Defendants from such future misconduct, and any
14   other such orders that may be necessary to rectify the unlawful business practices of Defendants.
15          253.    The California Plaintiffs, individually and on behalf of similarly situated California
16   consumers, bring this action as private attorneys general and to vindicate and enforce an important
17   right affecting the public interest. Plaintiffs and the California Class are therefore entitled to an
18   award of attorneys’ fees under Code of Civil Proc. § 1021.5 for bringing this action.
19                                               COUNT IV
                         Violations of California’s False Advertising Law (“FAL”),
20
                                  Cal. Bus. & Prof. Code §§ 17500, et seq.
21                                  (On Behalf Of The California Class)
            254.    Plaintiffs re-allege and incorporate by reference every allegation set forth in the
22
     preceding paragraphs as though alleged in this Count.
23
            255.    The California Plaintiffs brings this claim individually and on behalf of the
24
     members of the proposed California Class against Defendants.
25
            256.    California’s False Advertising Law (“FAL”), Cal. Bus. & Prof. Code §§ 17500, et
26
     seq., makes it “unlawful for any person to make or disseminate or cause to be made or
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     disseminated before the public in this state, …in any advertising device … or in any other manner
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 1   or means whatever, including over the Internet, any statement, concerning … personal property or
 2   services, professional or otherwise, or performance or disposition thereof, which is untrue or
 3   misleading and which is known, or which by the exercise of reasonable care should be known, to
 4   be untrue or misleading.”
 5          257.    Defendants committed acts of false advertising, as defined by § 17500, by
 6   intentionally making and disseminating statements to consumers in California and the general
 7   public concerning Defendants’ products and services, as well as circumstances and facts connected
 8   to such products and services, which are untrue and misleading on their face and by omission, and
 9   which are known (or which by the exercise of reasonable care should be known) by Defendants to
10   be untrue or misleading. Defendants have also intentionally made or disseminated such untrue or
11   misleading statements and material omissions to consumers in California and to the public as part
12   of a plan or scheme with intent not to sell those services as advertised.
13          258.    Defendants’ statements include but are not limited to representations and omissions
14   made to consumers before and after enrollment in Defendants’ Amazon Subscriptions regarding
15   the terms of payment for and cancellation of a consumer’s automatic payments. For instance,
16   Defendants’ represents on the Checkout Pages of the Amazon Website that members can “cancel
17   [their Amazon Subscriptions] anytime” is contradicted by their policy set forth elsewhere in the
18   Amazon Website that customers must cancel their Amazon Subscriptions prior to the next charge.
19   In light of Defendants’ disclosure of the former and silence as to the latter on the Checkout Pages
20   for the Amazon Subscriptions, the representations and omissions on the Checkout Pages constitute
21   false and deceptive advertisements.
22          259.    Defendants’ actions in violation of § 17500, as described herein, were false and
23   misleading such that the general public is and was likely to be deceived.
24          260.    Plaintiffs and the members of the California Class were deceived by Defendants’
25   statements and omissions made online when they signed up and started paying for their Amazon
26   Subscriptions, and other California consumers and members of the public were also or are likely to
27   be deceived as well. Any reasonable consumer would be misled by Defendants’ false and
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 1   misleading statements and material omissions. Plaintiffs and other members of the Class did not
 2   learn of Defendants’ cancellation and automatic payment policies until after they had already
 3   signed up and started paying for Defendants’ Amazon Subscription. They relied on Defendants’
 4   statements and omissions to their detriment.
 5          261.     Plaintiffs and the California Class lost money or property as a result of Defendants’
 6   FAL violations because they would not have purchased the Amazon Subscriptions on the same
 7   terms if the true facts were known about the product and the Amazon Subscriptions do not have
 8   the characteristics as promised by Defendants.
 9          262.     The California Plaintiffs, individually and on behalf of all similarly situated
10   California consumers, seeks individual, representative, and public injunctive relief and any other
11   necessary orders or judgments that will prevent Defendants from continuing with their false and
12   deceptive advertisements and omissions; restitution that will restore the full amount of their money
13   or property; disgorgement of Defendants’ relevant profits and proceeds; and an award of costs and
14   reasonable attorneys’ fees.
15                                               COUNT V
                   Violations of California’s Consumers Legal Remedies Act (“CLRA”),
16                                     Cal. Civ. Code §§ 1750, et seq.
                                    (On Behalf Of The California Class)
17
            263.     Plaintiffs re-allege and incorporate by reference every allegation set forth in the
18
     preceding paragraphs as though alleged in this Count.
19
            264.     The California Plaintiffs bring this claim individually and on behalf of the members
20
     of the proposed California Class against Defendants.
21
            265.     Plaintiffs and the members of the California Class are “consumers” within the
22
     meaning of Cal. Civil Code § 1761(d) in that Plaintiffs and the Class sought or acquired
23
     Defendants’ goods and/or services for personal, family, or household purposes.
24
            266.     Defendants’ selection and/or subscription offers and the video, music, and other
25
     products pertaining thereto are “goods” and/or “services” within the meaning of Cal. Civil Code §
26
     1761(a) and (b). The purchases by Plaintiffs and the California Class are “transactions” within the
27
     meaning of Cal. Civil Code § 1761(e).
28
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 1           267.   The acts and practices of Defendants as described above were intended to deceive
 2   Plaintiffs and the California Class as described herein, and have resulted, and will result, in
 3   damages to Plaintiffs and the California Class. These actions violated, and continue to violate, the
 4   CLRA in at least the following respects: (a) Defendants’ acts and practices constitute
 5   representations or omissions deceiving that the Amazon Subscriptions have characteristics, uses,
 6   and/or benefits, which they do not, in violation of Cal. Civil Code §1770(a)(5); and (b)
 7   Defendants’ acts and practices constitute the advertisement of the goods in question without the
 8   intent to sell them as advertised, in violation of Cal. Civil Code § 1770(a)(9).
 9           268.   Plaintiffs and the California Class suffered economic injury as a direct result of
10   Defendants’ misrepresentations and/or omissions because they were induced to purchase Amazon
11   Subscriptions and/or pay renewal fees they would not have otherwise purchased and/or paid. Had
12   Defendants fully and clearly disclosed the terms associated with the Amazon Subscriptions,
13   Plaintiffs and the Class would have not subscribed to the Amazon Subscriptions, or they would
14   have cancelled their Amazon Subscriptions earlier, i.e., prior to the expiration of the initial
15   subscription period.
16           269.   Plaintiffs, on behalf of themselves and all other members the California Class, seek
17   an injunction prohibiting Defendants from continuing their unlawful practices in violation of the
18   CLRA.
19           270.   In compliance with the provisions of California Civil Code § 1782, Plaintiff
20   Nacarino sent written notice to Defendant Amazon.com, Inc., on September 8, 2021, informing
21   Defendants of her intention to seek damages under California Civil Code § 1750. The letter was
22   sent via certified mail, return receipt requested, and it advised Defendants that they were in
23   violation of the CLRA and demanded that Defendants cease and desist from such violations and
24   make full restitution by refunding the monies received therefrom. The letter expressly stated that it
25   was sent on behalf of Plaintiff Nacarino and “all other persons similarly situated.” The letter was
26   delivered to Defendants on September 13, 2021, as reflected by the proof of delivery issued by the
27   United States Postal Service. Defendants did not take action to rectify the injuries caused by their
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 1   unlawful conduct as described in the 9/8/21 letter and above on a class-wide basis within 30 days
 2   of receipt of the letter. Accordingly, Plaintiffs Nacarino, Sylvester, and Sonnenschein,
 3   individually and on behalf of the proposed California Class, seek monetary damages from
 4   Defendants as permitted by Civil Code § 1782(d) for Defendants’ violations of the CLRA.
 5                                             COUNT VI
                                               Conversion
 6
                                   (On Behalf Of The Nationwide Class)
 7          271.    Plaintiffs re-allege and incorporate by reference every allegation set forth in the
 8   preceding paragraphs as though alleged in this Count.
 9          272.    Plaintiffs brings this claim individually and on behalf of the members of the
10   proposed Nationwide Class against Defendants.
11          273.    As a result of charges made by Defendants to Plaintiffs’ and Nationwide Class
12   members’ Payment Methods without authorization and in violation of common law, Defendants
13   have taken money that belongs to Plaintiffs and the Nationwide Class.
14          274.    The amount of money wrongfully taken by Defendants is capable of identification.
15          275.    Defendants engaged in this conduct knowingly, willfully, and with oppression,
16   fraud, and/or malice.
17          276.    As a result of Defendants’ actions, Plaintiffs and members of the Nationwide Class
18   have suffered damages.
19                                            COUNT VII
20                                   Unjust Enrichment / Restitution
                                   (On Behalf Of The Nationwide Class)
21
            277.    Plaintiffs re-allege and incorporate by reference every allegation set forth in the
22
     preceding paragraphs as though alleged in this Count.
23
            278.    Plaintiffs bring this claim individually and on behalf of the members of the
24
     proposed Nationwide Class against Defendants.
25
            279.    Plaintiffs and the Nationwide Class conferred benefits on Defendants by purchasing
26
     the Amazon Subscriptions.
27
            280.    Defendants have been unjustly enriched in retaining the revenues derived from
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 1   Plaintiffs and the Nationwide Class’s purchases of the Amazon Subscriptions. Retention of those
 2   moneys under these circumstances is unjust and inequitable because Defendants’ failure to
 3   disclose material terms of the purchase agreement, in violation of common law, induced Plaintiffs
 4   and the Nationwide Class to purchase the Amazon Subscriptions. These omissions caused injuries
 5   to Plaintiffs and the Nationwide Class because they would not have purchased the Amazon
 6   Subscriptions at all, or on the same terms, if the true facts were known.
 7          281.    Because Defendants’ retention of the non-gratuitous benefits conferred on them by
 8   Plaintiffs and the Nationwide Class is unjust and inequitable, Defendants must pay restitution to
 9   Plaintiffs and the Nationwide Class for their unjust enrichment, as ordered by the Court.
10                                             COUNT VIII
                                       Negligent Misrepresentation
11
                                    (On Behalf Of The Nationwide Class)
12          282.    Plaintiffs hereby re-allege and incorporate by reference the allegations contained in
13   all preceding paragraphs of this complaint.
14          283.    Plaintiffs bring this claim individually and on behalf of the members of the
15   proposed Nationwide Class against Defendants.
16          284.    As discussed above, Defendants misrepresented in their advertisements and related
17   statements made in connection with the sign-up and purchase processes for the Amazon
18   Subscriptions that, for instance, subscribers can “cancel anytime.” Defendants also misrepresented
19   the recurring price associated with the Amazon Subscriptions, the advertisements and related
20   statements made in connection with which omitted applicable taxes and fees, misleading Plaintiffs
21   and Class Members as to the precise amount of money that would be withdrawn from their
22   Payment Methods in connection with the Amazon Subscriptions. Thus, Defendants omitted, failed
23   to disclose, and intentionally concealed from such advertisements and related statements material
24   facts concerning billing, cancellation, and automatic payment terms, policies, and requirements.
25          285.    At the time Defendants made these representations, Defendants knew or should
26   have known that these representations were false or made them without knowledge of their truth or
27   veracity.
28
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 1          286.    At an absolute minimum, Defendants negligently misrepresented and/or negligently
 2   omitted material facts about the Amazon Subscriptions and their associated terms.
 3          287.    The negligent misrepresentations and omissions made by Defendants, upon which
 4   Plaintiffs and Nationwide Class members reasonably and justifiably relied, were intended to
 5   induce and actually induced Plaintiffs and Nationwide Class members to purchase and enroll in
 6   Defendants’ Amazon Subscription programs.
 7          288.    Plaintiffs and Nationwide Class members would not have purchased the Amazon
 8   Subscriptions if the true facts had been known.
 9          289.    The negligent actions of Defendants caused damage to Plaintiffs and Nationwide
10   Class members, who are entitled to damages and other legal and equitable relief as a result.
11                                                 COUNT IX
                                                     Fraud
12
            290.    Plaintiffs hereby re-allege and incorporate by reference the allegations contained in
13
     all preceding paragraphs of this complaint.
14
            291.    Plaintiffs bring this claim individually and on behalf of the members of the
15
     proposed Nationwide Class against Defendants.
16
            292.    As discussed above, Defendants provided Plaintiffs and Nationwide Class members
17
     with false or misleading material information and failed to disclose material facts about the
18
     Amazon Subscriptions and their associated automatic renewal terms, including terms regarding
19
     Defendants’ cancellation policy, the applicable recurring subscription price to be charged to
20
     Plaintiffs’ Payment Methods, the duration of the renewal term, and related billing practices and
21
     policies. These misrepresentations and omissions were made by Defendants with knowledge of
22
     their falsehood.
23
            293.    The misrepresentations and omissions made by Defendants, upon which Plaintiffs
24
     and Nationwide Class members reasonably and justifiably relied, were intended to induce, and
25
     actually induced, Plaintiffs and Class members to purchase the Amazon Subscriptions.
26
            294.    The fraudulent actions of Defendants caused damage to Plaintiffs and Nationwide
27
     Class members, who are entitled to damages and other legal and equitable relief as a result.
28
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 1                                        PRAYER FOR RELIEF
 2          WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated, seek
 3   judgment against Defendants, as follows:
 4          a.     For an order certifying the proposed Classes and Subclass, naming Plaintiff Daly as
                   representative of the Oregon Class and Oregon Subclass, naming Plaintiffs
 5                 Nacarino, Sylvestor, and Sonnenschein as representatives of the California Class,
                   naming all Plaintiffs as representatives of the Nationwide Class, and appointing
 6                 Plaintiffs’ attorneys as Class Counsel to represent the Classes and Subclass;
 7          b.     For an order declaring Defendants’ conduct violates the statutes referenced herein;
 8          c.     For an order finding in favor of Plaintiffs and members of the Classes and Subclass
                   on all counts asserted herein;
 9
            d.     For actual, compensatory, statutory, and/or punitive damages in amounts to be
10                 determined by the Court and/or jury;
            e.     For prejudgment interest on all amounts awarded;
11
            f.     For an order of restitution and all other forms of equitable monetary relief;
12
            g.     For injunctive relief as pleaded or as the Court may deem proper; and
13          h.     For an order awarding Plaintiffs and the Classes and Subclass their reasonable
                   attorneys’ fees, expenses, and costs of suit.
14
                                              JURY DEMAND
15
            Plaintiffs demand a trial by jury on all causes of action and issues so triable.
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 1   Dated: September 21, 2022              Respectfully submitted,
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22

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 1            CLRA Venue Declaration Pursuant to California Civil Code Section 1780(d)
 2          I, Wright Noel, declare as follows:
 3          1.      I am an attorney at law licensed to practice in the State of Washington and a
 4   member of the bar of this Court. I am a Partner at Carson Noel PLLC, counsel of record for
 5   Plaintiffs Elena Nacarino, Susan Sylvester, and Michael Sonnenschein in this action. Plaintiff
 6   Nacarino alleges that she resides in San Francisco, California; Plaintiff Sylvester alleges that she
 7   resides in Elk Grove, California; and Plaintiff Sonnenschein alleges that he resides in Los Angeles,
 8   California. I have personal knowledge of the facts set forth in this declaration and, if called as a
 9   witness, I could and would competently testify thereto under oath.
10          2.      The Complaint filed in this action is filed in the proper place for trial under
11   California Civil Code Section 1780(d) because Defendants maintain their principal place of
12   business in this District. Additionally, this District is also proper place for trial under Cal. Civ.
13   Code § 1780(d) in that a substantial portion of the events alleged in the Complaint occurred in this
14   District, namely, Defendants distributed, advertised, and sold the Amazon Subscriptions to
15   Plaintiffs from their headquarters in this State and District, and the misrepresentations, omissions,
16   and injures as alleged herein originated from this District.
17          I declare under the penalty of perjury under the laws of the State of Washington and the
18   United States that the foregoing is true and correct and that this declaration was executed at
19   Issaquah, Washington, this 21st day of September, 2022.
20
                                                          /s/ Wright Noel
21                                                            Wright Noel
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